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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

                                            )
IN RE: ROUNDUP PRODUCTS                     ) MDL No. 2741
LIABILITY LITIGATION                        )
                                            ) Case No. 3:16-md-02741-VC
                                            )          3:16-cv-05658-VC
                                            )
                                            )
This document relates to:                   )
                                            )
Emanuel Richard Giglio v. Monsanto Co.,     )
Case No. 3:16-cv-05658                      )
                                            )




            EXPERT REPORT OF CHARLES M. BENBROOK, PhD




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    I.         Introduction

          1.     I have been asked by Plaintiffs’ attorneys to address a series of questions relating

to the composition, use, testing, stewardship, risk assessment, and regulation of glyphosate,

Roundup®-brand herbicides (“Roundup”), and other glyphosate-based herbicides (GBHs).

          2.     As the litigation has progressed, I have been asked additional questions by

plaintiff and defendant attorneys in multiple depositions and trial testimony. In this report, I have

consolidated questions addressed to me, and provide answers in this report.

          3.     My answers, and opinions expressed are based on my review of public documents

on glyphosate and Roundup over the last 40 years; my independent research and multiple, peer-

reviewed publications on glyphosate and Roundup; and, the discovery record, depositions, and

trial testimony in this litigation.

          4.     In the case of original analyses I undertook as part of this case to refine and

support my opinions, details regarding data sources and analytical methods appear in the

methods sections of my publications.

          5.     My work on this body of litigation began in August, 2017.

          6.     I have produced three expert reports in this litigation: Dewayne Johnson v.

Monsanto Company, December 21, 2017 ; IN RE: ROUNDUP PRODUCTS LIABILITY

LITIGATION MDL No. 2741, November 10, 2018 and, this current report.

          7.     I have been deposed 6 times in this litigation, spanning 7 days and approximately

60 hours of videotaped testimony: 1) Johnson case, Orange, Virginia February 8-9, 2018; 2)

Peterson and Hall v. Monsanto, Clarkston, Washington, May 23, 2018; 3) Continuation of Hall

v. Monsanto deposition, Seattle, Washington, August 14, 2018; 4) Adams v. Monsanto,

Longmont, Colorado, September 13, 2018; 5) San Francisco MDL cases, December 27, 2018,



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Clarkston, Washington; 6) Lamb/Winston joint deposition, May 26, 2019, Seattle, Washington. I

have testified at trial 2 times: 1) the Johnson case and 2) the Pilliod case.

        8.     Opinions expressed herein have been reached to a reasonable degree of scientific

certainty.




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   II.         Expert Background and Qualifications
         9.      I received a B.A. in Economics from Harvard University in 1971, and a Ph.D. in

Agricultural Economics from the University of Wisconsin in 1980. I have worked on the impact

of agricultural technology on pesticide use, efficacy, and risks, as well as on public health and

farmer costs for nearly 40 years.

         10.     My work has encompassed the impacts of regulatory policies, requirements,

actions, and laws on pesticide use, dietary exposure, worker risks, pest management systems, and

food quality and safety.

         11.     I was the Staff Director of the Subcommittee on Department Operations,

Research, and Foreign Agriculture (“DORFA”) of the House Committee on Agriculture for three

years (1981 to 1983). This Subcommittee had jurisdiction over the Federal Insecticide,

Fungicide, and Rodenticide Act (“FIFRA”), the primary federal statute governing pesticide

regulation.

         12.     During this period, I organized several DORFA hearings on pesticide issues, and

worked with Members of Congress in drafting potential changes in federal laws impacting the

Environmental Protection Agency’s (“EPA”) Office of Pesticide Programs (“OPP”). During my

tenure as the DORFA Staff Director, around one-half of the time and focus of the Subcommittee

was devoted to pesticide regulatory issues.

         13.     I made dozens of visits to OPP headquarters during this time-period, collecting

information and speaking with OPP management, staff, and scientists on issues that had been

brought to the attention of the Subcommittee, as well as issues of concern to OPP. These visits

resulted in the flow of substantial information from OPP to the Subcommittee. Information




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provided by OPP helped the Subcommittee prioritize the issues addressed in forthcoming

Subcommittee hearings, and/or in need of legislative intervention.

       14.     On behalf of the Subcommittee, I organized several hearings on pesticide

regulatory activities, issues, and controversies. This entailed drafting a hearing charter (purpose,

focus, goals), identifying and securing the participation of witnesses, managing the flow of

information submitted as part of delivered testimony, and preparing the hearing report issued by

the House Committee on Agriculture.

       15.     The Subcommittee carried out a two-year investigation of pesticide regulatory

policy and issues, with a principle focus on OPP/EPA activities. Several controversial areas of

EPA action, or inaction, arose during the investigation. These included the OPP and industry

response to the Industrial BioTest (“IBT”) laboratories scandal, the role of state versus federal

government agencies in pesticide regulation, the way known or possible carcinogenic pesticides

were regulated, the timeliness of OPP decision-making, the burden of proof governing OPP

suspension and cancellation actions, the cost of program activities and possible need for user

fees, state versus federal roles, among other issues.

       16.     During the DORFA investigation of OPP activities, I visited OPP in Crystal City,

Virginia multiple times. I met with managers in the various divisions of OPP, as well as with

staff scientists in the residue chemistry, toxicology, and registration divisions. I interacted with

most of the senior OPP administrators and staff who were responsible at the time for OPP’s

assessment and regulation of glyphosate herbicides.

       17.     The DORFA Subcommittee investigation culminated in the publication of a

Subcommittee report (Volume I), and three supporting volumes of information (Volumes II-IV).




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       18.     The IBT toxicological data scandal was among the issues explored in the

Subcommittee’s investigative report and supporting volumes. At the request of the

Subcommittee, OPP provided a detailed accounting of the pesticide-company studies submitted

to OPP from IBT. The list included several studies commissioned by Monsanto on glyphosate. In

fact, most of the initial data supporting the first regulatory decisions on glyphosate in the 1973-

1980 period was from IBT, and was subsequently deemed invalid and/or fraudulent. All such

studies had to be replicated, and were replicated during the mid-1980s and 1990s.

       19.     An official accounting of the validity of pesticide industry toxicological studies

done my IBT, by pesticide active ingredient, was compiled by EPA in 1981-1982 in response to

a request from our Subcommittee for such an accounting, and was made public through a

DORFA Subcommittee hearing. This document was Exhibit 1364 in the Pilliod trial.

       20.     While serving as the DORFA Subcommittee Staff Director, I met multiple times

with Mr. Chester Dickerson. Mr. Dickerson worked for Monsanto and was based in the

corporation’s Washington, D.C. office. Mr. Dickerson attended nearly all pesticide-related

hearings conducted by the Subcommittee in the time period I worked as Staff Director.

       21.     Mr. Dickerson advanced his, and Monsanto’s views regarding the way the OPP

was implementing federal pesticide law. We discussed many times the OPP response to the IBT

scandal, and the subsequent steps Monsanto took to replace fraudulent data. Other common

topics of discussion included the need for legislative reforms, pesticide risk-assessment issues,

and how known or possible oncogenic pesticides were being regulated.

       22.     From 1984-1990 I served as the Executive Director of the Board on Agriculture, a

major unit of the National Academy of Sciences/National Research Council (“NAS/NRC”).




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       23.     In February 1985, the EPA “asked the Board on Agriculture of the National

Research Council to study the EPA’s methods for setting tolerances for pesticide residues in

food. Specifically, the EPA asked the board to examine the current and likely future impacts of

the Delaney Clause on the tolerance-setting process” (quote from preface, Regulating Pesticides

in Food: The Delaney Paradox, NAS, 1987).

       24.     My job was to support the work of the Board of Agriculture (“BA”) in recruiting

the study committee, collecting necessary information and records from the OPP, commissioning

and overseeing analytical work in support of the Committee’s deliberations, and drafting the

Committee’s report, which was entitled Regulating Pesticides in Food: The Delaney Paradox.

       25.     The report was released in 1987. It estimated the level and distribution of

potential cancer risk across foods, stemming from the about 2,500 tolerances covering the

residues in food of 53 oncogenic pesticides. It also discussed the impact of the Delaney Clause’s

paradoxical impact on pesticide tolerance setting.

       26.     In 1988, the Congress directed the EPA to request the BA to conduct a study on

the unique vulnerability of pregnant women, infants, and children following pesticide exposures.

This new study was commissioned as a follow-up to the Delaney Paradox report.

       27.     As Executive Director of the BA, I developed the scope of work, helped the

Board identify and recruit the study committee, and supported the initial 2.5 years of the

Committee’s work. I left my position as the Executive Director of the Board on Agriculture in

late 1990.

       28.     The report written by the new NAS/NRC Committee was entitled Pesticides in the

Diets of Infants and Children. It was released in June, 1993. Hearings on the report were held in

both the House and Senate on the day of release. The recommendations were widely embraced




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by the pesticide industry and environmental/consumer advocates, and provided the basic

framework for an historic piece of legislation that was passed and signed into law in the summer

of 1996, the “Food Quality Protection Act” (“FQPA”).

       29.       I started Benbrook Consulting Services (“BCS”) in late 1990. Since that time

BCS has carried out dozens of projects involving pesticide use, risks, and regulation for federal

and State government agencies, companies, private institutions, and non-governmental

organizations.

       30.       In the 1990s, several BCS projects involved analytical work on risks stemming

from residues of cancer-causing pesticides in food. The impact of the Delaney Clause, and

possible legislative changes to it, was a focus of all such projects, as was the long-standing effort

by the Congress to pass legislation implementing the recommendations in the 1987 and 1993

NAS/NRC reports.

       31.       BCS’s major client in the 1993-2002 period was Consumers Union (“CU”),

publisher of Consumer Reports. I was hired initially to work with senior CU scientific staff in

writing a book on pest management, and pesticide use and regulatory issues in the U.S. Pest

Management at the Crossroads (“PMAC”) came out in October 1996 and was widely

disseminated in pesticide policy circles.

       32.       Chapter 3 in PMAC addressed human-health risks stemming from pesticide use

and exposure, and notes that “More than 70 active ingredients cause cancer in animal tests, and

cancer has been the most common reason cited by the EPA in pesticide cancellation and

suspension actions.”




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       33.     Chapter 4 in PMAC focuses on pesticide regulation and includes a detailed

explanation of the purpose, provisions, and impact of the 1996 Food Quality Protection Act, with

multiple references to both the 1987 and 1993 NAS/NRC reports.

       34.     The FQPA changed the basic standard and risk-assessment process governing the

setting of tolerances in the case of possibly cancer-causing pesticides that are known to

concentrate in processed foods.

       35.     The FQPA’s core reforms were effective upon enactment, and required the EPA

to revisit the 8,066 tolerances covering residues of pesticides then on the market. These included

130 tolerances covering all forms of glyphosate and its metabolites, as well as 14 additional

tolerances covering residues of the isopropylamine salt form of glyphosate (the primary form of

glyphosate sold by Monsanto).

       36.     From late-1996 through about 2002 I continued work with CU on the

implementation of the FQPA. I carried out multiple analytical projects for CU, the results of

which were typically included in CU’s rule-making comments to the EPA on various aspects of

FQPA implementation. BCS also worked on FQPA implementation issues for other clients.

       37.     In 1996, the first genetically-engineered (“GE”), herbicide-resistant (“HR”)

soybean and cotton seeds were commercially sold. These crops had been engineered to tolerate

post-emergent applications of glyphosate (i.e., an application over-the-top of a growing crop),

and were labeled “Roundup Ready” crops. Applied in this way, at this stage of crop growth,

glyphosate killed actively growing weeds in farm fields, but left GE crops unharmed.

       38.     The commercialization of GE-HR crops triggered rapid growth in the overall

sales and pounds applied of glyphosate in the U.S., and globally.




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       39.     I began and ran Ag Biotech InfoNet from 1998-2005, a website covering the use,

risks, and regulation of genetically engineered crops. Herbicide-resistant crops, and especially

Roundup Ready crops, were a major focus of the website, as was the use and regulation of

glyphosate-based herbicides.

       40.     As part of my ongoing analytical work since the early 1990s, I download the

pesticide use data collected and released annually by the U.S. Department of Agriculture

(“USDA”). Each year I track and then publish regarding changes in herbicide use, as well as

overall pesticide use in the three major GE crops – soybeans, corn, and cotton.

       41.     It was clear to me by the early 2000s that both herbicide and overall pesticide use

was rising on acres planted to GE-HR soybeans, corn, and cotton, and that Monsanto claims that

it’s new, GE crops were reducing pesticide use were not supported by official USDA pesticide

use data.

       42.     In 2003, I released the first of several reports on the impacts of GE crops on

pesticide use. Ag BioTech InfoNet Technical Paper #6 was issued in 2003. It documented the

increase in overall pesticide use on GE soybeans, corn, and cotton from 1996 through 2002. In

2004, Ag BioTech InfoNet released Technical Paper # 7, quantifying the impact of GE crops on

pesticide use over the first nine years of use.

       43.     During my tenure as Chief Scientist of The Organic Center (“TOC”), I wrote and

issued a November 2009 “Critical Issue Report” covering the impact of GE crops on pesticide

use over the first 13 years of use. A

       44.     In October 2012, I published a paper entitled “Impacts of genetically engineered

crops on pesticide use in the U.S. – the first 16 years” in the peer-reviewed journal




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Environmental Sciences Europe (Vol 24),

https://enveurope.springeropen.com/articles/10.1186/2190-4715-24-24).

       45.     I accessed the metrics for this paper on August, 10, 2019 from the journal’s

website. The paper has been accessed 293,000 times, and cited 154 times. Its Altmetric Score is

1,058 (based on accesses, citations, media coverage, and social media mentions). The paper’s

Altmetric score is ranked 24th out of 129,495 papers of similar age in all journals. It has been the

most heavily accessed paper in the 20+ year history of Environmental Sciences Europe, and by

far the most heavily accessed paper in any journal on the impacts of GE crops and pesticide use.

       46.     Each of the reports I wrote on the impact of GE crops on overall pesticide use

highlighted the role of rapidly-rising use of glyphosate-based herbicides in pushing upward the

overall pounds of pesticides applied by U.S. soybean, corn, and cotton farmers.

       47.     The reason why was clear and not in dispute – farmers who planted Roundup

Ready crops switched away from herbicides generally applied at a rate of 0.01 pound of active

ingredient per acre to over 1.0 pounds, and averaging about 0.3 pounds per acre. Glyphosate-

based herbicides, on the other hand, were typically applied at an average rate per crop year of

between 1 and 2 pounds of glyphosate per acre. Replacing two herbicides applied at 0.3 pounds

per acre, with one application of glyphosate at 1.0 pound per acre increases herbicide use, when

“use” is measured by average pounds of active ingredient applied per acre (the most common

metric used by EPA and the USDA).

       48.     In 2016, I published the first complete accounting of the use of glyphosate-based

herbicides in the U.S. and globally, based on publicly available pesticide use data. The paper was

entitled “Trends in glyphosate herbicide use in the United States and Globally” and was

published in Environmental Sciences Europe (Vol 28:3; DOI 10.1186/s12302-016-0070-0).




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        49.    My “Trends” paper has been cited 223 times, with 70,000 accesses and an

Altimetric score of 1,258 (ranked 86th out of 336,605 papers of similar age in all journals).

        50.    Also in 2016, I was the senior author of a paper entitled “Concerns over use of

glyphosate-based herbicides and risks associated with exposures: a consensus statement” that

was published in the peer-reviewed journal Environmental Health (Volume 15:19; DOI

10.1186/s12940-016-0117-0). This paper has been cited 149 times, with an Altmetric Score of

890.

        51.    From late 1990 through 2006, I ran BCS and all my work was via contracts with

BCS.

        52.    From 2006 through mid-2012, I worked as the Chief Scientist of The Organic

Center, a small non-profit responsible for tracking new science on the environmental and

consumer health impacts of organic food and farming. The impact of organic farming on

pesticide use and risks was an ongoing focus during my tenure as TOC Chief Scientist.

        53.    I received a non-tenure track, Research Professor appointment at Washington

State University in June 2012, a position I held for three years. During this time, I ran the

“Measure to Manage” program. Our focus was development and application of analytical tools

useful in quantifying the impact of agricultural technology and farm production systems on

agriculture’s environmental footprint and public health outcomes.

        54.    As a result of research collaborations with Newcastle University scientists, I was

appointed as a Visiting Professor in the School of Agriculture, Food and Rural Development,

Newcastle University in the United Kingdom (ongoing).




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         55.    In March 2017, I became a Visiting Scholar in the Department of Environmental

Health and Engineering in the Bloomberg School of Public Health, Johns Hopkins University

(ended 2019).

         56.    In the last four years, in addition to the depositions and trial testimony relating to

Roundup noted above, I have been deposed in the following cases:

1) Eggnatz, Garcia, and Martin v. Kashi Company. Civil Case No.: 12-21678-CIV-

Lenardo/O’Sullivan, (S.D. Fla.) 2) Barron v. Snyder’s-Lance, Inc. No. 0:13-cv-62496-Leonard-

Goodman (S.D. Fla.). 3) In re General Mills, Inc. Kix Cereal Litigation, Case No. 12-249 (D.

N.J.).

         57.    I charge $300.00 per hour for my expert witness work and travel. My professional

fee for time in depositions is set on a case-by-case basis.

         58.    My resume appears in Appendix A and includes my litigation history.




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   III. Regulatory Compliance

       59.     In the case of an application for a food crop use, or uses, of a new pesticide active

ingredient, required and submitted studies must be evaluated by OPP for adherence to study

protocols and Good Laboratory Practices (“GLP”s) set forth in OPP’s data requirements in

Section 408 of the Code of Federal Regulations.

       60.     Any required tolerances must be approved and in place prior to final OPP action

in response to a registration application.

       61.     Companies generate studies and collect data to submit to the OPP in support of

requested actions.

       62.     Once all requested data is submitted and deemed acceptable (i.e., it satisfies OPP-

imposed data requirements and was carried out in accord with GLPs), OPP science-branch

managers then determine whether submitted studies “support” the actions requested by

applicants (set a tolerance, register a new use of a pesticide).

       63.     In some cases, the OPP will grant a “conditional registration” for a new pesticide,

or a new use of a previously registered pesticide. Such registrations are accompanied by a

requirement that the registrant must conduct and submit additional studies or data to OPP by a

given date.

       A. Statutory Obligations of Pesticide Manufacturers

       There are four core elements of the pesticide regulatory scheme set forth in the (FIFRA.

       1. Initial Approvals
       64.     Prior to widespread commercial sales, pesticide manufacturers seek approval of

time-limited tolerances and a series of Experimental Use Permits (EUPs) that sanction

applications of a limited volume of product on a few dozen to a few thousand acres. A portion of



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the toxicological data package required to support full registration is reviewed prior to approval

of EUPs and time-limited tolerances.

       65.     The first EPA approval of a Roundup label came on April 5, 1974, for an

“Industrial and Non-Agricultural Uses” And “Home and Farmstead Uses.”

(MONGLY00245013) A little over a month later, the first Experimental Use Permit (EUP) was

granted for limited Roundup applications on corn, soybeans, wheat, and cotton.

       66.     Additional non-farm uses were added to the first label in October 1974.

       67.     The first major farm label was approved by EPA on December 23, 1975, and

sanctioned use on corn, wheat, soybeans, and small grains (oats, barley, rye).

       68.     Key first actions by EPA also included approval of temporary tolerances for the

combined residues of glyphosate and its major metabolite aminomethylphosphonic acid

(“AMPA”) in the crops harvested from 9,715 acres of experimental crop applications.

       69.     These temporary tolerances, along with similar tolerances on several other crops,

were approved and eventually became permanent tolerances, in response to tolerance petitions

4G1444, 5G1523, 5G1561, and 5F1560.

       70.     On March 5, 1976 Monsanto requested EPA to establish temporary tolerances on

cottonseed and cotton forage, and soybean grain, hay, and forage, in order to allow harvest and

use of crops grown under an Experimental Use Permit. (MONGLY03579293).

       71.     EPA approved Monsanto’s request for temporary cotton and soybean tolerances

covering residues resulting from recirculating sprayer applications on acres treated under an EUP

in a letter dated September 7, 1976. The tolerances would be in effect for one year.

       72.     The letter goes on to alert Monsanto that: “A food additive tolerance is being

established for residues of glyphosate and its metabolite in soybean hulls at 20 ppm.” So, from




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September 1976, Monsanto was aware that it would have to request, and EPA approve, food

additive tolerances for most new glyphosate food crop uses granted under Section 409 of the

Food, Drug, and Cosmetic Act (“FDCA”).

       73.     Section 409 food-additive tolerances were then subject to the Delaney Clause and

would not be approved by EPA in the event glyphosate was determined to be a possible,

probable, or proven animal or human oncogen. The impact of the Delaney Clause on

glyphosate’s regulatory history is substantial and addressed in detail in this report.

       74.     Over the next 10+ years, several other applications for EUPs were submitted and

most were granted by EPA, sometimes in a modified form. In addition, most of the requests for

temporary tolerances required to allow crop harvest following Roundup applications authorized

by EUPs were approved. But most of these approval letters from EPA to Monsanto contained a

paragraph explaining that the agency had also established necessary Section 409 food additive

tolerances, on a temporary basis.

       75.     Both the number and scope of pending temporary and permanent tolerance

petitions expanded steadily during the late 1970s, as did the number of tolerances that were

granted.

       2. Establishing Tolerances
       76.     FIFRA directs the EPA to not approve the registration of a food-crop use of a

pesticide prior to the establishment of necessary tolerances covering the pesticide residues

expected to remain in or on the foodstuff at the time of harvest. The tolerance process begins

with submission by a pesticide manufacturer of a petition requesting approval of a specific set of

tolerances. Such petitions are accompanied by a large data package including residue chemistry,

metabolism, and toxicology studies. These studies, in turn, are used by EPA to carry out a




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detailed set of analyses, following prescribed procedures and science policies, to determine

whether the submitted studies “support” approval of the requested tolerances.

       77.     EPA’s in-depth assessment of human health risks from dietary exposures to a

pesticide like glyphosate is carried out within the tolerance-setting process, including the

assessment of whether a pesticide poses oncogenic risk. This is why EPA judgements regarding

whether a pesticide poses cancer risk are based predominantly on typical levels of exposure via

food for the general public, and not other routes of exposure (e.g. dermal exposures experienced

by applicators, and people working in or near areas sprayed with Roundup).

       3. Approval of Labels
       78.     It is widely understood by pesticide manufacturers that “the label is the law.” Put

simply, applications in accord with all label requirements, directions, and restrictions are legal,

and any others are not.

       79.     A newly proposed pesticide-product label can authorize applications for: 1) a new

pesticide, 2) a new use, or uses of an already-registered pesticide, or 3) a revised set of label

directions, or a new formulation or brand name, within an existing registration, and 4)

combinations of 2) and 3).

       80.     There are two Roundup labeling issues at the heart of this litigation: the degree to

which Monsanto provided adequate warnings to users relative to potential risks, and whether

Roundup labels included sufficient instructions and adequate, use-specific requirements to

minimize exposures and risk.

       81.     Pesticide labels can be judged as complete and effective, or deficient, to the

degree that they adhere to, and help assure attainment of FIFRA’s basic goal -- “avoiding

unreasonable adverse effects on man or the environment.”




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       82.     Labels that do not prevent or avoid “unreasonable adverse effects on man and the

environment” following lawful applications render the pesticide product containing such labels

misbranded.

       83.     Labels that disclose possible human health or environmental risks, and then also

set forth use directions and effective steps to mitigate exposures and potential risks, are most

likely to attain FIFRA’s basic goal. Such labels are also the most likely to adhere to core industry

stewardship standards and responsibilities.

       84.     Labels that fail to disclose potential risks, or fall short in requiring measures to

mitigate such risks, fall short of meeting FIFRA requirements, and also are not fully in accord

with generally applicable industry product-stewardship and safety standards as set forth in

company-specific policy statements and pledges, the Food and Agricultural Organization’s

pesticide Code of Conduct (to which Monsanto and most major manufacturers were signatories),

and other industry stewardship and product safety commitments and codes of conduct.

       85.     Labels that fail to warn about known, possible risks, and also fail to mitigate such

risks are the most likely to set the stage for adverse impacts that fall outside of what FIFRA

allows, hence possibly rendering a product misbranded under FIFRA.

       86.     Pesticide manufacturers draft and submit pesticide product labels to the EPA for

review and approval. The critical components of a pesticide product label are: (a) its use

directions (what pests the product is registered to control, allowed application rates, and

directions regarding when and how the product can be applied), and (b) the safety precautions

and warnings linked to specific uses or methods of applications (broadcast on a field, sprayed by

an airplane, applied using a handheld or backpack sprayer), or conditions and circumstances of

use (e.g. on hot or windy days, in areas with sandy soil, near schools or a body of water).




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       87.     Manufacturers are responsible for the contents of their product labels, and the

adequacy of a label’s use directions, precautionary statements, exposure-reduction requirements,

and other provisions relative to adhering to the performance standards and safety thresholds set

forth in FIFRA, and by EPA via regulations necessary to implement FIFRA’s provisions.

       88.     EPA’s review and approval of a requested, new pesticide label is driven by the

answers to three questions: 1) Has the manufacturer submitted valid studies fulfilling all

applicable data requirements?; 2) Do the science assessments carried out by the relevant

branches in OPP support approval of the label as proposed?; and 3) Does the label conform to

the detailed specifications set forth by EPA in its regulations governing what must appear on

labels, where, and often, in what font.

       89.     In some cases, especially with applications for new labels, EPA scientists will

identify the need for new or more sophisticated studies and data to fully “support” a judgement

that the available data adequately justify approval of a proposed label. In such cases, the EPA

will often grant a time-limited “conditional registration” that specifies additional data or

analytical requirements that the registrants must agree to fulfill by a stated date.

       90.     While general public, human health risks are assessed largely within the

tolerance-setting process, all other types of risks to the environment, applicators, people living

near treated areas, non-target organisms, and damage to property are addressed within the label

review and approval process.

       4. Confidential Statements of Formula Not Disclosed on Labels, Impairing
          Scientific Progress

       91.     New label applications provide the EPA with the product’s Statement of Formula

that specifies what is in the formulated, “end-use” product. (An “end use” pesticide product is




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formulated and ready for sale to pest managers). FIFRA directs the EPA to consider such

Statements of Formula as Confidential Business Information (“CBI”).

        92.     Statements of Formula included in an application for a registration will specify:

(a) the active ingredient(s) responsible for controlling target pests as a percentage of the product

by weight (i.e. 43% glyphosate in a given Roundup formulation); and, (b) the identity and

concentrations of each adjuvant, surfactant, and other “inert ingredient” in the formulation.

        93.     Once a registration and label are approved by EPA, the pesticide product labels

affixed to cans, bags, barrels, or jugs of pesticide must disclose the active ingredient and its

concentration, and the total concentration of “Inert Ingredients,” without identifying what they

are and relative amounts of each.

        94.     Masking full Statements of Formula on pesticide products leads to uncertainty

when independent scientists conduct tests of the toxicity, human health impacts, or

environmental fate of formulated, glyphosate-based herbicides (for a detailed explanation of

why, see “Insight into the confusion over surfactant co-formulants in glyphosate-based

herbicides” (Antoniou, Benbrook, Mesnage, 2019. Food and Chemical Toxicology Vol. 128;

137-145. https://www.sciencedirect.com/science/article/pii/S0278691519301814).

        5. Periodic Re-registration of Previously Approved Products
        95.     FIFRA requires EPA to take a fresh look, and update pesticide studies and risk

assessments every 15 years. In the case of re-registration, cancellation, and suspension actions

impacting already-registered pesticide uses, the EPA is bound by FIFRA to balance the risks and

benefits associated with ongoing, or altered use of the already-registered pesticide, taking into

account trends in pest pressure and the availability and cost of other, registered pesticide

alternatives.




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       96.     As stated in the 1996 Consumers Union book Pest Management at the

Crossroads, “new pesticides are guilty until proven innocent, with applicants bearing the burden

of proof. Old pesticides are innocent until proven guilty, with EPA bearing the burden of proof”

(page 93).

       97.     Before restricting the use of a previously registered pesticide, OPP must first

show that: 1) exposure levels to one or more non-target organisms (and especially people),

exceed the EPA’s level of concern, and 2) the risks stemming from the ongoing use of the

pesticide exceed the benefits flowing from such uses.

       98.     To make judgements regarding pesticide risks versus benefits, the OPP must carry

out detailed assessments of how a given pesticide is used on a given crop, pesticide efficacy

(number and severity of pests controlled, how well are they controlled, and for how long), how

use varies across the country, the cost of the pesticide plus its application, what combination of

factors can lead to exposures above EPA’s level of concern, and the availability of efficacious

and/or safer alternatives.

       99.     This use-specific information is used by the EPA to identify relatively high-risk

uses, as well as options to reduce exposure levels. At the end of its assessment of pesticide uses,

benefits, and risks, the OPP must decide whether restricting or cancelling the use or uses of a

pesticide will cause unacceptable crop losses or damage, and/or force farmers to increase

reliance on another pesticide that might pose even more serious risks.

       100.    It can take years for the EPA to complete a re-registration review of pesticide

risks and benefits, and the adequacy of existing labels, especially in the case of pesticides for

which some uses appear to have exceeded, or approached the agency’s unacceptable risk




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triggers. The ongoing glyphosate re-registration process started in 2009, and is yet to be

finalized.

        101.     Re-registration reviews tend to take many years to complete when:

             •   Recent studies raise questions with past EPA toxicological determinations, or
                 point to possible new risks;
             •   There is inadequate data for EPA to accurately calculate levels of exposure to
                 people or other non-target organisms (hence requiring delay while field studies
                 are carried out, and/or residues are measured in food); and
             •   Registrants are determined to retain all existing uses, defend all tolerances, and
                 avoid any requirements or restrictions that might pose a competitive disadvantage,
                 or curtail approval of new uses in the future.

        102.     In the case of the ongoing re-registration review of glyphosate, each of the above

three circumstances have contributed to the length of the process.

        B. EPA Testing Requirements Imposed on Monsanto for Glyphosate-
           Based Herbicides

        103.     Currently applicable EPA toxicology data requirements, prior to the agency

registering a new food use pesticide, are set forth in Part 158 of the Code of Federal Regulations.

        104.     The modern set of pesticide data requirements was promulgated as a Final Rule in

the Federal Register on October 24,1984 (Vol. 49, No. 207). The Toxicology Data Requirements

table appears on page 42882. A more recent summary of the slightly modified pesticide Part 158

toxicology data requirements was published in the Federal Register (Vol. 72, No. 207, Friday

October 26, 2007).

        105.     These toxicology data requirements include:

             •   Eight acute (short-term) studies;
             •   Four required and three conditionally required sub-chronic studies;
             •   Three chronic feeding studies (carcinogenicity tests in two species, typically the
                 mouse and rat; and, a non-cancer chronic feeding study);
             •   Three required and one conditionally required developmental toxicity and
                 reproduction studies;
             •   Three genotoxicity studies; and



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           •   Two required (metabolism and immunotoxicity) and two conditionally required
               “Special Studies” (dermal penetration and companion animal safety).

       106.    Accordingly, prior to registering a new food-use pesticide, the EPA requires a

minimum of 28 toxicology studies, assuming it imposes all conditionally required toxicology

study requirements.

       107.    Monsanto has frequently stated that it has generated and submitted to EPA over

800 studies proving the safety of Roundup. This claim is often repeated in media reports, and

weed management and agricultural publications (for example, see the August 8, 2019 AgPro

piece “Glyphosate Overview: Where are We Now?” at

https://www.agprofessional.com/article/glyphosate-overview-where-are-we-now).

       108.     The claim is a standard feature of most Roundup PR announcements and

campaigns, and in communications with regulators, policy makers, and stakeholders.

       109.    A slide in a February 16, 2009 Powerpoint by Monsanto senior toxicologist

David Saltmiras summarizes “Glyphosate Mammalian Tox Data Submitted -- 2004 WHO

Review.” The slide notes that the listed studies had been submitted to WHO by 11 companies,

reflecting the fact that several companies held their own GBH registrations by 2004.

       110.    Across all categories of mammalian tox data, Saltmiras identifies 101 submitted

studies including 7 chronic feeding studies, four multigenerational studies, and six rat and rabbit

developmental studies. Perhaps as many as100 mammalian toxicity studies have been conducted

by various registrants since 2004, the majority of which are short-term Bacterial reverse mutation

(BRM) genotox studies.

       111.    So, about 200 of the 800+ studies claimed by Monsanto to support the human

safety of Roundup are directly relevant to the evaluation of glyphosate and GBH mammalian

toxicity, and about one-half of the 200 are BRM studies.



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       112.    As noted in my 2019 ESE paper on EPA’s and IARC’s assessment of glyphosate

and GBH genotoxicity testing, registrants (mostly Monsanto) have submitted to EPA 95 BRM

assays, while EPA requires just one. Such assays are nearly universally negative, and of little

relevance to the assessment of GBH oncogenicity because bacterial cells lack mitochondria, a

primary target of glyphosate in mammalian cells.

       113.    Accordingly, nearly 700 out of the 800 safety studies conducted by Monsanto on

GBHs include hundreds of pesticide residue and environmental fate studies, and hundreds of

acute toxicity and irritation studies (the so-called Six Pack studies done on specific formulations,

as opposed to on pure, technical glyphosate).

       114.    The record shows clearly that Monsanto has refused to carry out studies required

or requested by EPA. Examples central to this case include studies needed in order to: (a)

evaluate oncogenic potential, (b) accurately estimate dermal exposures and risks for applicators,

and (c) determine the efficacy of exposure- and risk-mitigation provisions on, or absent from,

Roundup labels. Required studies that were not carried out by Monsanto, or carried out but not

submitted to the agency, are discussed in subsequent sections of this report.

       1. Did Monsanto Submit Valid Studies in Fulfillment of EPA Testing
          Requirements?
       115.    Not always, especially in the 1970s when Monsanto relied heavily on a the IBT

laboratory in carrying out EPA-required toxicology studies.

       116.    IBT was a contract laboratory doing toxicological studies destined for submission

to OPP/EPA for many pesticide manufacturers in the 1970s and 1980s.

       117.    In 1976, a routine FDA audit of an IBT test facility uncovered problems with the

conduct of some studies, leading to a thorough EPA assessment of all studies done by IBT that

supported regulatory actions by OPP (for a history of the IBT case and its importance in the



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registration of pesticides in the 1970s and 1980s, see Eliot Marshall, “The Murky World of

Toxicity Testing,” Science Magazine, Vol.226, June 10, 1983; Pilliod v. Monsanto Exhibit

1363).

         118.   Most of the initial toxicological database supporting the early tolerance petitions

and registrations of glyphosate were done by IBT. The “IBT Tracking System Report” released

in 1983 notes 30 studies done by IBT on glyphosate, of which 17 were invalid and 2 were

pending final judgements (“Summary of the IBT Review Program,” OPP, July 1983; Pilliod v.

Monsanto Exhibit 1364). These invalid studies included long-term carcinogenicity mouse and

rat studies fed glyphosate.

         119.   On July 1, 1977, OPP generated a one-page summary of the eight toxicology

studies used to support establishment of all then-existing glyphosate tolerances. These eight

studies were submitted between 1972 and 1974, and all were done by IBT.

         120.   An August 21, 1978 memo from William Dykstra of the Toxicology Branch to

Robert Taylor in the Registration Branch discusses the EPA’s assessment of the validity of a 2-

year chronic feeding study done in Albino rats by IBT. For a variety of reasons, the EPA judged

the study to be invalid, yet it served as the basis of the then-current chronic Reference Dose of

0.1 mg/kg/day (called an ADI, or Acceptable Daily Intake in 1978).

         121.   A July 27, 1982 memo from the Toxicology Division to the Registration Division

reported EPA’s judgement that the 2-year dog study (No. 651-00565) done by IBT for Monsanto

and completed in 1973 was invalid because of missing data, failure to record diet preparation

records, and other deficiencies.




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       122.    Accordingly, it took about a decade for EPA to determine that most of the

toxicological database submitted to the agency by Monsanto in the mid-1970s, and used by EPA

to support all early EUP, tolerance, and registration actions, was invalid and possibly fraudulent.

       123.    Problems also arose with some of the replacement studies that Monsanto

commissioned to replace invalid IBT studies. In July 1979, Monsanto decided to terminate a 2-

year mouse study on NNG (a glyphosate breakdown product) because of excessive mortality in

treated groups of animals. (MONGLY04272266).

       124.    Via an agreement with OPP, Monsanto repeated all the invalid IBT studies at

different laboratories, mostly during the 1980s. In the interim, EPA allowed existing registrations

and tolerances to remain in place, and no effort was made by Monsanto via label alerts or other

communications to convey to users of Roundup herbicides that the existing EPA approvals and

label directions were not supported by valid toxicology, particularly oncogenicity, studies.

       C. Regulatory Consequences When Monsanto Submitted Invalid
          Studies or Refused to Carry Out New Studies Requested by EPA

       125.    Monsanto was required by EPA to repeat the invalid and fraudulent IBT studies,

and it eventually did so.

       126.    But in many other instances, Monsanto refused to carry out replacement studies,

or more sophisticated studies required by EPA, or deviated from EPA instructions regarding

responses to requests for additional, or clarifying information.

       127.    The record shows that Monsanto refused to repeat the 1983 Bio/dynamics mouse

study, (which was one of the studies required by EPA to be repeated due to the IBT fraud)

despite repeated, formal, EPA requests for it to do so (details covered in a subsequent section).

       128.    In the face of Monsanto’s refusal to repeat the 1983 Bio/dynamic 2-year mouse

oncogenicity study to resolve disagreements between Monsanto and EPA scientists over mouse


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kidney tumors, EPA had two basic options. It could pursue cancellation or suspension of

Roundup products, or accept Monsanto’s arguments asserting why a repeat study was not

necessary. On whether to force Monsanto to repeat the mouse study, EPA chose the latter course.

In my opinion, the reason why is clear.

       129.    The cancellation process under FIFRA is extremely resource intensive, with EPA

bearing the burden of proof in showing that the risks stemming from currently labeled Roundup

uses exceed the benefits to farmers and society from those uses.

       130.    In addition to EPA bearing the burden of proof, registrants have multiple

opportunities to intercede in the process to challenge:

           •   The validity of the EPA’s risk assessments, or the data such assessments rely
               upon;
           •   The EPA’s quantification of the benefits arising from uses of Roundup; and
           •   Whether there are registered alternative herbicides that offer farmers and weed
               managers equal or superior efficacy and cost-effectiveness, while imposing lesser
               risks.

       131.    From past cancellation processes and according to the letter of the FIFRA law,

EPA knew that it would have to show that glyphosate risks exceeded its associated benefits. But

in the case of glyphosate and Roundup labels in the mid-1980s, EPA lacked adequate data to

resolve questions over kidney tumors in treated male mice that were part of the 1983

Bio/dynamic mouse study. Hence, EPA would have been hampered by Monsanto’s lack of valid

testing in presenting a strong case that exposures to Roundup might pose an oncogenic risk,

rendering the agency vulnerable if a suspension or cancellation action based on possible cancer

risk was challenged, as it almost certainly would have been.

       132.    In my opinion, EPA decided not to pursue cancellation of glyphosate-based

herbicides in the mid-1980s, because Monsanto had made clear that it would contest the action

vigorously. The most likely outcome from a protracted, resource-intensive cancellation process


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would be a court order enforcing EPA’s request that Monsanto conduct another mouse 2-year

feeding study. This process would take at least three years, during which Roundup would remain

on the market.

       D. Monsanto Adherence to FIFRA’s Adverse Effects Reporting
          Requirement

       133.      In crafting the provisions of the modern FIFRA in the early 1970s, Congress was

persuaded that even a robust, rigorous, pre-approval pesticide risk-assessment process might

miss some scenarios or circumstances in which a given pesticide use leads to “unreasonable

adverse effects on man or the environment.” Plus, Congress knew that progress in the risk-

assessment sciences might uncover risks not previously recognized or understood.

       134.      Accordingly, FIFRA Section 6(a)2 was added to the statute. It spells out what has

come to be known as the “adverse health effects reporting requirement.” EPA spells out the new

information that must be submitted to the EPA by registrants in its implementing regulations (40

CFR § 159.158):

       (a) General. Information which is reportable under this part must be submitted if
       the registrant possesses or receives the information, and the information is
       relevant to the assessment of the risks or benefits of one or more specific pesticide
       registrations currently or formerly held by the registrant. Information relevant to
       the assessment of the risks or benefits also includes conclusion(s) or opinion(s)
       rendered by a person who meets any of the following:
               (1) Who was employed or retained (directly or indirectly) by the
               registrant, and was likely to receive such information.
               (2) From whom the registrant requested the opinion(s) or conclusion(s) in
               question.
               (3) Who is a qualified expert as described in § 159.153(b).

       135.      In September, 1997, EPA published a Final Rule in the Federal Register

“codifying EPA’s interpretation and enforcement policy regarding section 6(a)(2)” of FIFRA,

focusing on what information must be submitted under 6(a)(2), when, and how often. The Final

Rule became effective as of June 16, 1998.


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       136.    EPA issued on April 3, 1998 Pesticide Registration (PR) Notice 98-3, “NOTICE

TO MANUFACTURERS, FORMULATORS, PRODUCVERS, DISTRIBUTORS AND

REGISTRANTS OF PESTICIDE PRODUCTS.” An attachment provides detailed 6(a)(2)

guidance and requirements.

       137.    Section VII in the 1998 6(a)(2) guidance document addresses “Expert Opinion

Information” It addresses ongoing, legal responsibilities Monsanto faced in its ongoing exchange

of information with EPA relative to the possible risks stemming from exposures to Roundup-

brand herbicides.

       138.    Section VII begins by stating:

       “Conclusions or opinions of experts must be submitted under FIFRA 6(a)(2) if the
       registrant possesses the information and either 1) the information is otherwise reportable
       under one of the substantive provisions of the rule; or 2) the registrant knows, or should
       reasonably know, that the information, alone or in conjunction with other information,
       might raise concerns about the continued registration of a pesticide or about the
       appropriate terms and conditions of registration of a pesticide. As a general matter, the
       Agency frequently relies on the ‘weight of evidence’ in making pesticide regulatory
       decisions, and it considers expert opinion that tends to confirm or validate otherwise
       reportable information. In this context, expert opinions can play an important role in
       Agency decision-making.”

       139.    The PR Notice goes on in Section VII to offer examples of such information

reportable under 6(a)(2). These include “scientific opinions that test data demonstrate that a

pesticide causes a particular adverse effect”.

       140.    Two examples central to this case are discussed in this report of new information

obtained by Monsanto from its consultants and/or contract labs, after the issuance of the 1998

6(a)(2) guidance document in 1998, that would have also been new to the EPA had Monsanto

submitted it to the agency (Dr. Parry’s 1999 genotoxicity reports, and the TNO dermal

absorption rate study reports).




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       141.    The new scientific information in the Parry and TNO reports was directly relevant

to the EPA’s evaluation of glyphosate and Roundup risks, and was moreover, inconsistent with

the information currently in the EPA’s possession and relied upon by EPA in estimating

Roundup exposure levels and associated risks.

       E. EPA Action Targeting California’s Mandatory Proposition 65
          Warning

       142.    Over the last several years, several EPA-approved labels on glyphosate-based

herbicides have included the California Proposition 65 cancer warning required by the State’s

Safe Drinking Water and Enforcement Act of 1986 (Proposition 65).

       143.    For example, the label…

       144.    The purpose of Proposition 65 is to alert California residents of significant

exposures to chemicals believed to pose risk of cancer, birth defects, or reproductive problems.

       145.    In a letter dated August 7, 2019 to registrants of, the Director of the Registration

Division in EPA’s Office of Pesticide Programs (OPP) advised registrants that the EPA will no

longer approve GBH labels containing a Proposition 65 cancer warning label, as required in

California State law.

       146.    The critical passage in the letter states:

       “Given EPA’s determination that glyphosate is ‘not likely to be carcinogenic to humans,’
       EPA considers the Proposition 65 warning language based on the chemical glyphosate to
       constitute a false and misleading statement.”

       147.    This OPP action is unprecedented. . Among other things, it creates a new venue in

which the debate over differences in the EPA and IARC evaluations of glyphosate

carcinogencity will continue.




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       148.    Nothing has changed since 1991 in the EPA’s evaluation of glyphosate

carcinogenicity, yet this is the first time the EPA has challenged adding the Proposition 65

cancer warning on OPP-approved GBH labels.

       149.    This action by OPP is conceptually and technically flawed. OPP’s final report on

glyphosate carcinogenicity, and the agency’s classification that technical glyphosate “is not

likely to be carcinogenic to humans” is predicated on typical, expected dietary exposures faced

by the general public to glyphosate, not Roundup or other formulated GBHs.

       150.    The EPA’s glyphosate carcinogenicity judgement, and the scientific analysis

produced by OPP do not address nor encompass the potential of Roundup and other GBHs to

enhance risk of NHL following the relatively high levels of applicator or occupational exposures

that periodically occur to formulated Roundup and GBHs.

       151.    In multiple places in the discovery record -- several of which are cited in this

report -- Monsanto scientists and senior executives acknowledge in internal emails that

formulated Roundup products containing POEA surfactants are markedly more toxic than pure,

technical glyphosate alone.

       152.    This OPP letter to registrants asserts that EPA’s glyphosate carcinogenicity report

and risk assessment reaches a conclusion -- Roundup and GBHs are safe at the relatively high

levels of exposure experienced by farm workers and applicators -- that it clearly does not.

       153.    This letter, and events triggered by it, are likely to sharpen focus on why the EPA

and IARC reached diametrically opposed judgements on the carcinogenic potential of Roundup

and GBHs, the mixture of chemicals that people are actually exposed to.

       154.    In an August 12, 2019 response to the EPA letter, the California Office of

Environmental Health Hazard Assessment (“OEHHA”) announced that:




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“OEHHA’s listing of glyphosate as a carcinogen was unanimously upheld by the California’s
Fifth District Court of Appeal following legal challenges by Monsanto Company and others who
opposed the listing (see Monsanto v. Office of Environmental Health Hazard Assessment (2018)
22 Cal.App.5th 534).

“OEHHA objects to US EPA’s characterization of any warning concerning glyphosate’s
carcinogenicity as ‘a false claim’. US EPA’s assertion is based on its view that glyphosate is not
likely to cause cancer in humans. That position conflicts with the determination made by IARC
and its scientific panel, which included experts from the US National Cancer Institute, US EPA
and the U.S. National Institute of Environmental Health, who carefully evaluated the extensive
scientific evidence on glyphosate’s carcinogenicity. It is disrespectful of the scientific process for
US EPA to categorically dismiss any warnings based on IARC’s determinations as false.

“Through Proposition 65, California has reduced or eliminated exposures to toxic
chemicals…[Proposition 65] warnings coupled with advice on how to reduce exposures,
including information posted on OEHHA’s warnings website (www.p65warnings.ca.gov),
contribute to lower risks of chemical exposures and greater public health protections for
Californians.”

       155.    OEHHA’s response sets the stage for conflict between the State of California and

the EPA over whether the EPA or IARC judgement regarding glyphosate and GBH

carcinogenicity better reflects current scientific knowledge.

       156.    In my opinion, the explanations of why the EPA and IARC reached such different

conclusions are actually clear and straight-forward, and are articulated in my paper “How did the

US EPA and IARC reach diametrically opposed determinations on the oncogenicity of

glyphosate-based herbicides” (Benbrook, ESE, 2019).

       157.    Chapter VII, section B. in this report provides a detailed explanation of the

reasons why IARC classified glyphosate and GBHs as “probable human carcinogens” and EPA

classified glyphosate as “unlikely to pose oncogenic risk.”




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   IV. Big Changes in Spray Methods, Applicator Exposures, and
       the Volume of Roundup Applied
       158.    When first registered, Roundup was approved for weed control on fallow land and

in and around homes, businesses, roadways, pipelines, and other open spaces, and soon

thereafter, applications to fields growing cotton, soybeans, corn, wheat, and other small grains.

       159.    From the late 1970s through mid-1980s, a long list of crops was added to

Roundup labels, along with new ways and instructions regarding how and when to apply

Roundup. The predominant method used by farmers and ranchers to apply Roundup from 1974

to the mid-1990s was a boom sprayer.

       160.    Very different methods and equipment are used to apply Roundup in and around

homes, gardens, roadways and rights-of-way, industrial facilities, and other non-agricultural

uses. These applications are typically done using a handheld wand from which the spray solution

is directed at target weeds. Such wands could be attached via a short hose to a handheld or

backpack sprayer, or an ATV or truck-mounted sprayer.

       161.    Application methods that entail directing the spray solution from a handheld wand

result in much higher exposures per unit area treated and per pound of glyphosate applied, as

evident in Monsanto-commissioned studies of applicator exposures (see especially

MONGLY06509236-06509257), as well as the EPA’s detailed assessment of expected

exposures to pesticides as a function of application method, set forth in the agency’s

“Occupational Pesticide Handler Unit Exposure Surrogate Reference Table” (November 2016;

https://www.epa.gov/sites/production/files/2016-11/documents/handler-exposure-table-

2016.pdf).




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       A. Impacts of Handheld Spray Equipment on Applicator Exposure
          Levels

       162.    Sometime in 2001 or early in 2002, Monsanto commissioned a UK consulting

firm to conduct a detailed study measuring applicator exposures to glyphosate under major UK-

Roundup application conditions.

       163.    The results of this sophisticated field-research project are discussed in a

November 7, 2002, email from                               , a Monsanto-Europe employee, to

                 and two other Monsanto officials responsible for Roundup-related risk

assessments and regulatory affairs in Europe. The email subject line states “Glyphosate field

studies summary doc; glyphosate worker exposure (field study) UK case.”

(MONGLY06509235; Pilliod v. Monsanto Exhibit 0026)

       1. UK Field Study Raises Alarm over Applicator Exposure Rates
       164.    The study focused on a number of different MON 2139 (Roundup) applications.

In a section setting forth UK application recommendations, the document states that applicators

should “wear suitable protective gloves and face protection (face shield) when handling or

applying the concentrate” and other Personal Protective Equipment (PPE) when spraying

Roundup through ultra-low volume application equipment or mistblowers.

       165.    Several application methods and scenarios were studied. These methods included

tractor mounted sprayers with and without a cab, and a variety of handheld wand application

methods and scenarios.

       166.    Exposures were estimated in all scenarios: (a) during mixing and loading

operations, (b) as a result of applications, and (c) via inhalation of spray solution.

       167.    Moreover, exposure estimates were reported by application volumes and duration

of spraying and exposures (typically a work day, or 6 hours of spraying).



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       168.    Exposures were estimated on the applicator’s hands with and without gloves, and

on their trunk and legs, with and without impermeable clothing. In the case of a tractor mounted,

low-volume spray application, the report estimated dermal exposure at 1,122 mg/day without

gloves, and 174 mg/day with gloves -- a reduction greater than six-fold just from wearing gloves.

       169.    At the bottom of the results for this application scenario, in section “E. Predicted

Exposure,” the report states that the “no gloves” scenario results in applicator exposures of 0.7

mg/kg/day (i.e. 0.7 milligrams of glyphosate per kilogram of the applicator’s bodyweight), a

level that is 347% of the daily exposure level regarded as acceptable (0.2 mg/kg/day). But when

gloves are worn during mixing and loading and application, estimated exposures drop to 0.12

mg/kg/day, or a level that is 60% of the allowable exposure level. The report highlights this

finding “60% AOEL ← OK!”. (MONGLY06509238; Pilliod v. Monsanto Exhibit 0026)

       170.    Scenario 4.2 models a handheld application at a low level of application and low-

spray volume, assuming “Gloves at all time + waterproof jacket and trousers + rubber boots” (a

high level of PPE). Under predicted exposure with gloves and the other PPE listed above,

exposure is still estimated to be 0.585 mg/kg/day, or 293% of the allowable level.

       171.    If the same application scenario were modeled under the provisions in the

comparable U.S. Roundup label in which there are NO PPE requirements ( long pants and a

long-sleeve shirt, although listed as “PPE,” they are clothing, not PPE), estimated exposures

would be far higher, given the PPE “Reduction factor” built into the UK model used to estimate

exposures.

       172.    These reduction factors include:




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           •   Gloves reduce mixing and loading exposures on the hands to 5% of what they

               would be without gloves (i.e. a 20-fold reduction), and to 10% of what they would

               be during application (i.e. 10-fold);

           •   Impermeable cloths on trunk and legs reduce mixing and loading exposures to 5%

               of what they would be without such PPE, and 5% during application (20-fold in

               both cases).

       2. Big Impact of Wind and Spray Pattern on Exposures
       173.    The UK field study also analyzed the impact of spraying with a handheld or

backpack sprayer in a pattern parallel to the direction of the wind, versus perpendicular to the

wind. When an applicator follows an up-and-back spray pattern that is first generally in the

direction the wind is blowing and then opposite the wind, the wind blows spray solution onto the

back of the applicator when walking with the wind, and onto the applicator’s front when walking

against the wind.

       174.    Conversely, when spraying in a pattern that is predominantly perpendicular to the

prevailing wind direction, the wind tends to move the spray solution away from the applicator, as

opposed to onto his or her front or back.

       175.    Tables 3 and 4 in the UK report cover backpack spray applications and reports

exposure to glyphosate per hour of spraying under a variety of scenarios, including with the wind

and perpendicular to the wind (speed 1.95 km/hour). Table 3 reports that spraying perpendicular

to the wind reduces estimated exposures per hour by about 35-fold on windy days, and by about

10-fold in the case of an RDA sprayer (a sprayer nozzle that controls droplet size in ways that

increase droplet size and reduce drift of spray solution).

       176.    The document’s section 6 “General conclusions and proposed actions” states in

part: “All studies…except one… showed that contamination of legs represents the major part of


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exposure.” In response, the authors write “Mitigation measures should be proposed to reduce this

contamination (???)” And “Field studies…show[n] that the highest contamination of legs

occurred when spraying parallel to the wind. A mitigation measure could be to recommend

spraying perpendicular to the wind.” (Emphasis added) (MONGLY06509257)

       177.    In addition, the document reports significant uncertainty in the default values for

the penetration of glyphosate through clothing in conjunction with PPE, compared to no PPE.

Specifically, they authors state that the assumed reduction of glyphosate exposures from

impermeable clothing are likely overestimated. This means that UK-regulators, and/or other

regulators relying on such models to estimate worker exposures, are underestimating actual

exposures stemming from mixing and loading and applying Roundup under a variety of

scenarios.

       3. EPA Estimates of the Impact of Application Equipment and PPE on Applicator
          Exposures are Generally Consistent with the UK Findings
       178.    The EPA has carried out and refined over several years extremely detailed

estimates of the impacts of different application equipment, with and without various

combinations of PPE, on typical, expected applicator exposures. The results of EPA’s

simulations are reported in “Occupational Pesticide Handler Unit Exposure Surrogate Reference

Table” (November 2016; https://www.epa.gov/sites/production/files/2016-

11/documents/handler-exposure-table-2016.pdf).

       179.    The values are used by registrants and the EPA exposure branch to estimate the

need for and efficacy of worker-safety provisions on pesticide labels to reduce mixer-loader,

applicator, and worker exposure levels. The surrogate values are used to estimate the percent

reduction in exposures expected as a result of various new label requirements for PPE, or

changes in when and how a pesticide is applied.



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       180.    In the case of mixer-loader operations with liquids, dermal absorption is estimated

as 37.6 ug/lb a.i. with gloves, and 220 ug/lb a.i. without gloves, or a 5.9-fold reduction.

       181.    When a pesticide is applied by a backpack or handheld sprayer, dermal absorption

is estimated as 29,000 ug/lb a.i. without gloves, and 8,600 ug/lb a.i. with single-layer gloves, a

3.4-fold reduction (the UK analysis was based on an estimated 10-fold reduction, thought by the

authors to be high).

       182.    Mixer-loader and applicator exposures with a mechanized, pressurized sprayer are

estimated by EPA to be 6,050 ug/lb a.i. without gloves, 2,050 with single-layer gloves, and 1,360

with double-layer gloves.

       183.    Based on the UK-field study results, coupled with EPA’s surrogate table reporting

the impacts of gloves versus no gloves, I conclude that requiring gloves on home, lawn and

garden, and industrial Roundup labels can be expected to reduce hand exposures at least three-

fold, and five-fold with some gloves. Wearing gloves and spraying perpendicular to the wind (on

windy days) would reduce applicator exposures by well over 10-fold. Wearing gloves and

impermeable clothing on legs would reduce overall exposures markedly, by at least 10-fold, and

perhaps by 50-fold or more.

       184.    Labels on the vast majority of Roundup products sold in the U.S. since 1974 have

not included a requirement to wear gloves nor impermeable clothing during application to

protect legs, nor a requirement or guidance to spray in a pattern perpendicular to the wind on

windy days.




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       B. New Reasons and Ways to Apply Roundup on Overall Use

       185.    In 1996, Monsanto gained approval of genetically engineered soybean and cotton

seed varieties resistant to Roundup -- so-called “Roundup Ready” crops. Similar approvals came

for corn, sugarbeets, and alfalfa in subsequent years.

       186.    Roundup is a broad-spectrum herbicide that kills almost any plant, tree, or shrub

that is actively growing. For this reason, its farm uses were restricted to before a crop had

germinated, or after the harvest of a crop. But Roundup Ready crops could be sprayed later in the

season, after crop germination, controlling weeds while leaving the crop unharmed.

       187.    As a result, Roundup Ready technology triggered rapid growth in the acres treated

with Roundup, and the volume applied year to year in the U.S. and globally.

       1. Monsanto Brings Pre-harvest, Crop Desiccation Uses of Roundup to America
       188.    Beginning in the early 1980s in the northern U.K., Monsanto-Europe conducted

research on, and won approval of labels allowing Roundup to be applied as a pre-harvest

desiccant to speed up harvests of mostly small grain crops.

       189.    Farmers trying to complete their harvests of wheat, oats, and barley in the U.K.,

before the onset of inclement weather in the fall, would spray their grain fields with Roundup,

killing the plants to accelerate the drying of the gran kernels, so harvest operations could begin

earlier than otherwise possible.

       190.    Such pre-harvest, “green burn down” uses of Roundup became commonplace

across northern Europe between the mid-1980s and mid-1990s, and moved to the U.S. in the late

1990s. (I conducted extensive research on the history of crop-desiccation uses of Roundup while

serving as an expert witness in a case involving adverse impacts of such uses in Idaho).

       191.    Roundup label amendments, and new GBH labels sanctioning pre-harvest

desiccation uses were the second important set of changes in the 1990s governing when Roundup


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could be applied. Prior to EPA approval of new labels sanctioning pre-harvest uses, Monsanto

had to petition the EPA to set markedly higher glyphosate tolerances on the crops included on

labels allowing pre-harvest, desiccation applications.

       2. Changes in Roundup Uses Required EPA Approval of Much Higher Tolerances
       192.    In order to obtain EPA approval of Roundup Ready crops, and Roundup labels

authorizing late-season, desiccation uses, Monsanto had to petition for, and EPA had to approve,

much-higher tolerances in certain crops. This is why wheat, other small grain, soybean, and corn

tolerances were increased 10- to 2,000-fold between 1980 and 2011.

       193.    On February 21, 1986, Monsanto submitted an application to OPP seeking

registration of preharvest use of glyphosate on soybeans (MONGLY03692349). The application

noted a list of also-proposed changes in soybean tolerances required to cover residues in soybean

grain and hay. In addition, Monsanto acknowledged that a Section 409 food-additive tolerance in

soybean hulls would be required, and proposed that it be set at 100 ppm.

       194.    But as long as EPA considered glyphosate a possible oncogen, approval of the

Section 409 tolerance in soybean hulls would likely not occur. For example, in an April 18, 1985

memo to the Registration Division and Toxicology Branch from the Residue Chemistry Branch,

R.W. Cook reviews a pending tolerance petition that requests increases in glyphosate plus

AMPA tolerances in wheat grain and wheat straw. The memo states: “4b. TOX has concluded

(W. Dykstra, 3/19/85) that food additive tolerances for glyphosate are not appropriate due to the

Delaney rule.” (page 4) (MONGLY00221717).



       C. Trends in the Volume of Glyphosate Use in the U.S.

       195.    Two methods and data sources are useful in tracking trends in glyphosate use.

First, the detailed tables from my 2016 peer-reviewed paper “Trends in glyphosate herbicide use


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in the United States and Globally” published in Environmental Sciences Europe (Vol 28:3; DOI

10.1186/s12302-016-0070-0). Second, the EPA’s periodic ranking of the most heavily applied

pesticides in the U.S. agricultural sector.

       1. Published Trends in Glyphosate Use in the U.S.
       196.    Table 1 from my 2016 “Trends” paper reports trends in agricultural and non-

agricultural use of glyphosate-based herbicides from 1974 through 2014 (see Below). Of the

estimated 1.4 million pounds of active ingredient applied in 1974, 800,000 were applied on

farms and ranches, and 600,000 for weed control outside agriculture, for a 57% to 43% split in

total pounds applied.




       197.    From 1974 to 2001, Monsanto’s Roundup-brand herbicides were the only GBHs

sold in the U.S. By1982, the total volume of Roundup applied had risen to 7.8 million pounds,

5.6-fold higher in 1982 than 1974. The share accounted for by agricultural uses rose to 64% in

1982 and non-farm use fell to 36%.

       198.    Growth in the sales and volume applied continued at a slower, but still significant

pace through 1990, a year when total volume applied reached 12.7 million pounds, or 1.6-fold

higher than the volume applied eight years earlier in 1982. In this time period, non-agricultural

sales and volume applied grew faster than agricultural sales and volume, shifting the relative

agricultural to non-agricultural shares to 58% and 42%.




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        199.   From 1990 to 1995, agricultural sales and volume applied more than tripled and

non-agricultural volume applied more than doubled. Total pounds applied of glyphosate rose to

40 million pounds, jumping 3.1-fold in just five years.

        200.   Beginning in the 1996-2000 period, the volume of Roundup applied in

agricultural began its decade-long run of spectacular, unprecedented growth, as farmers rapidly

adopted the Roundup Ready seed and herbicide system.

        201.   In 2000, farmers and ranchers applied 78.8 million pounds of Roundup, an

absolute increase of 51.3 million pounds, and a 2.9-fold increase from 1995. The rate of growth

in non-ag sales and volume applied was much lower, rising only by about 50% over five years.

The agricultural to non-agricultural split moved to 80% to 20%.

        202.   It is worth noting that just the increase in the volume of Roundup applied by

farmers and ranchers in the five year period 1996 to 2000 -- up 51 million pounds -- exceeded

total growth, by a wide margin, in Roundup use in the 25+ years Roundup had been on the

market.

        203.   While growth in the early years of adoption of Roundup Ready seeds was

unprecedented by any measure, it pales in comparison to the magnitude of growth in absolute

agricultural sales and GBH volume applied from 2001-2005 and 2006-2010.

        204.   The last patents which prevented other pesticide companies from entering the

market for GBHs lapsed in 2000, so since around 2001 it is necessary to focus on total use of

GBHs.

        205.   From 2001-2005, agricultural and ranch uses of GBHs doubled from 78.75

million pounds to 157.5 million pounds -- for a five-year increase of nearly 79 million pounds.




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Accordingly, the absolute growth in the volume of GBHs applied almost doubled in 2001-2005

time period, compared to previous five-year period.

       206.    The rate of growth in non-agricultural sales and volume applied stalled in the

2001-2005 period, growing only 12% from 2001 to 2005. As a result, there was another sizable

shift of the agricultural/non-agricultural shares to 88% and 12%.

       207.    Rapid growth in GBH sales and volume applied persisted for five more years,

through 2010. Agricultural sales and volume rose to 235.8 million pounds in 2010, an absolute

increase of 78.3 million pounds, or by 50%. The agricultural to non-agricultural shares were

90.4% to 9.6%, a split that has not changed much to this day.

       208.    Monsanto had successfully petitioned EPA to approve tolerances and labels

covering most agricultural crops and uses, and most non-agricultural uses by 1982, a year when

the total volume of glyphosate applied was 7.8 million. By 2014, as Table 1 shows, the total

volume of glyphosate applied had risen to 276 million pounds, a 35-fold increase in 22 years.

No pesticide in history comes close to matching the sustained, upward trajectory in glyphosate,

Roundup, and GBH sales and volume applied in the U.S. and globally.

       2. EPA Rankings of the Most Heavily Applied Pesticides
       209.    A series of reports issued by the EPA on the volume and sales of pesticides used

in the U.S. provides a second data series and perspective on growth in glyphosate sales and

volume applied. These EPA reports list by year and rank order (1-25) the most heavily applied

pesticide active ingredients on U.S. farms and ranches (i.e. agricultural sector use), along with

the EPA’s best estimate of total ag volumes applied by year.

       210.    These EPA reports draw heavily on the USDA’s periodic surveys of agricultural

pesticide use, as I did in my 2016 “Trends” paper. Hence, the EPA estimates of typical volumes

of glyphosate applied by year are close to the estimates in my “Trends” paper.


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       211.    The rankings were calculated by EPA every two years from 1993 through 2009,

as well as in 1987 and 2012. The table below records the rapid rise in glyphosate-volumes

applied in the agricultural sector relative to the other, widely used pesticides, and are from the

EPA pesticide use reports.




       212.    In 1987, the first year EPA issued its 1-25 most-used pesticide rankings,

glyphosate ranked 17th, with an estimated 6-8 million pounds applied. The #1 pesticide was the

corn herbicide atrazine, with 71-76 million ponds applied. Accordingly, there were about 10

pounds of atrazine applied in 1987 for every pound of glyphosate.




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       213.    Six years later in 1993, glyphosate had risen six places in the ranking, to #11, with

an estimated 15-20 million pounds applied. Atrazine remained #1, with 70-75 million pounds

applied.

       214.    Glyphosate volume applied entered its rapid growth phase in the late 1990s, rising

steadily to #1 by 2001, a year during which EPA estimated glyphosate’s total ag volume applied

at 85-90 million pounds. Atrazine fell to #2 at 74-80 million pounds.

       215.    In the next 11 years, from 2001 through 2012, glyphosate volume applied almost

tripled, while atrazine’s volume applied declined modestly to 64-74 million pounds.

       216.    The four-year growth in glyphosate volume applied from 2001 to 2005 was,

according to EPA’s accounting, about 70 million pounds. Hence, just the growth in glyphosate

volume applied in four years roughly equaled total atrazine use in 2005.

       217.    In 2018, the total volume applied of glyphosate exceeded 300 million pounds. As

noted above, there were about 10 pounds of atrazine applied in 1987 for every pound of

glyphosate. In 2018, farmers and ranchers applied nearly five pounds of glyphosate for every

pound of atrazine.

       218.    No other pesticide in U.S. history comes even remotely close to matching the rate

and magnitude of growth in glyphosate use from the mid-1970s through today.

       D. Monsanto Share of the Market for Glyphosate-Based Herbicides

       219.    Monsanto was the sole U.S. and global manufacturer and source of Roundup and

glyphosate-based herbicides (GBHs) from 1974 through 2000, the year the last glyphosate patent

expired (https://www.icis.com/explore/resources/news/2000/12/11/128125/us-patent-expiry-of-

roundup-creates-uncertainty-in-glyphosates/).




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       220.    Accordingly, Roundup-brand sales accounted for 100% of the GBH applied over

the 18 year period 1974-2000.

       221.    Monsanto was the sole company responsible for: (a) all testing of glyphosate and

GBHs, (b) petitioning and obtaining nearly all glyphosate tolerances (a USDA program [IR-4]

petitioned for glyphosate tolerances for some minor-acreage crops), and (c) the contents of all

labels sanctioning agricultural and non-agricultural uses of Roundup.

       1. What Allowed Other Manufacturers to Label and Sell GBHs?
       222.    Given the rapid growth in Roundup sales from 1995-2000, several other pesticide

manufacturers were eager to enter the market when the last glyphosate patent expired. They had

two avenues to do so.

       223.    Competitors in the industry were free in 2001 to develop their own GBH

manufacturing base and obtain their own EPA registrations. This path to the market would

require a company to:

           •   Conduct the necessary field research needed to fine-tune formulations and
               determine adequate rates of application and use directions;
           •   Carry out all required EPA studies needed to obtain approval of a label;
           •   Submit the required registration applications and supporting studies to the EPA,
               and work with the agency through the 2-3 year process usually required to gain
               final EPA approval of new product labels; and
           •   Commence sales and building distribution and technical support capacity.

       224.    The above steps require several years to complete, and are costly , which is why

pesticide manufacturers rarely choose this option as their preferred method to enter a market

quickly when a widely used pesticide comes off patent.

       225.    Companies striving to enter the GBH market pursued a second, common option --

entering a licensing agreement with Monsanto. The terms of such agreements are similar across

the industry, and the general structure of such agreements set forth in provisions in FIFRA.




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       226.    Via such licensing agreements, Monsanto agrees to sell technical grade

glyphosate at a set price per gallon or pound, along with permission to cite all of Monsanto’s

data submitted to EPA and use all, or most of Monsanto’s already-approved label language.

       227.    Each company entering into such an agreement with Monsanto would then, in

general, be responsible for developing its own formulation, and conducting the limited, Six-Pack

set of short-term toxicology studies EPA requires prior to approval of any new formulation.

       228.    According to the ICS report cited above, Monsanto entered into such long-term

supply agreements with several major pesticide manufacturers including Cheminova, Dow

Chemical, Microflo/BASF, Nufarm, and Syngenta. Several others followed in subsequent years.

       229.    In the 2000s, about seven companies went through the process of producing their

own toxicological data packages, and applying to EPA for their own labels. Once completed, this

process allowed them to no longer rely on Monsanto for technical grade glyphosate, nor on

Monsanto’s studies, testing data, and label language.

       230.    The availability of abundant supplies of technical glyphosate from China at prices

markedly lower than what Monsanto was charging its licensees in the early 2000s no doubt

played a role in the decision by several pesticide companies to “go it alone” by obtaining their

own glyphosate registrations.

       231.    The entry into the GBH market of around six additional companies is why 14

valid two-year rat and mouse oncogenicity studies on glyphosate have been submitted to the

EPA: two by Monsanto, and two more by each of six additional companies. Precise accounting

of the number of companies is complicated, because of rapid industry consolidation beginning

around 2001.




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   V.      EPA’s Evaluation of Glyphosate/Roundup
           Oncogenicity/Carcinogenicity
        232.   Various terms are used to refer to the potential of a chemical to cause cancer. The

term “carcinogenic risk” used in the Monograph series issued by IARC means that “an agent is

capable of causing cancer.”

        233.   An “oncogen” is a chemical thought to possibly increase the risk of triggering

growth of benign and/or malignant tumors. A “carcinogen” is a substance thought to trigger the

growth of malignant tumors. Oncogenicity is the capacity to cause or amplify growth of benign

or malignant tumors, while carcinogenicity is the capacity to trigger or amplify growth of

malignant tumors.

        234.   The EPA was formed in 1970. According to a 1994 EPA document, cancer risk

had been, at that point in the agency’s history, the most commonly cited reason for EPA to

suspend or cancel the use of pesticide registrations (Status of Pesticides in Reregistration and

Special Review, 738-R-94-008).

        235.   As of the mid-1980s, the NAS/NRC report Regulating Pesticides in Food – The

Delaney Paradox identified about 2,500 tolerances covering residues of 53 food-use pesticides

thought by EPA to pose some level of cancer risk (NAS/NRC, 1987).

        236.   As of June 1986, there were 8,477 pesticide-food tolerances in the Code of

Federal regulations, so about 30% of all tolerances covered uses of possibly oncogenic pesticides

(data on number of tolerances from Table 2-1, p. 35, NAS/NRC, 1987).




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       237.    Congressional hearings conducted by the DORFA Subcommittee in 1981-1983

(the period I served as DORFA Staff Director) included testimony from OPP officials, the

pesticide industry, other government agencies, and consumer health advocates on OPP methods

and policies governing the regulation of pesticides thought to pose some risk of cancer.

       A. Impacts When EPA Classifies a Pesticide as a Possible or Probable
          Oncogen

       238.    In the 1980s-1990s, EPA classification of a pesticide active ingredient as a

possible oncogen had three substantial consequences under FIFRA: (1) approved pesticide

products containing the active ingredient would have to be labeled for “restricted use” only (i.e.

use only by and sale only to licensed applicators who had training and testing to demonstrate

proficiency in understanding and following label provisions intended to reduce human exposures

and/or environmental risks); (2) the EPA could institute cancellation proceedings and would be

precluded from granting a conditional registration, thereby at a minimum, slowing approval of

federal labels; and (3) approval of any Section 409 tolerances required would be blocked by the

Delaney Clause, thereby also blocking approval of new labels sanctioning either Roundup Ready

seed or pre-harvest desiccation uses of Roundup.

       1. Possible Oncogens may be Labeled for “Restricted Use” Only
       239.    FIFRA sets forth a number of criteria EPA must take into account in deciding

whether a pesticide label should include the requirement that only “certified applicators” can use

and purchase the product. Pesticides known by EPA to pose possibly significant risks are

classified as “Restricted Use” to help assure adherence to label provisions designed to reduce

risks and exposure.

       240.    “Certified applicators” go through required training, and periodic testing and re-

certification. They can lose their license to apply restricted use pesticide products if they are



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subject to an enforcement action for misapplying a restricted use product -- an obviously serious

consequence for certified applicators working for custom applicators or pesticide distributors as a

spray-equipment operator.

       241.    The rules governing possibly oncogenic pesticides and restricted use classification

evolved through three Federal Register notices published first as proposed rules on September

26, 1984 and October 3, 1985 , and as a Final Rule on May 3, 1988..

       242.    Section 152.170 of the Code of Federal Regulations sets forth the final rules

governing classification criteria for restricted use pesticides. These include the following

criterion set forth in 152.170 (b)(vi):

       “When used in accordance with label directions, or widespread and commonly
       recognized practice, the pesticide may cause significant subchronic, chronic or delayed
       toxic effects on man as a result of single or multiple exposures to the product ingredients
       or residues.”

       243.    Classification as a possible oncogen would typically trigger the need for

“restricted use” classification, by virtue of the chronic risk component in the above quoted

passage.

       2. Triggering a Special Review and Possible Cancellation Action
       244.    FIFRA sets forth the terms, conditions, and process for a pesticide to gain new

registrations, as well as the criteria, reasons and process for EPA to restrict or cancel a use or

uses of an already-registered pesticides.

       245.    In the 1980s when Monsanto and EPA were intensely focused on, and debating

the proper cancer-risk classification of glyphosate, Section 162.11 of the Code of Federal

Regulations set forth the “Criteria for Determination of Unreasonable Adverse Effects.”

       246.    Any pesticide active ingredient that triggered one or more such risk criteria would

be subject to a “rebuttal presumption against registration.”



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       247.    The process potentially leading to suspension or cancellation is complicated and

set out in detail in FIFRA. In short, once a risk criterion is exceeded, the EPA would conduct a

more detailed exposure and risk assessment to confirm that a risk criterion or criteria have been

exceeded, but would also give the registrant an opportunity to convince the EPA that the

pesticide’s risks are estimated inaccurately (and too high) and/or the benefits from use of the

pesticide exceed (justify) the risks.

       248.    When successful in making such a case to the EPA, the company would “rebut”

the basis for an EPA-driven suspension or cancellation action. Then, in most cases, the EPA and

the registrant would proceed to work through and agree on label changes to curtail excessive

exposures from future uses of the pesticide.

       249.    The risk criterion in Section 162.11(a)(3) states:

       “(ii) Chronic Toxicity. Induces oncogenic effects in experimental mammalian species or
       in man as a result of oral, inhalation, or dermal exposure; or induces mutagenic effects as
       determined by multitest evidence.”


       250.    Accordingly, the determination of the OPP Toxicology Branch that glyphosate

was a “possible oncogen,” if sustained, would have compelled EPA to initiate a suspension or

cancellation process, threatening future attainment of new Roundup labels, the loss of some

existing labels, and/or more restrictive use provisions and more effective combinations of PPE

on uses remaining on labels.

       B. Impact of the Delaney Clause on Pesticide Tolerance Setting

       251.    Special focus throughout the 1980s, and through passage of the Food Quality

Protection Act in 1996, was directed to the conundrum faced by OPP/EPA in working through

sometimes conflicting statutory standards applicable to the tolerance-setting process in the case

of certain, possibly oncogenic pesticides. The “Delaney Paradox” arises from the then,


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sometimes-conflicting mandates in the two statutes governing the tolerance-setting process in the

case of possible oncogens.

        252.    FIFRA, the dominant statute governing pesticide regulation, directs the

OPP/EPA to apply a risk/benefit balancing standard in deciding whether to approve a pesticide

registration, reregister an already-approved pesticide use, or cancel or suspend an existing

registration.

        253.    According to the OPP –

        “Before EPA may register a pesticide under FIFRA, the applicant must show, among
        other things, that using the pesticide according to specifications ‘will not generally cause
        unreasonable adverse effects on the environment.’ FIFRA defines the term ‘unreasonable
        adverse effects on the environment’ to mean: ‘(1) any unreasonable risk to man or the
        environment, taking into account the economic, social, and environmental costs and
        benefits of the use of any pesticide, or (2) a human dietary risk from residues that result
        from a use of a pesticide in or on any food inconsistent with the standard under section
        408 of the Federal Food, Drug, and Cosmetic Act.’'' [Emphasis added]

                Quote from: Summary of the Federal Insecticide, Fungicide, and Rodenticide Act,
                https://www.epa.gov/laws-regulations/summary-federal-insecticide-fungicide-
                and-rodenticide-act)

        254.    The highlighted passage above is, in my opinion, the primary reason why the

EPA’s evaluation of glyphosate oncogenicity was so consequential.

        1. Sections 408 and 409 of the Food, Drug, and Cosmetic Act
        255.    A second federal statute establishes the authority for OPP/EPA to set tolerances --

the FDCA. . Section 408 was added to the FDCA in 1954 to provide a mechanism for the Food

and Drug Administration (“FDA”) to control pesticide-residue levels in food.

        256.    Section 408 authorizes the establishment of tolerances in raw agricultural

products at the point they would typically leave the farm gate. Section 408 requires such

tolerances be set at levels deemed necessary to: (a) cover the residues that can be expected to




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occur when a pesticide is used at its maximum label rate under conditions conducive to residues

remaining on the harvested crop; and (b) protect public health.

       257.    Residues in excess of the applicable tolerance renders food adulterated and,

hence, unlawful for sale.

       258.    Responsibility for establishing tolerances under Section 408 was granted to the

EPA upon formation of the agency in 1970.

       259.    Section 409 of the FDCA provides the FDA general authority to regulate food

additives – “any substance the intended use of which results or may reasonably be expected to

result…in its becoming a component of the food.” 21 USC § 321(s) [1984].

       260.    Section 409 goes on to exempt from its provisions pesticide residues in food up to

the level authorized by a Section 408 tolerance applicable to a given food-pesticide combination,

recognizing that such levels are subject to control via the Section 408-governed tolerance-setting

process.

       261.    However, in some cases, pesticide residues in raw agricultural commodities

concentrate in processed agricultural products, or in the food ingredients derived from raw

agricultural commodities. Common examples include residues in raisins, in contrast to the grapes

the raisins come from (and indeed any dried food); milling wheat to produce wheat germ, bran,

and flour; making tomato paste or ketchup from raw tomatoes; or, extracting oils from crops like

canola, soybeans, or olives.

       262.    As in the case with Section 408 and upon formation of the EPA, Congress granted

EPA the responsibility of setting tolerances under the authority embedded in Section 409 of the

FDCA. Thereafter, EPA had to determine how to comply with the provisions set forth in the

FDCA’s Section 409 when setting so-called “food additive” tolerances.




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       263.    In 1958, Congress amended Section 409 of the FDCA to include the so-called

Delaney Clause (named after its author, New York congressman James Delaney). The clause

states that ”the Secretary of the Food and Drug Administration shall not approve for use in food

any chemical additive found to induce cancer in man, or, after tests, found to induce cancer in

animals.”

       264.    The purpose and intent of the Delaney Clause was to prevent FDA approval of

food additives known, or thought to pose cancer risk. The impact on pesticide regulation was not

considered as Congress crafted, debated, and passed the Delaney Clause.

       265.    But in the early 1980s, the EPA determined that pesticide residues in processed

foods that concentrate above the level in the corresponding raw agricultural commodity must be

regulated as “food additives,” and hence are subject to the Delaney Clause.

       266.    Based on the EPA’s interpretation of the requirements in Section 409, the agency

deemed that the key factor in determining whether a Section 409 tolerance must be established is

whether a pesticide residue concentrates in a processed food above the level typically found in

the raw agricultural commodity, and not whether the levels in processed foods exceed the

corresponding Section 408 tolerance levels (sometimes they do not).

       267.    In the 1980s and 1990s, EPA denied the registration of several new pesticides

and/or new uses of already-registered pesticides, because OPP had classified the active

ingredient as a possible or probable oncogen. The Delaney Clause in Section 409 of the FDCFA

was the reason cited.

       268.    Glyphosate was among the pesticide active ingredients that was directly impacted

by the Delaney Clause from the early 1980s into the 1990s.




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         269.   The Toxicology Branch within the OPP decided that glyphosate should be

classified as a possible human oncogen in 1984. This decision posed a significant economic

threat to Monsanto, as stated by Frank Serdy, Monsanto’s Manager of Federal and State

Regulatory Affairs in a March 13, 1985 letter to the OPP Registration Division Director, Doug

Campt.

         270.   Once glyphosate was classified as a potential oncogen, most future extensions in

the range of food crop uses of Roundup would likely require the establishment by EPA of food-

additive tolerances to cover glyphosate residues that would be present at concentrated levels in

certain fractions of grains, oilseed, and other crops. Such tolerances could only be established

pursuant to Section 409 of the FDCA.

         271.   Indeed, there were several glyphosate Section 409 tolerance petitions in the EPA

pipeline throughout the 1980s, and several more would be needed to accommodate final approval

of the glyphosate tolerances and Roundup labels necessary for Monsanto to commercialize its

Roundup Ready seed and herbicide “technology packages.”

         272.   But the Delaney Clause would stand clearly in the way of all glyphosate Section

409 tolerances, if EPA were to find that glyphosate is a possible, probable, or proven oncogen.

(The 1986 NAS report Regulating Pesticides in Food: The Delaney Paradox contains a detailed

explanation of how and why the Delaney Clause was then impacting the tolerance-setting

process).

         273.   It is important to stress at this point that the primary years of conflict between

Monsanto and EPA over the oncogenic classification of glyphosate, and by far the most

consequential EPA actions relative to glyphosate oncogenicity, occurred between 1984 and the

end of 1991. Throughout this period, Monsanto was the sole registrant of GBHs and the only




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company that had conducted long-term feeding and genotoxicity studies on glyphosate’s

potential to cause tumors/cancer.



       C. Two-Year Feeding Studies Submitted to EPA in Support of
          Glyphosate Tolerances

       274.    From the first glyphosate-related toxicology submissions by Monsanto to EPA in

1972, through the early 2000s, the EPA had received from Monsanto:

           •   An invalid 2-year mouse feeding study, and an invalid 2-year rat feeding study
               conducted by IBT for Monsanto in the 1970s;
           •   The Bio/dynamic mouse replacement study, submitted to EPA in 1983
               (Knezevich and Hogan);
           •   A 2-year rat feeding study submitted to EPA in 1981 (Lankas) that the Agency
               required Monsanto to repeat because the “…highest dose tested of approximately
               31 mg/kg/day was not considered a maximum tolerated dose to assess the
               carcinogenic effects of glyphosate” (page 74, “Glyphosate Issue Paper:
               Evaluation of Carcinogenic potential,” December 12, 2017 and June 1986
               Reregistration Guidance); and
           •   A repeat, 2-year rat feeding study submitted to EPA nine years later, in 1990
               (Stout and Ruecker).

       275.     From the first Roundup approvals in 1974 through the early 2000s, only two

valid 2-year chronic feeding oncogenicity studies had been submitted to EPA (Sout and Ruecker;

Knezevich and Hogan).From its initial approval in 1974 through 1990, therefore, Monsanto had

not completed and submitted to the EPA the full battery of required long-tern carcinogenicity

tests to support approval.

       276.    As new competitors entered the market for GBH herbicides after the last

glyphosate patent expired in 2000, some companies decided to sever dependence on Monsanto as

their supplier of technical grade glyphosate, the generator of all required EPA studies, and the

author of all GBH use directions and label provisions.




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        277.   Each company that decided to attain its own glyphosate-based herbicide

registrations, without citing and paying for use of Monsanto data, had to carry out all required

toxicology studies, including one mouse and one rat 2-year feeding study to evaluate oncogenic

potential.

        278.   Accordingly, companies other than Monsanto were responsible for all of the

growth in the number of 2-year feeding oncogenicity studies on glyphosate, from the two studies

commissioned by Monsanto in the 1980s as replacements for invalid studies, to the 14 studies

EPA had received as of 2009 from all registrants of GBHs.




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VI. Bio/dynamics Mouse Oncogenicity Study Triggers a Near
Decade-Long Conflict Between EPA and Monsanto
       279.     A new mouse oncogenicity study on glyphosate was among the IBT replacement

studies submitted by Monsanto to OPP (EPA Accession #: 251007-014; Bio/dynamics Project

No. 77-2061). It was conducted by the contract laboratory Bio/dynamics to fill a pending data

gap, and was submitted to EPA on July 29, 1983, five years after the EPA had informed

Monsanto that such test was required.

       A. Results of Bio/dynamics Mouse Oncogenicity Study
       280.     The study followed routine design protocols for a chronic feeding study. There

were four groups of Charles River CD-1 mice: control, 1,000 ppm glyphosate technical in the

animals’ diet, 5,000 ppm, and 30,000 ppm. There were 50 male mice and 50 female mice in each

group. Animals were observed twice daily, and mortality during the study was reported as

“normal for this age and strain of mice.” (MONGLY04275682)

       281.     In the section “Results” in its summary report to Monsanto, Bio/dynamics states:

“No treatment-related effects were demonstrated.” In other words, the study was “negative” for

oncogenicity.

       282.     But the Bio/dynamics summary report does address a number of statistically

significant increases in tumors observed in the study. Table 1 in the report lists four “microscopic

changes” that were elevated in the treatment groups in a statistically significant way: central

lobular hepatocyte hypertrophy (elevated in male mice), central lobular hepatocyte necrosis


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(elevated in males), chronic interstitial nephritis (elevated in males), and proximal tubule

epithelial basophilia and hypertrophy (elevated in females).

       283.    Bio/dynamics dismisses all four types of lesions noted in their Table 1 by saying

“All these findings, however, were of the type and severity common to long-term mouse

studies.”

       284.    The report also stated:

       “The incidence of renal tubule adenomas was 0/49, 0/49, 1/50, and 3/50, in control
       through high-dose males, respectively. This lesion, however, was not observed in any of
       the female treatment groups, and, as mentioned previously, this data was not statistically
       different from control. While not observed in control animals in this study, renal tubule
       adenomas have previously been observed in control male CD-1 mice of comparable age.
       The slightly increased incidence of adenomas in the high-dose males was considered
       spurious and unrelated to glyphosate administration.”
                                     (Emphasis added; MONGLY04275683)

       285.    In the male mice, the incidence of renal tubule adenomas reported by

Bio/dynamics was 0/49 in the control group, and 0/49, 1/50, 3/50 in the three treatment groups

(1,000 ppm, 5,000 ppm, 30,000 ppm). This increase in renal tubule adenomas follows a

statistically significant, upward trend.

       B. Review of the Bio/dynamics Mouse Study

       286.    The importance of OPP’s evaluation of the Bio/dynamics mouse oncogenicity

study on glyphosate was widely recognized inside EPA and Monsanto, and throughout the

pesticide regulatory community, especially if deemed “positive” by the agency.

       287.    Such a judgement would change the status quo classification of glyphosate from

“not classifiable as to oncogenicity” to “positive” and would have significantly altered the

outcome of a number of pending and forthcoming tolerance petitions and registration

applications in the U.S. and significantly impacted sales of Roundup as noted above.




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       288.    Two memoranda dated January 31, 1984 were sent from Monsanto toxicologist

Lyle Gingerich to four colleagues (MONGLY04269118; MONGLY04269119-20). The first

memorandum reports on a recent conservation Gingerich had with Robert Taylor, the senior

official in herbicides section of the OPP Registration Division.

       289.    Taylor was responsible for managing the flow through OPP of glyphosate-

Roundup herbicide tolerance petitions and registration applications, as well as managing

interactions between Monsanto and OPP on the fulfillment of data requirements, label changes,

data compensation, and other issues that arise regarding the regulatory status of Monsanto’s

glyphosate-based herbicides.

       290.    In the first January 31, 1984 memo, Gingerich reports on presumably separate,

face-to-face meetings on January 31, 1984 at OPP with Robert Taylor of the Registration

Division and W.L. Burnam, Deputy Director of the Hazard Evaluation Division.

       291.    The Gingerich memorandum reports that Taylor told him that W.G. Dykstra of

the OPP toxicology division had reviewed the new mouse oncogenicity study done by

Bio/dynamics. The memo states: “R.J. Taylor said that he saw something in writing to indicate

that when the review is sent to him it will state that Roundup is an oncogen.”

       292.    The memo goes on to report that according to OPP’s Taylor, various pending

tolerance petitions will be denied, as a result of this change in OPP’s characterization of

glyphosate’s oncogenic potential and the Delaney Clause-prohibition against approval of certain

Section 409 tolerances.

       293.    In the January 31, 1984 memorandum Gingerich reported that he intends to

speak later the same day, again, with Taylor and Burnam of the toxicology branch, in order to




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request “W.G. Dykstra’s review and [discuss] what would be an appropriate forum for Monsanto

inputs.”

        294.   Gingerich ends this memo to colleagues with this question: “Do you think it

would be appropriate for our legal department to caution EPA on possible premature leaks of this

review’s conclusions prior to Dr. Kasza’s [senior OPP pathologist] re-review and final

disposition of the matter?”

        295.   Later in the day (January 31, 1984), Dr. Gingerich either met with, or spoke on

the phone again with Burnam of the OPP toxicology branch, according to the second of two

memos he sent to Monsanto colleagues in which Gingerich passes along what Burnam had told

him:

         “A ‘complete’ review of the glyphosate mouse study has not been done. There has been
        no section or branch sign-off of W.G. Dykstra’s review. The question of kidney tumors
        was pointed out by W.G. Dykstra and is being evaluated by either C. Chaisson or Dr. L.
        Kasza. W.L. Burnam asked that we send in historical control data to document the claims
        made in our summary. He cautioned that these be from the same laboratory and time
        period. He said to be sure to report the numbers study by study, rather than as an overall
        average.”

        296.   This second January 31, 1984 memorandum goes on to say that “R.J. Taylor

continues to be concerned that Roundup actions will be held up for a few months until this is

resolved.” By “this,” Gingerich is referring to the classification of glyphosate as a possible

oncogen, an OPP action that would impact several pending OPP tolerance decisions and

registration actions.

        1. Swift and Aggressive Response by Monsanto Challenges Classification of
           Glyphosate as a “Possible Oncogen”

        297.   The above series of events on January 31, 1984 are remarkable. On the same day

during which Monsanto first learned that OPP’s evaluation of the Bio/dynamics mouse study




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was likely to lead to a “possible oncogen” classification, a representative of Monsanto stationed

in the company’s Washington D.C. office ( Gingerich) had:

       •   At least two face-to-face meetings with senior representatives of the OPP Registration
           and Toxicology Divisions;
       •   At least two follow-up calls or meetings with these same individuals; and
       •   Received a substantive request from Dr. Burnam for more data relevant to the
           primary issue explaining why Monsanto and OPP reached different conclusions
           regarding the results of the Bio/dynamics mouse oncogenicity study (the number of
           kidney tumors in the control group of male mice).

       298.    A little over one month later, on February 10, 1984, Hoyt Jamerson of the OPP

Registration Division received a memo from William Dykstra of the Toxicology Branch (“TB”)

addressing the results of the recently submitted Bio/dynamics mouse study. Under

“Recommendations,” it states: “Review of the mouse oncogenicity study indicates that

glyphosate is oncogenic, producing renal tubule adenomas, a rare tumor, in a dose-related manor.

Therefore, Toxicology Branch considers that the PP#3E2845 [a pending tolerance petition] is not

toxicologically supported.”

       299.    The conclusion set forth in the February 10, 1984 memo is the first written

confirmation that I know of stating that OPP’s TB now regarded glyphosate as a possible

oncogen.

       300.    On March 20, 1984, Monsanto submitted to OPP historical control data on the

incidence of renal tubule adenomas in the control groups of CD-1 mice in past studies.

       301.    OPP’s Burnam had instructed Monsanto to submit historical control data from the

same laboratory, and roughly from the same time period (i.e. within 3-4 years of the time the

Knezevich and Hogan glyphosate mouse study was conducted). Monsanto submitted such

historical control data from Bio/dynamics, as well as from two other “major” contract




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laboratories (MONGLY04276057), and is one of several examples in which Monsanto did not

follow instructions from EPA regarding submission of supplemental data.

        302.   The final memo codifying Dykstra’s review of the mouse oncogenicity study was

sent to Taylor in the Registration Division on September 4, 1984. In its “Recommendations”

section, the Toxicology Division states that “1. Glyphosate was oncogenic in male mice causing

renal tubule adenomas, a rare tumor, in a dose-related manner. The study is acceptable as core-

minimum data. 2. A [cancer] risk assessment by Toxicology Branch is required.”

        303.   On February 5, 1985 Monsanto sent the Director of the OPP Registration Division

a letter advancing several arguments in support of the company’s conclusion that the renal tubule

adenomas in the male mice were not treatment related, nor statistically significant.

        304.   This February 5, 1985 Monsanto letter set forth six arguments in support of the

company’s assertion that the observed renal tubule adenomas were not treatment related: (1)

tumors were only observed in male mice, (2) renal tubule adenomas were only present at the end

of the study, suggesting they were caused by the age of the male mice, rather than exposure to

glyphosate in the animal’s feed, (3) only benign tumors were observed, (4) another

Bio/dynamics, 2-year chronic feeding study in the same strain of mice with N-nitrosoglyphosate

(NNG) produced no renal tubule adenomas in any control or treatment group, (5) glyphosate was

not mutagenic in a number of genotoxicity assays, and (6) a statistical argument suggesting that

the dose-related increase in renal tubule adenomas in the male mice was not statistically

significant.

        2. EPA’s Response to Monsanto’s Criticisms of the “Possible Oncogen”
           Classification

        305.   TB scientists assessed the data and arguments in this Monsanto letter prior to

deciding whether to re-open their consideration of the renal tubule adenoma data. The review



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was conducted by Herbert Lacayo. After his statistical analysis of the data, he concluded that “a

prudent person would reject the Monsanto assumption that Glyphosate dosing has no effect on

kidney tumor production” (February 26, 1984 memorandum, Lacayo to Reto Engler).

       306.    The OPP held a meeting on February 11, 1985 attended by eight senior scientists

in the TB to specifically address the appearance of renal tubule adenomas in the male mice. The

February 11, 1985 meeting’s stated purpose was to “evaluate and discuss the data base on

Glyphosate, and in particular the potential oncogenic response of Glyphosate.” The attendees

reviewed the OPP assessment of the new mouse study, as well as the arguments and data

submitted by Monsanto in its February 5, 1985 letter.

       307.    The attendees concurred unanimously that: “In accord with EPA proposed

guidelines (FR of Nov. 23, 1984) the panel has classified Glyphosate as a Category C [possible]

oncogen.”

       3. Monsanto Takes Its Appeal to the Tox Branch Chief

       308.    On February 21, 1985, a Monsanto-requested meeting was held with the OPP TB,

attended by the TB Chief Dr. Ted Farber and then-Assistant Chief Burnam. Gingerich, Frank

Serdy, and Fred Johannsen represented of Monsanto.

       309.    A February 22, 1985 memorandum from Gingerich to Monsanto colleagues

characterized the meeting mood as “relaxed, informal, and open.” The memo states that Farber

called the February 11, 1985 decision by OPP to classify glyphosate as a possible oncogen “an

extremely close call and that EPA remains open to any new information that would make their

decision easier.” (MONGLY04269072).

       310.    The memo sets forth Monsanto’s goals for the meeting, including: “(1) see if we

could respond to their concerns [the renal tubule adenomas] before any unnecessary comments




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became a part of the Roundup permanent file. (2) determine exactly what their concerns are. (3)

gauge the level of their concern.”

       311.    Under the heading “Concerns of Toxicology Branch” in Gingerich’s February 22,

1985 memorandum, he reports that Farber opened the meeting by describing the conclusions of

the OPP toxicology branch review of the mouse oncogenicity study. Specific points noted were:

“Oncogenic in mouse, IARC ranking ‘c’ [possible human carcinogen]; Company’s letter

[Monsanto’s February 5th letter] was too weak to be convincing; Biologically significant rare

tumors; Historical controls [data] not helpful; Will ask to re-section tissues, consider crystal

formation, etc.”

       312.    The meeting memo then states that “Dr. Farber indicated that a substantial re-look

at tissues may cause the EPA pathologist [Dr. Kasza] to change his position. If no carcinomas are

found the second time, our arguments about ‘only benign’ tumors would be stronger. I

[Gingerich] read this to mean that the EPA pathologist (Kasza) is open to persuasion.”

       313.    Next, the memo reports on several questions raised during the meeting, and their

answers. Monsanto representative FJ (Frank Johannsen) then asked OPP’s Dr. Farber “…what

the EPA would be likely to do if we [Monsanto] re-sectioned the slides and found no

carcinomas. Dr. Farber said that it would force them to get the internal peer review group

together again.”

       4. OPP Dismisses Monsanto’s Historical Control Data Argument

       314.    On February 5, 1985, Monsanto sent to the Director of the OPP Registration

Division a four-page letter transmitting additional information related to the Bio/dynamics

chronic mouse study.




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       315.    On February 26, 1985, an EPA memorandum was sent to OPP statistician Reto

Engler, a senior scientist involved in the TB’s review of glyphosate’s oncogenicity. The memo

was written by OPP statistician Herbert Lacayo, and sent through and signed off by Bertram Litt,

OPP’s Statistics Team Leader.

       316.    The memo focused on whether the additional, mouse historical control data for

kidney tumors submitted by Monsanto should alter the OPP assessment of the significance of the

reported renal tubular adenomas in the Bio/dynamics study. It begins by noting that Monsanto

submitted “historical control data from Bio/dynamics and two other laboratories.”

       317.    The summary of the Lacayo statistical review of the historical control data states

that “…we can conclude that Glyphosate dosing has a statistically significant effect (at the p =

.006 level) in the production of kidney tumors in male mice” (i.e., highly statistically significant,

since the usual cut-off for significance is p = 0.05).

       318.    A March 4, 1985 OPP memorandum on the subject “Consensus Review of

Glyphosate” codified the conclusion reached by the eight Toxicology Branch scientists, each of

whom signed the consensus review document. (MONGLY04269067). The signatories included

the Chief of the TB Farber, OPP’s senior pathologist Dr. Karza, who read the Bio/dynamics

mouse study histopathology slides, Bertram Litt, OPP’s senior statistician, and William Dykstra,

author of the original OPP review of the mouse study.

       319.    The memorandum was sent to Robert Taylor in the Registration Division, and

marked the end of the beginning of a protracted debate between OPP and Monsanto over the

results of the Bio/dynamics mouse study.

       5. Monsanto Takes Its Case to the Director of the OPP Registration Division




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       320.    Only two days passed before Monsanto again wrote to OPP, this time to Douglas

Campt, then Director of the OPP Registration Division. The five-page March 13, 1985 letter was

sent by Frank Serdy, Monsanto’s Manager, Federal and State Registration Affairs.

       321.    The letter recounts the recent history of OPP’s evaluation of the Bio/dynamics

mouse oncogenicity study, the numerous meetings and back-and-forth involving OPP and

Monsanto scientists, and asserts that the renal tubule adenomas observed in the male mice in the

study are not treatment related, nor statistically significant. It also restates the many Monsanto

arguments advanced in support of the company’s position over the past six weeks.

       322.    In closing his letter to Campt, Serdy states that:

        “As you know, glyphosate is an extremely important herbicide to agriculture in the U.S.
       and around the world. Monsanto is concerned that even the initiation of formal regulatory
       action would have serious negative economic repercussions which we believe are not
       justified by the scientific evidence.”

       323.    In an April 3, 1985 memorandum from Dykstra to the Registration Division’s

Taylor, the TB’s judgement regarding glyphosate’s oncogenicity was stated as it had been

previously: “Glyphosate was oncogenic in male mice causing renal tubule adenomas, a rare

tumor, in a dose-related manner.”

       6. Monsanto Hires Another Pathologist to Re-read the Kidney Slides

       324.    Also, on April 3, 1985, Dr. George Levinskas, a scientist in the Monsanto

Department of Medicine and Environmental Health, circulated a brief update inside the company

stating that “Senior management at EPA is reviewing a proposal to classify glyphosate as a class

‘C possible human carcinogen’ because of kidney adenomas in male mice. [Private, consulting

pathologist] Dr. Marvin Kuschner will review kidney sections and present his evaluation of them

to EPA in an effort to persuade the agency that the observed tumors are not related to

glyphosate.” (MONGLY04277789)



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       325.    Dr. Kuschner had not been involved with the design, conduct, or evaluation of the

Bio/dynamics mouse oncogenicity study and had not previously reviewed the study’s

histopathology slides.

       326.    Also, on April 3, 1985, a letter was sent by Dr. Aleksanday Knezevich, Senior V-

P, Pathology at Bio/dynamics to Dr. Marvin Kushner, a private consulting pathologist

(MONGLY04269049). The letter informs Dr. Kuschner: “The enclosed shipment is being sent to

you at the request of Dr. Tim Long of Monsanto. It contains slides of kidney sections from all

animals on the reference study [mouse oncogenicity study].”

       327.    In mid-May 1985, Kuschner submitted his report to Bio/dynamics and Monsanto.

The company reviewed the report, and submitted it to OPP. The report was, as predicted before

Dr. Kuschner even received the slides, supportive of an “effort to persuade the agency that the

observed tumors are not related to glyphosate.”

       328.    In a June 14, 1985 memo from OPP’s senior statistician Engler toTaylor of the

Registration Division, Engler reports that after a TB peer-review process:

       “We have determined that the incidence of renal adenomas in male mice (a rare tumor) is
       inconsistent with the historical control incidence of this tumor. The registrant, in several
       letters, has refuted our statistical analysis of the data. Basically, the registrant contends
       that the highest incidence ever observed in historical controls should be used to judge the
       incidence in the Glyphosate study. The use of any historical control data in this manner is
       biologically as well as statistically inappropriate and misleading.” (Underlining in
       original).

       329.    Then, Engler goes on to report that the registrant has now submitted a report

“which shows that a re-reading of the kidney slides has revealed one (1) kidney tumor in the

control group but no additional tumors in the treatment groups.” In light of this new information,

Engler writes that:




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       “Given the overall uncertainty concerning the significance of the observed tumor
       incidence we believe a systematic reevaluation of this kidney lesion has become
       necessary in order to fully evaluate Glyphosate.”

       330.    The Kuschner report, at the very least, delayed EPA’s final determination as to

glyphosate oncogenicity, based on the results of the Bio/dynamics study -- the only valid 2-year

feeding study that EPA had in its possession at that time.

       331.    OPP’s decision to re-section the slides also created the possibility that new

information would emerge supporting Dr. Kuschner’s assessment of the slides, and/or changing

the number of tumors in the male mice control and three treatment groups in a way that

eliminates the dose-related response in the frequency of renal tubule adenomas

(MONGLY00235097 at 5412).

       C. Re-sectioning of the Bio/dynamic Mouse Kidney Slides

       332.    “If the results of the kidney re-sectioning do not resolve the glyphosate issue

within OPP, we will be faced with an adverse OPP decision,” wrote Gingerich to Monsanto

colleagues in an August 20, 1985 memorandum. (MONGLY04268982).

       333.    Gingerich also discusses the prospect that OPP might decide to place unresolved

science issues before the agency’s Scientific Advisory Panel (“SAP”), especially if a deadlock

emerges between the conclusions of Monsanto’s and OPP’s pathologists.

       334.    Gingerich goes on to ask “Can we change the focus of the question to the S.A.P.

to: ‘Is 30,000 ppm too high [a dose] to be used in a meaningful risk assessment?’…If we

assembled 10 respected toxicologists, would all ten agree that the feeding level is too high to be

meaningful?” He then suggests that the 10 toxicologists agreeing with Monsanto’s position

should be brought to the SAP meeting and asked to speak in support of the company’s

assessment of the mouse study, given “…the importance of this issue to Monsanto.”



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       335.    Gingerich then explains why he has suggested that all 10 toxicologists should be

brought to the SAP meeting: “There is a tendency to ‘count the votes’ at S.A.P. meetings. We

can make a difference by lining up a large number of experts on our side.” [Emphasis added]

       336.    Note that “our side” refers to Monsanto’s stated interpretation of the kidney tumor

data, and not an effort to gain deeper scientific understanding of the impact of glyphosate on

kidney tumors, nor the mechanisms through which glyphosate exposures might lead to such

tumors.

       337.    Eight days later, on August 28th, Serdy, the Director of Federal and State

Regulatory Affairs for Monsanto, wrote a memo to his colleague Tim Long, another official

working on the effort to change EPA’s mind on the mouse oncogenicity study. Serdy wrote on

the topic of “Additional Steps” in the effort to change EPA’s assessment on the Bio/dynamics

mouse study (MONGLY04268980).

       338.    Serdy voices confidence that glyphosate will ultimately be shown to be not

oncogenic but lays out some “additional steps” if the results of the re-sectioning of the kidneys

does not change EPA’s mind.

       339.    First, Serdy writes: “We continue to feel it is important to identify and contact

those outside ‘experts’ who we feel would testify on our behalf both to EPA and SAP that, based

on the results, glyphosate is not oncogenic.”

       340.    Serdy’s second “additional step” is prefaced by acknowledging that “We do not

have a lot of faith, presented with the same evidence, Ted Farber [senior OPP scientist in the

Toxicology Branch] will want to back off and change his mind.” Serdy then writes: “Hence we

feel that it is equally as important to identify and contact ‘experts’ in the area of statistics who




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would be willing to testify both to the EPA and SAP that 1-0-1-3 cannot be considered

statistically significant.”

        341.    Note that in Serdy’s second point he is assuming that EPA has, or will accept Dr.

Kushner’s conclusion that one mouse in the male control group had a renal tubule adenoma that

was not detected or reported in the original Bio/dynamics report on the study. In the absence of

that one, additional adenoma in the male mice control group, the tumor incidence would have

remained as originally reported, 0-0-1-3, and reflect a trend which is unambiguously dose-related

and highly statistically significant, as Lacayo’s February 26, 1985 memo had concluded.

        342.    Driving home the importance of these “additional steps,” Serdy writes that:

         “It seems imperative that we continue to do all that is possible in order to have the
        Agency reverse its decision. Hopefully, the testimony of several respected ‘experts’ will
        be enough to cause EPA to change their minds.”

        343.    The re-sectioning of the male mice kidneys, and the re-evaluation of the slides,

was done by Bio/dynamics, at the request of Monsanto. The OPP pathologist Dr. Kasza had been

consulted in the process of developing the procedures. R.F. McConnell, a pathologist consulting

with Bio/dynamics, read both the original slides, and the slides from the re-sectioned kidneys.

        344.    The Bio/dynamics report covering the re-sectioned kidney tumors was dated

September 26, 1985 and was submitted to the EPA a few days later.

        345.    The significant result in the Bio/dynamics report on the re-sectioned kidney

tissues is finding one renal tubule adenoma in the control group of male mice (mouse # 1028).

The report states:

        “Confirmation of the diagnosis of the original renal tubular adenomas was made,
        including concurrence with Dr. Marvin Kushner on the presence of a lesion in the control
        group which represented a developing tumor. No new tumors were found in any of the
        [other] control or treated groups.”




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       346.    The report concluded: “The renal tumors observed were considered to be

incidental and not toxicologically significant.”

       1. EPA Response to the Newly Identified Tumor in Control Mouse #1028

       347.    The technical response from the TB to the September 26, 1985 Bio/dynamics

report was done by Dr. Kasza, OPP’s senior pathologist, and the scientist who had been

consulted by Bio/dynamics on the procedures to be followed in the re-sectioning of the kidneys.

Kasza’s December 4, 1985 memo was sent to Dykstra, the lead reviewer of the mouse study in

OPP’s Toxicology Branch.

       348.    The single, critical question was whether Kasza agreed with Dr. Kuschner and the

Bio/dynamics pathologist Dr. McConnell that control male mouse #1028 had a renal tubule

adenoma. Kasza requested and re-read the original slides for male mice, as well as the newly re-

sectioned kidney slides. He found no differences in the number of renal tubule adenomas in the

treatment groups.

       349.    In reference to the tumor in control group mouse # 1028 reported by Kuschner

and McConnell, Kasza wrote:

       “It is my opinion that the presence of a tumor cannot be definitely be established. My
       interpretation is similar to the conclusion of Bio/dynamics’ pathology staff and Dr.
       McConnell, that the lesion ‘may be’ a proliferative change having the potential to lead to
       the development of a frank tumor. But as the tissue can be seen under the microscope as a
       small well-demarcated focal cell aggregate morphologically different from the healthy
       looking surrounding kidney tissue, this morphological alteration does not represent a
       pathophysiologically significant change.”

       350.     Kasza’s reading of the newly sectioned kidney of animal #1028 was that there

was a group of cells that looked different and that might become a lesion of some sort, but the

cell mass had not reached the stage justifying identification as a renal tubule adenoma.




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       351.    All of the EPA pathologists that had reviewed the Bio/dynamics mouse kidney

slides could not see, and did not agree that there was a renal tubular adenoma in the kidney of

control mouse #1028.

       352.    Each of the pathologists paid by Monsanto to assess the kidney slides concurred

that there was a renal tubular adenoma in control mouse #1028, except for the pathologist

working for Bio/dynamics when the kidney slides from the study were initially read.

       353.    This pathologist (Dr. McConnell) reported no renal tubule adenoma in control

mouse #1028, nor in any other control male mouse. Years later, after re-reading the kidney

slides, this pathologist changed his mind and agreed with the other Monsanto-hired pathologists,

who did see a renal tubular adenoma in control mouse #1028.

       D. The 1986 SAP Review of the Mouse Oncogenicity Study

       354.     Kasza’s interpretation was accepted within EPA. As a result, the EPA and

Monsanto were again dead-locked, and so OPP decided to seek assistance from its SAP in

resolving the conflict.

       355.    A January 17, 1986 Federal Register notice announced a two-day SAP meeting on

February 11-12, 1986 during which the Bio/dynamics mouse study would be evaluated. Agenda

item 1 read: “Review of a set of scientific issues related to apparent oncogenicity being

considered by the Agency in connection with the preparation of a Registration Standard for

glyphosate.”

       356.    Monsanto sent a January 23, 1986 letter to Steven Johnson, a senior EPA official

who managed the SAP. After noting that the Federal Register notice said the SAP would assess

glyphosate’s “apparent oncogenicity,” the letter stated that: “Monsanto firmly believes that




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glyphosate is not an oncogen, and we therefore do not agree with this position taken by the

Agency. The Agency is in error in reaching this conclusion…”

       357.    The letter argues that the OPP determination does not follow EPA’s Proposed

Guidelines for Carcinogen Risk Assessment, and then adds:

       “In addition to Monsanto’s own evaluation, this matter has been reviewed by five
       independent experts. The unanimous conclusion reached by these scientists is that
       there is no treatment-related oncogenic effect of glyphosate in the chronic mouse
       study…”

       358.    Recall the August 20, 1985 Gingerich memorandum discussed above. It suggested

that Monsanto recruit 10 experts to testify before the SAP, and that “[t]here is a tendency to

‘count the votes’ at S.A.P. meetings.” (MONGLY04268982).

       359.    The focus of the glyphosate oncogenicity discussion during the February 11, 1986

SAP meeting was on the histopathology of the kidney slides, and in particular:

           •   The number of tumors in the male mouse control group;
           •   The appropriate statistical analysis to use, and whether the renal tubule
               adenoma incidence reached statistical significance; and
           •   The proper use of historical control data.

       360.    The two questions presented to the SAP by the EPA were:

       “(1) Based on the Agency’s weight of the evidence assessment with emphasis on
       the mouse kidney tumors, the Agency has classified Glyphosate as a class C
       (possible human) carcinogen. The Agency specifically requests any comment the
       Panel may wish to present with regard to its assessment of the weight of the
       evidence and subsequent determination of carcinogenicity according to the
       Agency’s Cancer Guidelines.”

       “(2) The Agency requests also that the Panel consider what weight should be
       given to this marginal increase in kidney tumors, the importance of this type of
       tumor in the assessment of the carcinogenicity of Glyphosate, and the weight
       placed on historical and concurrent controls for this type of evaluation.”




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       361.    The primary presentation by EPA was done by Farber, and Monsanto’s

presentation was made largely by Robert Harness, Director of Environmental and Government

Affairs, Long, in the company’s Medical Department, and Wayne Withers.

       1. Monsanto Increases the “Votes” for Its Interpretation of Mouse Kidney Tumors

       362.    Monsanto brought to the SAP meeting three experts who had been involved with

the study and/or the reading of the controversial kidney slides: Kushner, the pathologist who re-

read the original mouse study kidney slides; McConnell, the consultant to Bio/dynamics that read

the original slides, as well as the re-sectioned slides; and Dr. Ira Daly, the Bio/dynamics

laboratory director.

       363.    Each of these individuals were given opportunities to make short presentations

and participate in the Q & A with SAP members.

       364.    In addition, Monsanto announced to the SAP that they had submitted the data in

question to a panel of four consulting experts (Squires, Olsen, Stemmer, Goodman), all of whom

agreed with Monsanto’s interpretation of the mouse oncogenicity study results. These experts

were also in attendance and participated in the Q&A.

       365.    One of the invited experts – Dr. Don Goodman – was asked by Monsanto to

attend and represent the conclusions of a second review panel convened at the request of

Monsanto by Pathco Inc, a pathology consulting group. The Pathco panel reviewing the same

mouse oncogenicity data included five scientists (Sourer, Anver, Stranberg, Ward, Goodman).

       366.    In his opening statement to the SAP, Harness summarizes the key conclusions

reached by each of the Monsanto-invited experts, as well as the expert panel convened at

Monsanto’s request and expense by Pathco Inc.

       a) Dr. Marvin Kuschner, found an additional tumor in the male mouse control group, no




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           additional tumors in the treatment group, switching the study from purportedly

           positive to negative for renal tubule adenomas. His concluding statement, quoted by

           Harness, is that “I see no reason to assign carcinogenic potential to glyphosate.”

       b) Robert Squires, “In summary, I feel the weight of the evidence strongly suggests the

           renal adenomas in male mice were naturally occurring and not treatment related.”

       c) Robert Olsen, “In summary, it is my view that these findings do not support the view

           that [text cut off].”

       d) Dr. Robert McConnell, “It is and has been the opinion of this pathologist that the

           tumors were incidental and were not toxicologically significant.”

       e) Dr. Klaus Stemmer, “The incidence of renal tubule adenomas is in all probability

           biologically by chance.”

       f) Pathco Inc panel (Drs. Sourer, Anver, Stranberg, Ward, and Goodman, who

           represented the panel at the SAP meeting), “The incidence of renal tubule cell

           neoplasms in this study are not compound related.”

       g) Monsanto’s Dr. Timothy Long provided an overview of the back and forth over the

           mouse study pathology results, and then summarized Monsanto’s position by stating,

           “The overall incidence [of renal tubular adenomas], therefore, remained at 1-0-1-3.

           These [kidney section] slides and/or supporting data have now been reviewed by a

           total of 10 pathologists and toxicologists and the unanimous conclusion of all the

           experts is that there is no evidence of any treatment related oncogenicity.”

       367.    Accordingly, the Monsanto team offering conclusions and presenting data before

the SAP included 14 people (i.e. ‘votes’): three from Monsanto, three individuals involved with




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the study, four consulting experts, and four additional experts who joined Dr. Goodman (in

attendance) on the Pathco Inc panel.

       2. SAP Report Recommends a Repeat Mouse Study to Resolve the Dispute

       368.    The report providing the SAP panel’s answers to the two questions EPA asked the

panel to address on February 11, 1986 was transmitted to the Director of OPP on February 24,

1986 and released publicly soon thereafter. The section “Panel Response” begins by saying: “In

the instance of Glyphosate, the Panel concurs that the data on renal tumors in male mice are

equivocal.”

       369.    The SAP report goes on to state: “The vast majority of the pathologists, who

examined the proliferative lesion in the male control animal, agreed that the lesion represented a

renal adenoma. Therefore, statistical analysis of the data should utilize this datum.”

       370.    This conclusion that the “vast majority” of pathologists agreed with the Monsanto

interpretation stands in contrast to a statement made by the EPA in its assessment of the differing

views on whether control animal #1028 had a renal tubule adenoma.

       371.    In Dr. Faber’s presentation to the SAP, he states: “we [EPA] do see an increased

incidence statistically…” On the critical issue of whether there was a renal tubule adenoma in

control mouse #1028, Dr. Farber’s offered his accounting of the differing views: “…perhaps

three pathologists saying no [tumor], perhaps four or more pathologists saying yes.”

       372.    The lead person representing Monsanto at the SAP meeting was Robert Harness,

Director of Environmental and Government Affairs. In his opening comments to the SAP,

Harness said: “Because glyphosate is the largest selling herbicide in the world, with many

registered uses, we consulted a group of scientists to advise us on the questions raised by the

EPA and presented to you by Dr. Farber.” (Emphasis added)




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       373.    The three individuals at the SAP meeting supporting the conclusion that there was

“no tumor” in control animal #1028 were EPA scientists (Farber, Kasza, Lacayo), while the

remaining 14 scientists stating that there was a tumor worked for, or were hired by Monsanto.

       374.    Taking into account the uncertainty and disagreement over the number of renal

tubule adenomas, the use of historical controls, and the statistical methods used to judge whether

the observed tumors were treatment related, the SAP’s final judgement was equivocal:

       “…the Panel does not believe that it is possible to categorize Glyphosate clearly
       into Group C (possible human carcinogen) or Group E (no evidence of
       carcinogenicity in humans). The Panel proposes that Glyphosate be categorized as
       Group D (not classified) and that there be a data call-in for further studies in rats
       and/or mice to clarify unresolved questions.”

       E. EPA Calls for a Replacement Mouse Study in 1986 Glyphosate
          Registration Standard Document
       375.    On August 11, 1986, OPP issued the glyphosate Registration Standard (RS)

document setting forth guidance to companies seeking to register new or retain existing pesticide

product labels for herbicides containing glyphosate (the date on the RS document is June 1986; it

was released on August 11, 1986 ). (MONGLY00223577).

       376.    In 1986, Monsanto was the sole manufacturer of glyphosate-based herbicides, so

guidance in the 1986 RS document regarding steps that manufacturers of glyphosate herbicides

must take was guidance to Monsanto, and all responses to the RS by industry, and actions taken

and not taken, were Monsanto actions/inactions.

       377.    The RS document is a key historical milestone in the EPA’s assessment of

glyphosate uses, testing, exposures, risks, and benefits.

       378.    Key functions of the 1986 RS review and document were to specify required

labelling changes, warnings, and precautions that must appear on product labels; and, alert

companies to the studies that they must agree to commission and submit to the agency in a


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timely way in order to retain existing registrations/product labels or win approval of new

uses/labels in the future.

        379.     The 1986 glyphosate RS document states on page 2: ”Failure to comply with

these requirements [e.g. filling data gaps, adding new worker safety rules] may result in the

issuance of a Notice of Intent to Cancel or a Notice of Intent to Suspend (in the case of failure to

submit data).”

        380.     Under the heading “Chronic Feeding/Oncogenicity Data,” the glyphosate RS

notes that available studies included a 2-year mouse and rat chronic feeding studies and a 1-year

dog study. But because of limitations in study design and/or questions over the interpretation of

equivocal results, none of these studies satisfied core, OPP chronic feeding study data

requirements. Thus, 12 years after the first approval and sales of Roundup, Monsanto had still

not submitted the complete battery of long-term oncogenicity/carcinogenicity required tests.

        381.     Hence, the “Summary Science Statement” in the RS states that “Repeat oncogenic

studies are required in mice and rats.” (Page 5).

        382.     EPA required the company to repeat the Lankas rat oncogenicity study (which

was a repeat of the initial invalid IBT rat study) that failed to reach the Maximum Tolerated

Dose (“MTD”).

        1. Monsanto Challenges the EPA RS Requirement for a Repeat Mouse Study

        383.     About three weeks after the public release of the glyphosate RS, Serdy, the head

of product registrations at Monsanto, sent a memorandum to Monsanto colleagues involved in

the ongoing debate over glyphosate oncogenicity. In this August 28, 1986 memorandum , Serdy

outlines “suggestions” for Monsanto’s response to the RS’s data call-in for repeat mouse and rat

oncogenicity studies. (MONGLY04278162).




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       384.    After describing possible Monsanto arguments to EPA challenging the need for

repeat studies, Serdy writes:

       “If successful [EPA drops the requirement], this approach has the following
       downside: EPA’s response may be: ‘Fine, don’t repeat either study. We will just
       put you into class C [a possible oncogene under EPA’s classification system][.]’”

       385.    Soon after the release of the glyphosate RS document in August 1986, Monsanto

communicated to EPA via several channels its disagreement with some of the actions required by

EPA in the RS document.

       386.    Serdy asserts in a RS-response letter to OPP that:

       “The results of the mouse bioassay do not provide positive, or even suggestive,
       evidence of carcinogenicity. The most that can be said is that the results were
       equivocal as, in fact, the Scientific Advisory Panel stated.”

       387.    In this letter, Serdy notes that the company had asked several consulting experts

to testify at the SAP meeting, with their time and expenses paid for by Monsanto. The Serdy

letter states that the experts “were asked to evaluate the need for a repeat study. All experts

agreed that additional testing is not justified…” (page 2).

       388.    I carefully reviewed the verbatim transcript of the testimony of the experts

brought to the SAP meeting by Monsanto. None of them spoke to the issue, or expressed an

opinion about whether the mouse study should be repeated, as Serdy had claimed in his letter

to OPP.

       2. EPA Calls for a Specially Designed Study in Response to Monsanto’s Refusal to
          Conduct a Repeat Mouse Study

       389.    In accord with routine OPP procedures, Monsanto’s scientific arguments and

requests for waivers of RS data requirements, including a repeat mouse study, were reviewed by

the relevant branches of OPP.




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       390.    Monsanto had formally requested waivers for two study requirements in the RS

document: (1) an LC-50 inhalation study, and (2) a repeat mouse chronic feeding/oncogenicity

study. Dykstra in the Toxicology Branch reviewed the request, and Monsanto’s supporting data.

He prepared the TB memorandum regarding “Glyphosate – Monsanto Comments to Glyphosate

Guidance Document.” (MONGLY00223052).

       391.    Dykstra concurred/approved waiver request (1). On request (2), he wrote: “TB

does not concur with Monsanto regarding the waiver of the repeat mouse oncogenicity study (see

discussion in review section [pages 3-6 of the memo]).”

       392.    In his review of Monsanto’s arguments in support of a waiver for the mouse

study, Dykstra wrote: “Regarding the need to repeat the mouse oncogenicity study with

glyphosate, TB fully concurs with the conclusion and recommendation of the Scientific Advisory

Panel (SAP).” The SAP had concluded that glyphosate be classified as Group D (not classifiable

as to oncogenicity) and recommended that replacement studies in mice and/or rats be carried out.

       393.    He then writes: “TB believes the oncogenic potential of glyphosate in mice still

remains unresolved and that a repeat mouse study is necessary to fully and adequately assess this

potential.” (MONGLY00223052)

       394.    Dykstra’s memorandum goes on to say that the new mouse oncogenicity study

should be “specially designed” to clarify “certain unresolved questions relating to the potential

oncogenicity of glyphosate.”

       395.    Dykstra sets forth several specific study requirements. First, he recommended

retaining the 30,000 ppm high-dose treatment rate, since survival in that group of male mice

exceeded survival in the control group. Second, he recommended that two additional treatment

groups should be added to more definitively delineate whether there is a dose-response – 7,500




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ppm, and 15,000 ppm. Third, there should be 200 male mice per group, to enhance statistical

power.

         396.   Dykstra proposed other changes to reduce the cost of the repeat study. He stated

that the study should focus only on unresolved questions from the first study, and only on male

mice (cutting the number of animals in half). He also proposed a “tier approach” in the pathology

examination phase of the study, focusing first on kidney and liver sections in all groups of male

mice. If the “first tier” examination produces no evidence of an oncogenic response, “then

additional histopathological examination will not be necessary.”

         397.   Monsanto continued to resist EPA’s call for a new mouse oncogenicity study and

has still not redone the Bio/dynamic study nor carried out the special study requested by EPA.

         398.   In my opinion Monsanto should have conducted the special study requested by

EPA. Doing so would have provided the EPA with the information it felt it needed, and would

have also been a positive step in response to the company’s stated commitment to product safety.

         399.   I also conclude that, beginning in 1985 and running until a repeat or new mouse

study was submitted, reviewed by EPA, and found to be negative, Monsanto should have added

to Roundup labels an alert regarding the status of glyphosate/Roundup oncogenicity testing (e.g.,

“…exposures to this product may increase the risk of certain cancers…” or, at a minimum,

“…the potential of this product to cause cancer has not been fully evaluated…”).

         400.   Similar information should have also been conveyed in glyphosate/Roundup

chemical safety data sheets and other information developed for physicians and poison control

centers, as well as other means of communication Monsanto utilized to reach customers, i.e.

brochures, leaflets, advertisements).




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       401.       In my opinion, Monsanto’s refusal to conduct the new oncogenicity studies in

mice requested by the EPA in the late 1980s likely altered the regulatory history of glyphosate

and Roundup herbicides, as well as the warnings and contents of labels on Roundup products

beginning in the early 1990s.

       402.       If a new mouse oncogenicity study had reported a positive response for renal

tubular adenomas, and/or other tumors, the EPA’s “possible oncogen” classification would have

remained in place, or even possibly upgraded to “probable.” Either of these two classifications

would have markedly restricted the range of new Roundup crop and weed control uses, would

have stopped commercialization of Roundup Ready seed plus herbicide technology, and led to

the addition of new warnings, worker-safety provisions, and restrictions on many, if not most

Roundup labels.

       3. Monsanto Persistence Pays Off

       403.       Eight years of Monsanto-EPA debate ensued over this 1983 mouse study, and

whether it needed to be repeated. At multiple points, Monsanto found ways to raise new

scientific issues in need of exploration with OPP scientists, prior to a final OPP decision on

whether the 1983 Bio/dynamics study was positive or negative for cancer, and whether it needed

to be repeated.

       404.       Monsanto demonstrated both its ability and willingness to direct political pressure

on the agency. The company’s influence in Congress, and at senior levels in Executive Branch

agencies, made it possible for Monsanto to incrementally raise the stakes facing the OPP, until

OPP brought its evaluation of the Bio/dynamics study into alignment with Monsanto’s.

       405.       In 1991, EPA changed its interpretation of the 1983 Bio/dynamics mouse

oncogenicity study, largely on account of the one additional tumor in control-group mouse




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#1028. This tumor was found initially by a pathologist that Monsanto had hired to reread the

study’s kidney slides.

           4. Conclusions Regarding Monsanto’s Sparse and Inadequate Oncogenicity
              Testing
           406.   Monsanto should have conducted the specially designed, repeat mouse chronic

feeding study, as requested by EPA. Such a study was specially designed to resolve the issues

over the renal tubular adenoma in control mouse #1028 in the 1983 Bio/dynamic mouse study

and would have fulfilled both the requirements of the EPA and Monsanto’s purported

commitment to voluntary industry standards, such as the FAO International Code of Conduct on

Pesticide Management, (formerly the International Code of Conduct on the Distribution and Use

of Pesticides).

           407.   Had that study been conducted, and if it reported a statistically significant

increase in renal tumors, the regulatory history of Roundup would have been dramatically

altered.

           408.   Monsanto has never conducted a long-term oncogenicity study utilizing

formulated GBHs. The absence of a single, well-designed chronic feeding oncogenicity study in

mice or rats exposed to formulated glyphosate-based herbicides, rather than pure glyphosate

technical, is the most important single gap in the existing scientific appraisal of the human-health

risks stemming from use of, and exposure to Roundup and other glyphosate-based herbicides.

           409.   I conclude that Monsanto should have, and could have conducted such a study on

formulated Roundup in the 1990s, and that over time the scientific need for such a study has

grown stronger in step with the growing number and diversity of positive glyphosate and GBH

genotoxicity studies. Evidence of a link between GBH use and exposures, and non-Hodgkin




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lymphoma in multiple epidemiological studies has further heightened the scientific justification

for such a study.

410.    Last, in my opinion, the failure of EPA to enforce its 1986 requirement that Monsanto

   carry out a repeat mouse oncogenicity study, as well as EPA’s failure to request a chronic

   oncogenicity feeding study using a formulated GBH, do not obviate the scientific importance

   and regulatory relevance of such studies. It also does not relieve Monsanto of its obligation,

   as the dominant manufacturer of GHBs, to carry out such studies in the interest of assuring

   its formulated products are as safe as the company had been claiming since the late 1970s,

   particularly in light of its professed commitment to voluntary pesticide industry standards,

   such as the FAO International Code of Conduct on Pesticide Management, (formerly the

   International Code of Conduct on the Distribution and Use of Pesticides).




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   VII. Monsanto, EPA, and IARC Assessments of Glyphosate and
        Roundup Genotoxicity
       411.    Three primary bodies of evidence are available to determine the contribution of

glyphosate and Roundup use and exposures to human cancer: two-year animal bioassays, also

referred to as chronic feeding studies; genotoxicity studies assessing the possible mechanisms

through which exposure to Roundup might trigger or promote damage to DNA and cancerous

growths; and, epidemiological studies in exposed versus not-exposed (or lesser-exposed) human

populations.

       412.    The first round of mutagenicity and genotoxicity studies on glyphosate were

commissioned by Monsanto in the 1970s, conducted by IBT, and were found to be invalid and/or

fraudulent. The second round was done in the late 1970s and 1980s, and fulfilled the then-

existing OPP mutagenicity and genotoxicity data requirements.

       413.    Evidence addressing, and conclusions reached regarding a pesticide’s

genotoxicity are functionally equivalent to evidence on and conclusions reached regarding a

pesticide’s mutagenicity.

       414.    The laboratories conducting Monsanto-sponsored, cell-assay genotoxicity studies

on pure glyphosate in the 1970s through 1990s reported no evidence of mutagenic or genotoxic

effects, and EPA scientists generally accepted and concurred with their conclusions.

       415.    Since the early approvals of Roundup herbicide labels in the 1970s and through

multiple re-assessments over the last 40 years, the EPA has stuck with its original determination

that glyphosate technical (i.e. nearly pure, 100% glyphosate) is not genotoxic in humans via oral

ingestion, at least not at levels of exposure typically expected by EPA in the food supply.




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       416.    EPA’s initial, absence-of-genotoxicity determination played a central role in the

successful effort by Monsanto to change OPP’s mind on the results of the disputed, 1983

Bio/dynamics mouse oncogenicity study.

       417.    On multiple occasions since the 1980s, the purported absence of evidence of

glyphosate genotoxicity has been cited by Monsanto, the EPA, and other regulatory authorities

as an important reason to discount other evidence of Roundup toxicity, including the risk of

cancer following exposure to Roundup or other glyphosate-based herbicides.

       418.    In March 2015, the International Agency for Research on Cancer (“IARC”)

classified glyphosate and glyphosate-based herbicides (“GBHs”) as “probable human

carcinogens.” In EPA’s September 2016 draft assessment of glyphosate oncogenicity, the EPA

classified glyphosate as “not likely to pose cancer risks.”

       419.    The most striking differences in IARC’s and EPA’s assessment of the oncogenic

potential of glyphosate and GBHs were in the area of mechanisms and genotoxic potential. The

reasons I hold this opinion are described in detail in my 2019, peer-reviewed ESE paper “How

did the US EPA and IARC reach diametrically opposed conclusions on the genotoxicity of

glyphosate-based herbicides”.

       420.    To fully elucidate the reasons why genotoxicity plays such an important role in

this litigation, I address in this section of my report several aspects in Monsanto’s internal

assessments, understanding, and judgements regarding glyphosate and Roundup genotoxicity.

       421.    I compare Monsanto’s internal views and understanding of glyphosate and

Roundup genotoxicity to the information and positions the company communicated to the EPA

and other regulators via its submissions of data, and interventions in the regulatory process (e.g.

meetings, phone calls, letters, participation in advisory groups).




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       422.    Last, in several sections of this report, I review the genotoxicity-related

information shared by Monsanto with the scientific community via commissioned and published

papers, and with Roundup users and the general public via multiple channels, and contrast that

information to what Monsanto scientists and regulatory officials knew, believed to be true, and

were discussing in internal communications.

       A. Monsanto Seeks Outside Guidance on Glyphosate/Roundup
          Genotoxicity

       423.    In 1999, Monsanto hired Dr. James Parry, a leading expert in genotoxicity and

genotoxicity testing methods, to advise the company regarding the validity of then-existing

genotoxicity and mutagenicity tests, and scientific papers published in peer-reviewed journals

reporting the results of genotoxicity assays. Dr. James Parry was a professor in the School of

Biological Sciences, University of Wales Swansea, in the UK.

       424.    In the 1990s several genotoxicity studies were published that reported one or

more positive assays. These included, for example:

           •   Lioi et al., (1998), Genotoxicity and oxidative stress induced by pesticide
               exposure in bovine lymphocyte cultures in vitro, Mutation Research 403:
               13-20);
           •   Lioi et al., (1998), Cytogenic damage and induction of pro-oxidant state in
               human lymphocytes exposed in vitro to glyphosate, vinclozolin, atrazine,
               and DPX-E9636, Environ. Mol. Mutagenesis 32: 39-46);
           •   Bolognesi et al (1997), Genotoxic activity of glyphosate and its technical
               formulation Roundup, J. Agric Food Chem 45: 1957-1962); and
           •   Clements C, Ralph S, Petras M (1997), Genotoxicity of selected
               herbicides in Rana catesbeiana tadpoles using the alkaline single-cell gel
               DNA electrophoresis (comet). Environ Mol Mutagen 29:277–288.

       425.    To gauge how helpful Dr. Parry might be as a Third-Party Network member, and

before committing to a more open-ended consulting agreement, Monsanto gave him a short-term

assignment that entailed reviewing a set of then-recently published genotoxicity papers.




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       1. Parry Report #1
       426.     Dr. Parry’s first report was sent to              , Toxicology Director, Monsanto

Europe, and dated February 11, 1999.

       427.     Dr. Parry’s report contained 19 conclusions: (1) six were that certain types of

assays showed no evidence of genotoxicity; (2) 6.5 studies/types of assays were positive for

evidence of genotoxicity; and (3) 6.5 were equivocal, and would need to be refined and/or

repeated. Dr. Parry also reported the results of his review of published genotoxicity requested by

Monsanto.

       428.     In addition to his written report, Dr. Parry provided Monsanto with about one

page of recommended, follow-up research activities to address lingering questions over the

genotoxicity of glyphosate and formulated Roundup, the mechanisms giving rise to genotoxicity,

and relevance of these mechanisms to the evaluation of glyphosate’s other health effects, and

especially oncogenicity (MONGLY01314264). These initial research recommendations were

expanded upon in each of Dr. Parry’s subsequent reports.

       2. Monsanto Response to Dr. Parry’s First Report
       429.     Two Monsanto scientists shared their reviews of the Parry report with colleagues.

Stephen Wratten wrote an email entitled “Comments on Parry write-up” to                      and

Donna Farmer. Wratten starts by saying: “I was somewhat disappointed…The style and rather

casual lack of completeness and preciseness would make it hard to circulate this around to

anyone as supporting information.”

       430.     In early July 1999, Monsanto officials discuss internally whether to:

            •   Commission the new genotoxicity research studies that Parry had recommended;
            •   Ask someone else to interface with Parry to rough out the edges of his
                conclusions; or
            •   End the effort to cultivate Parry as a member of Monsanto’s Third Party network
                of experts reinforcing the company’s conclusions regarding the absence of



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               genotoxic or cancer risks following exposures to Roundup.

       3. Dr. Parry’s Second Report
       431.    On August 18, 1999, Dr. Parry transmitted his second, and more comprehensive

report to               . It encompassed and addressed an additional set of genotoxicity studies

provided to Dr. Parry by Monsanto, including multiple, confidential Monsanto regulatory

studies.

       432.    Again, at the end of his report, he offered three research recommendations “to

clarify the remaining problem...” noted in his analysis.

       4. Dr. Parry’s Third Report
       433.    The third and most comprehensive report by Dr. Parry was entitled “Evaluation of

the potential genotoxicity of Glyphosate, Glyphosate mixtures and component surfactants.”

(MONGLY01314233-01314267). The report includes 14 tables, and was based on Parry’s

review of a few dozen genotoxicity studies, both published and proprietary/unpublished.

       434.    The report was accompanied by a second document entitled “Key Issues

concerning the potential genotoxicity of glyphosate, glyphosate formulations and surfactants:

recommendations for future work.” In this four-page document, Parry poses eight “Key

Questions”; describes four “Deficiencies in the Data Set”; and, under “Actions Recommended,”

lists nine areas in need of further research.

       435.    Some of Dr. Parry’s research recommendations addressed the need for further

testing on both technical glyphosate and formulated GBHs, while others were specific to

glyphosate technical, formulated GBHs, or the surfactants in GBHs.

       436.    In this third report, Parry states: “I conclude that glyphosate is a potential

clastogenic in vitro.” A clastogen is a mutagenic agent which induces disruption or breakages of




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chromosomes, leading to chromosome deletion , addition , or rearrangement . In short,

clastogens damage DNA).

           437.   He was unable to draw a conclusion on the clastogenicity of formulated

glyphosate-based herbicides because of a lack of studies. He also states that “glyphosate

mixtures [i.e. GBHs] may be capable of inducing oxidative damage in vivo [in live animals].”

           438.   In his summary statement in the document setting forth research

recommendations, Parry writes: “My overall view is that if the reported genotoxicity of

glyphosate and glyphosate formulations can be shown to be due to the production of oxidative

damage then a case could be made that any genetic damage would be thresholded. Such genetic

damage would only be biologically relevant under conditions of compromised antioxidant

status.”

           5. Monsanto’s Response to Dr. Parry’s Reports
           439.   For many months, Monsanto continued to discuss internally Parry’s

recommendations for more refined genotoxicity testing. There was a February 15, 2001 phone

meeting in which Dr. Parry and two Monsanto scientists participated (                 and

           ). A Monsanto email dated 2/16/2001 (MONGLY02626548) reports that the meeting

“started off in a tense atmosphere because Parry was irritated by the language used in the

mutagenicity section of the Williams et al. paper.” (2000 genotoxicity review paper

commissioned and largely ghost-written by Monsanto, MONGLY02626553)

           440.   The email asserts that Dr. Parry “had begun to comprehend the complexity and

range of glyphosate formulations. In a section of the email entitled “Results,” Monsanto states

that Parry accepted that “glyphosate is not genotoxic”; the surfactants in Roundup are causing

genotoxic responses via an oxidative stress mechanism of action (as IARC concluded), but NOT




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via DNA damage (the second mechanism of genotox action highlighted in Parry’s reports and by

IARC); and, that “Dr. Parry no longer requested any studies on the final formulation.”

       441.    It is unclear to me what Monsanto is referring to in its use of the term “final

formulation.” However, in my opinion, it is highly unlikely that Parry communicated to

Monsanto in this February 15, 2001 call that he had changed his mind so completely, and now

saw no need for further genotoxic testing of Roundup formulations, given his repeated and

emphatic call for ALL Roundup formulations to be tested for genotoxic potential.

       442.    Hence, Monsanto’s assertion during this litigation that the Parry meeting notes

covering the February 15, 2001 phone call show that Dr. Parry had changed his position

regarding the need for further testing of Roundup and GBH genotoxicity is highly suspect.

       443.    In a February 12, 2001 email from                  , a Monsanto toxicologist, to his

colleagues Larry Kier, Donna Farmer, and William Heydens,                addresses Parry’s

recommendation to do additional in vitro micronucleus assays on Roundup surfactants. First, he

says “let’s include talk about laundry detergents, hand soap, dishwashing detergents…” that

contain similar surfactant chemicals.

       444.    On the prospect of another company asking Monsanto for permission to test the

genotoxicity of Roundup formulations,              says: “I know how I would react – with serious

concern.”

       445.    In explaining why he would be concerned,              lists five arguments that could

be advanced to scientists or regulators in addressing Roundup genotoxicity. First, the surfactants

in home cleaning products pose greater risk than agricultural products. Second, a positive study

on a Roundup formulation might trigger the notion that glyphosate might also be genotoxic.

Third, pure glyphosate is not genotoxic, based on data generated mostly by Monsanto. Fourth,




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some tests on certain formulations and surfactants have been negative (with no mention of the

several assays leading to positive results).

       446.    His fifth reason is identified as a “fallback position”:

       “…we can agree with some testing on either surfactant solutions (would suppliers
       agree with us?) or with glyphosate formulations which don’t exist anymore on
       the market (e.g. MON 35050) [Roundup “classic”].” [Emphasis added].

       447.              acquiescence to the testing of a Roundup formulation no longer on the

market, does not comport with the company’s professed goal to understand risk levels, and

avoid exposing people now buying and spraying Roundup to levels of exposure possibly

triggering adverse health outcomes and is inconsistent with voluntary pesticide industry

standards to test formulated products.

       6. Monsanto’s Response to Dr. Parry’s Research Recommendations
       448.    Dr. Parry’s final report provided 10 specific recommendations for further research

to Monsanto, following his review of several published and Monsanto-commissioned

genotoxicity studies.

       449.    The table inserted below provides an accounting of Dr. Parry’s genotoxicity

research recommendations. Some applied to both glyphosate technical and formulated GBHs.

The number of assays conducted by Monsanto in each area, as reported in the tables, are taken

directly from Exhibit 68 (“Surfactants: Genotoxicity Studies Conducted by Monsanto”) and

Exhibit 82 (“Dr. Parry’s Recommendations (8/19/99)”) in the September 27-28, 2018 deposition

of Dr. Donna Farmer, a Monsanto scientist designated to address glyphosate and Roundup

genotoxicity and oncogenicity.




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       450.       My overall conclusions regarding Monsanto’s response to Dr. Parry’s

recommendations appear in the below table, and are based on the above table.




       451.       Accordingly, in response to Parry’s recommendations for additional genotoxicity

testing of glyphosate technical:

              •    14 assays were recommended in 4 areas (Parry recommendations 1-4)
              •    Monsanto conducted 1 assay in one area (Parry recommendation #2)


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              •    An adequate number of new assays were conducted in 0 of 4


       452.       In response to Parry’s recommendations for additional assays on formulated

GBHs and GBH surfactants:

            • 70 assays were needed in 6 areas (Parry recommendations 5-10), based on an
         average of 2 assays on 5 formulations for a given test, and 2 tests in recommendation #4
         (mouse liver and mouse kidney);

             • Monsanto conducted 26 of the 70 needed assays (37%), including 17 in Parry
         recommendation #8; and

              •    Zero or 1 assay was carried out in 4 of the 6 areas.


       453.       Overall, in response to Dr. Parry’s research recommendations, Monsanto carried

out 27 of 84 recommended assays (32%), and 0 or 1 assay in 8 of the 10 areas of

recommendations.

       454.       In addition, Dr. Parry identified six areas of study that were not needed or low-

priority. Despite Parry’s recommendation, Monsanto carried out 40 assays in these low-priority

areas -- considerably more assays than the company conducted in response to Parry’s high-

priority recommendations (27 assays).

       455.       Of the 40 assays done in low-priority areas, 37 were Bacterial reverse mutation

assays. In light of the more than two-dozen negative Bacterial reverse mutation regulatory

studies that had already been conducted, it is hard to explain why Monsanto did so many

Bacterial reverse mutation studies. The record shows that some were requested by regulatory

authorities outside the U.S., but not 37.

       456.       I conclude that Monsanto’s failure to test formulated Roundup herbicides for

genotoxicity, as recommended by Dr. Parry, is a primary reason why the EPA and other

regulatory authorities have failed for decades to recognize the potential for glyphosate-based


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herbicides to increase the risk of cancer, including risk of NHL, via genotoxic mechanisms of

action.

          457.   In my opinion Dr. Parry’s reports triggered an obligation for Monsanto to: (1)

submit Dr. Parry’s report to the EPA, under FIFRA Section 6(a)(2); (2) update the Roundup

label to disclose the potential of genotoxicity risk following significant and/or long-term

exposures to Roundup; and (3) conduct the various studies proposed by Dr. Parry to further

confirm or refute the genotoxicity of formulated GBHs.

          458.   Monsanto did not disclose Dr. Parry’s reports to EPA, nor did it add a

genotoxicity warning on Roundup labels.

          B. EPA’s and IARC’s Evaluation of Glyphosate Genotoxicity

          459.   EPA’s post-IARC risk assessment of glyphosate was entitled “Glyphosate Issue

Paper: Evaluation of Carcinogenic Potential” and is dated September 12, 2016. It contains the

EPA’s assessment of genotoxicity studies conducted on glyphosate technical, and restates the

Agency’s position -- “The overall weight of evidence indicates there is no convincing evidence

that glyphosate induces mutations in vivo via the oral route” based on current, labeled uses and

typical, expected exposures.

          460.   Note that the EPA’s conclusion regarding glyphosate’s genotoxicity is based on

the general public’s typical glyphosate exposures via food, and does not apply nor encompass

occupational, dermal, or inhalation exposures to Roundup or other GBHs.

          461.   This distinction is critical in understanding why EPA and IARC disagree

regarding genotoxic risk, and in their differing classifications of glyphosate and GBH oncogenic

potential. EPA’s conclusion is clearly limited to general public, average and expected dietary

exposures to glyphosate (absent surfactants), whereas IARC’s conclusion encompasses all routes



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of exposure, with heavy weight on studies and data reflecting the relatively high human

exposures experienced by applicators of GBHs, or people living in or near areas with heavy

GBH use (and hence, people exposed simultaneously to glyphosate and GBH surfactants and co-

formulants).

       462.      In the September 2016 draft and its 2017 final report, the EPA explains why it’s

detailed assessment is limited to genotoxicity studies on glyphosate technical -- the Agency is

waiting for the completion of ongoing work by the National Toxicology Program (“NTP”) on

formulated GBH genotoxicity prior to reaching a judgement on differences in the genotoxicity of

pure, technical glyphosate, in contrast to GBHs.

       1. Studies Relied Upon by EPA and IARC
       463.      In March 2015, reporting the “probably carcinogenic to humans” classification of

glyphosate and GBHs, the IARC Working Group highlighted “strong evidence” of genotoxicity

as an important factor supporting its ultimate “probable human carcinogen” classification. The

basis for IARC’s glyphosate classification, and the genotoxicity studies reviewed by the

Working Group, are described in detail in the IARC Monograph 112 volume initially released on

July 29, 2015.

       464.      The mutagenicity and genotoxicity studies and assays cited and relied upon by the

EPA and IARC differ significantly, as evident in my analysis of the genotoxicity-related tables in

the EPA and IARC risk-assessment documents. The data sources and methods used in my

analysis are described in my published paper “How did the US EPA and IARC reach

diametrically opposed conclusions on the genotoxicity of glyphosate-based herbicides.” This

peer-reviewed paper appeared in Environmental Sciences Europe (Vol. 31, January 14, 2019;

https://enveurope.springeropen.com/articles/10.1186/s12302-018-0184-7).




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       465.       The following discussion focuses on the genotoxicity tables in the September

2016 draft EPA report, because that is the version of EPA’s glyphosate oncogenicity report that I

used in my detailed EPA vs. IARC comparison, and as the basis for the tables in my published

paper in ESE. The genotoxicity-related differences between the September, 2016 and final EPA

glyphosate oncogenicity report issued in December 2017 are minor and do not alter any of my

empirical findings or opinions.

       466.       Pages 99-125 of the 2016 EPA glyphosate oncogenic risk assessment discuss

studies on “Gene Mutations” involving technical glyphosate. Seven tables in this section identify

the specific, mostly regulatory studies on glyphosate technical that were considered by EPA, and

reports whether the study presented data positive for one or more genotoxic responses, or were

negative for genotoxicity.

       467.       The IARC Monograph report has a similar set of tables assessing roughly the

same categories of genotoxicity studies addressed in the EPA report, plus four types of studies

not considered by EPA (exposed humans, human cells in vitro - AMPA, non-human mammals in

vivo - AMPA, and non-mammalian systems in vivo - AMPA; AMPA is the principle metabolite

of glyphosate).

       468.       Like the EPA report, the IARC Working Group also identifies whether a given

study or assay was positive or negative for evidence of genotoxicity. But unlike EPA, the IARC

Working Group reviewed mostly studies in peer-reviewed journals on glyphosate technical and

formulated GBHs.

       469.       The data in the remainder of this section is taken from tables in my “EPA vs

IARC Genotox” paper and/or the supplemental tables posted online at the ESE website.




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       470.    IARC cited 118 genotoxicity studies (Table 2). Of these, EPA cited only 51 in its

2016 report, or about 43% of those considered by IARC. Accordingly, IARC considered 67

studies not reviewed by EPA.

       471.    The studies cited by IARC, but not EPA included several of the most important

studies done in the wake of human exposures to Roundup; these are the type of studies that most

scientists, the EPA, and Monsanto regard as most relevant in the evaluation of any chemical’s

potential to trigger DNA damage in humans.

       472.    Of the 118 studies reviewed by IARC, 54 fell in mammalian test categories, and

are regarded as more relevant to assessment of glyphosate’s potential to trigger human cancer

through a genotoxic mechanism of action than studies in non-mammalian organisms. EPA

considered 40 of these mammalian studies/assays, or 74% of the number reviewed by IARC.

       473.    Of the five studies on “Exposed Humans” reviewed by the IARC Working Group,

three were regarded as positive. These studies were given little or no weight by EPA because

they entailed exposures to formulated GBHs, not technical glyphosate (the focus of EPA’s

review).

       474.    IARC reviewed five studies classified as “Oxidative Stress Human Cells in vitro -

Glyphosate,” of which four were positive. EPA considered one of these studies (the positive

Mladinic et al [2009b] study).

       2. Results of Registrant-Commissioned Versus Peer-Reviewed Genotoxicity Studies
          Considered by IARC and EPA

       475.    I conducted a detailed analysis of the outcome of the glyphosate and GBH

genotoxicity studies and assays conducted or commissioned by Monsanto or other registrants

(“Registrant Studies”), in contrast to studies and assays carried out by scientists not working on

behalf of a GBH registrant, and who published study results in peer-reviewed journals.The



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number of assay results generally exceeds the number of studies, because some studies report the

results of more than one assay.

        476.    All regulatory studies cited in the September 2016 EPA report, or in a Monsanto-

commissioned genotoxicity review articles, were analyzed relative to “positive” or “negative”

results. Likewise, all studies published in peer-reviewed journals that were cited by EPA and/or

the IARC Working Group were identified and analyzed, along with whether they reported

“positive” or “negative” genotoxicity results.

        477.    Genotoxicity studies/assays in the 2019 ESE paper were listed in the seven

categories the EPA used to organize the glyphosate-technical genotoxicity studies the agency

reviewed. The results of Registrant Studies in each category were compared to the results of

studies published in peer-reviewed journals (public literature).

        478.    A total of 104 studies on glyphosate technical were identified. Of these, 52 were

Registrant Studies and 52 were published in science journals (Table 1).

        479.    Of the 52 Registrant Studies assessing the genotoxicity of glyphosate technical,

only one reported a positive result (an in vivo bone marrow micronucleus study), while 35 of the

public-literature studies reported positive evidence of genotoxicity (67%).

        480.    In the case of studies assessing the genotoxicity of formulated GBHs, registrants

conducted 43 studies cited by the EPA and/or in a Monsanto-commissioned review article, and

another 65 were published in science journals, for a total of 108.

        481.    Across the total 108 genotoxicity studies on formulated GBHs, none of the

Registrant Studies reported evidence of a genotoxic response, compared to 49 (75%) of the

public-literature studies.




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       482.    Of the 95 assays conducted by registrants on glyphosate technical and formulated

GBHs, 51 were bacterial reverse mutation studies (54%), only one of which was positive.

       483.    The EPA’s pesticide testing requirements call for only one bacterial reverse

mutation studies on technical glyphosate (see “Table -- Toxicological Data Requirements,” page

60976, Federal register, Vol. 72, No. 207, October 26, 2007), raising questions about why

registrants (mostly Monsanto) conducted so many repeat studies that added little or nothing to

existing scientific knowledge.

       484.    Supplemental Table 11 reports the number of assays considered by IARC, but not

by EPA, and number considered by EPA, but not IARC.

       485.    Across all categories of genotoxicity assays, IARC considered 67 assays not

considered by EPA, of which 55 reported one or positive result (82%).

       486.    EPA considered 109 mostly Registrant Studies that IARC did not, of which seven

reported a positive genotoxic response (6%).

       3. Significant Impact Evident of the Year When Studies were Completed
       487.    A review of the date when Registrant Studies were conducted, compared to when

public literature studies using the same, or similar assay systems, is revealing.

       488.    In terms of in vivo chromosomal aberration studies on glyphosate technical, the

most recent registrant study cited in EPA’s September 2016 report was completed in 1994, while

two of three public literature studies were done in 2012. In the case of the same type of study on

formulated GBHs reported in public literature, seven of eight assays were completed in the 2005-

2011 (five positive), while no such study/assays on GBHs have been carried out by registrants.

       489.    The 15 in vivo micronuclei assays carried out by registrants on GBHs were done

during or before 2011, all negative. Five of 16 public literature studies were done from 2011

through 2013 (all positive).


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       490.    In terms of glyphosate technical assays exploring DNA damage in humans, only

two registrant studies were completed, one in 1978 and the other in 1982, both of which were

reported as negative. The public literature contains studies reporting the results of 20 assays

conducted since 2004, 18 of which reported one or more positive result.

       491.    Table 4 in my “EPA vs IARC Genotox” paper reports the results of 27

genotoxicity studies published in scientific journals since completion of IARC’s glyphosate

monograph and the writing of the EPA glyphosate oncogenicity report.

       492.    All 11 newer studies on glyphosate technical reported positive evidence of a

genotoxic response, while 18 out of 19 studies on formulated GBHs recorded one or more

positive assay result.

       493.    In my opinion, genotoxicity assays designed to detect direct damage to DNA in

humans following exposure to a formulated GBH are the most important in evaluating

glyphosate and GBH genotoxicity, and oncogenic potential. In 2001, Monsanto conducted one

direct DNA damage study on a GBH formulation, MON 35050. It reported no evidence of

oxidative stress in liver or kidney cells. The public literature reports the results of 32 direct DNA

damage assays since 2005, of which 27 have reported one or more positive responses.

       494.    Based on the above analysis, I conclude that the dramatic differences in the results

of genotoxicity assays reported in Registrant Studies, in contrast to assay results appearing in

peer-reviewed journals, arise from the state-of-science when various studies were conducted,

coupled with the generally more sensitive and/or relevant assay systems used by the scientists

publishing their results in peer-reviewed journals (especially far fewer old assays and Bacterial

reverse mutation assays, and far more, relatively recent in vitro and in vivo studies with

formulated GBHs).




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       495.    I also conclude that EPA’s limited assessment of genotoxicity data on formulated

GBHs, coupled with the agency’s dependence on older, less sophisticated and less relevant

assays explains why IARC identified “strong evidence” of genotoxicity and EPA expressed no

concern over the mutagenicity of glyphosate technical following typical levels of dietary

exposure.

       C. Conclusions Regarding Monsanto Efforts to Understand and
          Address the Genotoxicity of Roundup

       496.    In my opinion, based on the composition of formulated, glyphosate-based

herbicides (GBHs) sold by Monsanto since the early 1980s, Roundup has almost certainly

always been genotoxic. In 2015, the International Agency for Research on Cancer (IARC)

concluded that there is “strong evidence” that GBHs are genotoxic through at least two genotoxic

mechanisms known to be associated with cancer in humans.

       497.    In my opinion, the fundamental flaw in EPA’s assessment of Roundup

genotoxicity has been, and remains, the agency’s near-sole focus on generally old, and in some

cases outdated, genotoxicity assays testing pure, glyphosate technical, coupled with the absence

of serious consideration of dozens of published and positive assay results on formulated GBHs,

the herbicide products actually sprayed, and to which people are exposed.

       498.    EPA justified its approach to genotoxicity testing on the basis of a flawed

assumption -- that the “inert” ingredients used in the formulation of Roundup herbicides were,

indeed, inert biologically, and therefor posed no genotoxic risk in formulated GBHs. As

discussed below, such assumption is flawed.

   VIII. Roundup Surfactants, Differential Toxicity and Monsanto
         Initiatives to Reduce Applicator Exposures and Risk



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       499.    Human health and environmental risks from pesticide applications can arise from

three general categories of ingredients, or components, which are then combined in a commercial

pesticide product: (1) the active ingredient itself, (2) the so-called “inert ingredients” added to

certain end-use products (e.g., surfactants and adjuvants), and (3) any impurities in the active or

inert ingredients that are formed during manufacturing processes, or as a result of a chemical

reaction that occurs between the time the pesticide is made and/or mixed at a chemical plant and

applied by a user.

       500.    “Inert ingredients” are added to liquid, end-use pesticide products like Roundup to

assure that the active ingredient (glyphosate): (a) remains thoroughly mixed and stable, (b) is

compatible with other pesticides or liquid fertilizers that might be combined in a tank-mix and

applied via a single pass through a field or over a treated area, and (c) adheres to, and penetrates

into whatever weeds or unwanted vegetation the herbicide is sprayed on.

       501.    Herbicide adjuvants and surfactants are regarded as “inert ingredients” by EPA

because, in general, they do not contribute directly to the capacity of the herbicide to kill or

control weeds. But several inert ingredients, by themselves, pose toxicological and/or

environmental risks, and hence are not “inert” in the sense of contributing to the risk profile of an

end-use herbicide product.

       502.    In addition, several herbicide surfactants, including most of those used in

formulating Roundup-brand herbicides since the 1970s, alter the environmental fate and

toxicological risk profile of GBHs, compared to glyphosate technical. They do so by altering in

significant ways each component of the ADME of glyphosate (Absorption, Distribution,

Metabolism, and Excretion).




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       503.    In the case of formulated Roundup, surfactants increase herbicide efficacy by

enhancing the movement of the glyphosate in the formulated product through the surface of plant

leaves, into the plant where the glyphosate molecule is protected from rainfall and sunlight.

       504.    Two major categories of inert ingredients are surfactants and adjuvants.

Surfactants are added to formulated herbicides to “interfere with proper membrane function”

(MONGLY01700591), such as keeping foreign chemicals, viruses, and bacteria out of cells.

       505.    Such differences can be important to regulators, applicators, and public health in

cases where the inert ingredients in a pesticide alter the toxicity profile of the formulated

pesticide product. This can happen in several different ways.

       506.    The primary surfactants used for years in Roundup formulations fall within the

family of polyoxyethylene-alkylamine (POEA) surfactants. According to Monsanto, a POEA

surfactant was generally present in a 3:1 ratio of glyphosate to POEA in the early years of

commercial use in the U.S., with the concentration of POEA falling to ratios around 7:1 in many

Roundup brands since ~2000. (MONGLY01700591).

       507.    Roundup original (MON 2139) contained 41% of the IPA salt of glyphosate and

    % of MON 0818, a                          surfactant, for a ratio of     ; Roundup

Weathermax contained 49% of the potassium salt of glyphosate and           % of

surfactant (                         blend), for a ratio of      (Terry Kaempfe Powerpont ,

February 16, 2009). However, some Roundup brands have nearly equal concentrations of

glyphosate technical and surfactants, and a few more surfactant than glyphosate (e.g. Roundup

Weed & Grass Killer RTU Plus: 2% IPA glyphosate, % surfactants) .

       508.    A Monsanto Powerpoint includes a slide “Tallowamine (POEA) Containing

Products. After noting other uses of the surfactants in many Roundup brands, the slide states:




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“Surfactants are not biologically ‘inert’, they can be toxic and this must be addressed”

(MONGLY06521465).

       509.    Another slide in the same presentation is entitled “Roundup is safe” states that

“Surfactants in Roundup herbicides are unlikely to produce significant adverse effects to humans

or animals under normal conditions of exposure” (emphasis added) (MONGLY06521467). The

presentation does not further explain what “normal conditions of exposure” are, but the

implication is that unusual exposure episodes might produce “significant adverse effects to

humans.”

       A. Heightened Toxicity Caused by the Surfactants in Formulated
          Roundup

       510.    The distinction between the risks associated with 100% pure active ingredients

(i.e., glyphosate), in contrast to formulated products containing inert and active ingredients (i.e.,

Roundup or other GBH), is critical from the perspective of the accuracy of pesticide risk

assessments.

       511.    Almost all of the testing required by the EPA has been on technical glyphosate,

including all of the long-term animal oncogenicity tests. Hence, most EPA and Monsanto

judgements and claims relative to the oncogenicity of Roundup, are based on tests conducted

with pure glyphosate, an herbicide which no one has ever applied.

       512.    In the case of pure glyphosate versus formulated Roundup, the risks posed by the

latter are greater than the former for three primary reasons: (1) the inert ingredients in Roundup

(including their impurities) are more toxic than glyphosate itself, (2) Roundup inert ingredients

increase the amount of glyphosate moving through the skin when applicators are exposed, and

(3) the POEA surfactants in Roundup increase the amount of glyphosate reaching and




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penetrating cell walls in exposed mammals, and hence increase DNA-damage risk levels in

exposed human populations.

        513.   A paper in The Lancet appeared in 1988 (Sawada, et al., Probable toxicity of

surface-active agent in commercial herbicide containing glyphosate, The Lancet, 1(8580): 299)

in which the authors attributed acute, glyphosate-herbicide poisoning symptoms among several

Japanese patients to the “inert ingredient” surfactant POEA in formulated Roundup, and not the

active ingredient (glyphosate). The Japanese team reported that the acute lethal dose (i.e., LD-

50) of POEA in animal studies is one-third that of glyphosate, which explains why the LD-50 of

glyphosate active ingredient is higher (less toxic) than the LD-50 of Roundup herbicides

formulated with the surfactant POEA.

        514.   This article in The Lancet triggered attention by independent scientists to the

possible human health impacts of the inert ingredients in Roundup herbicides. Damage to red

blood cells was among the adverse mammalian impacts of POEA noted by the Japanese

scientists.

        515.   Inert ingredients in formulated pesticide products can also, themselves, contain

toxic impurities and contaminants. While pure glyphosate contains the nitrosamine-impurity

NNG, the POEA surfactant in formulated Roundup products contains 1,4-dioxane.

        516.   A U.S. National Cancer Institute bioassay of 1,4-dioxane found that the chemical

causes hepatocellular adenomas and carcinomas in the kidneys of rats

(https://ntp.niehs.nih.gov/ntp/htdocs/lt rpts/tr080.pdf). In 1982, the International Agency for

Research on Cancer classified 1,4-dioxane as a possible human carcinogen (IARC, IARC

monographs on the evaluation of the carcinogenic risk of chemicals in humans. Supplement 4,

WHO, 1982). An EPA report from 1986 listed 1,4-dioxane as a probable human carcinogen.




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       B. European Regulators Press Monsanto to Better Characterize and
          Reduce Risks Arising from the Surfactants in Roundup

       517.    In July 1999, the Italian Pesticide Committee, a European regulatory body, held a

meeting on the regulation of Roundup herbicide. It decided that new genotoxicity studies on both

glyphosate and formulated Roundup would be required to assess genotoxicity and DNA repair ,

following OECD Guideline 486 (1998).

       518.    Monsanto employee Gabrielle Fontana forwarded the news regarding this new

genotoxicity study requirement to senior Monsanto scientists including                 , William

Heydens, Donna Farmer, Larry Kier, and                      in a July 29, 1999 email

(MONGLY00877684).

       519.    In response,         said that the OECD 486 test “is not an unreasonable request

but suggest some liver toxicity along with it to explain bumpy responses at the high dose. This

test has also been requested by the French for MON 4660 and there the risk is greater because of

extreme liver toxicity” (MONGLY0877684).

       520.    A few hours later, William Heydens adds to the email chain: “I don’t think an in

vivo UDS [the OECD 486 test] is reasonable for glyphosate…Now, formulations are obviously

another issue…liver toxicity with formulations could be a confounding factor, and we would

have to design and conduct the study very carefully (using our alachlor & acetochlor experience)

if we are ultimately forced to do it” (MONGLY00877684).

       521.    Two days later, Donna Farmer adds to this email chain, and writes: “Sorry I am

weighing in on this late…It is too premature to discuss conducting any studies. I will not support

any studies on glyphosate formulations or other surfactants at this time…”

(MONGLY00877684).




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       522.    Despite numerous studies published in peer-reviewed journals beginning in the

late 1980s pointing to the heightened toxicity of Roundup formulations including POEA

surfactants, compared to pure glyphosate, Monsanto has never conducted the studies needed to

assess these concerns .

       523.    Moreover, Monsanto has never conducted a long-term animal carcinogenicity

study on a GBH formulation, or the POEA surfactant used in formulated Roundup brands sold in

the U.S.

       1. Monsanto Agrees to Phase Out POEA Surfactants in All Roundup Brands Sold
          in Europe

       524.    From 2000 through Monsanto’s decision around 2012 to phase out all POEAs in

Roundup-brand herbicides sold in Europe, European regulators pushed Monsanto to conduct new

and better studies on the differences in glyphosate versus Roundup genotoxicity, and on how the

POEA surfactants in Roundup impacted the rate at which the glyphosate in formulated Roundup

moves through the skin of applicators using handheld or backpack sprayers.

       525.    Most of the Monsanto-commissioned studies on dermal absorption rates available

to regulators in Europe and the U.S. were done in the 1980s, and tested only glyphosate

technical. By the mid-2000s, several papers had been published in peer-reviewed journals

reporting that the POEA surfactants in Roundup likely accounted for the greater genotoxicity of

Roundup versus technical glyphosate, and likely because POEA surfactants increase passage of

glyphosate through the skin, and then through cell membranes.

       526.    In a January 30, 2010 email, William Heydens stated that Monsanto continues to

defend POEA surfactants because of concern over a “domino effect” on the closely related

etheramine surfactants, which Monsanto was beginning to use in place of POEAs in the hope of

appeasing the concerns raised by European regulators (MONGLY02062439).



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       527.    Heydens was responding to a January 25, 2010 email from his colleague

        on the question of whether to phase out known, high-risk POEA surfactants. After

discussing some new studies underway on an alternative surfactant,          wrote: “Anyway,

there are non-hazardous formulations so why sell a hazardous one?” (emphasis added;

MONGLY02062440).

       528.    In a June 8, 2010 email regarding Roundup formulations containing POEA

surfactants in Argentina, William Heydens wrote to Monsanto colleagues in Argentina: “So I

would think that a backup plan of reducing POEA content is not sufficient, but rather a POEA-

free formulation (or formulations) would be necessary to totally protect your business in

Argentina” (MONGLY02013061).

       529.    In a Powerpoint prepared for “Regulatory Leadership Meetings” in November

2010, a slide addresses the business impact of the loss of POEA surfactants. “Germany is major

concern” noting that “restrictions on POEA uses pre-harvest had significant negative impact on

sales in 2010.” (MONGLY02721133).

       530.    The “Strategy in Germany” included three core elements: (1) defend POEAs; (2)

register non-POEA formulations; and (3) “Managed exit from POEA” to “Avoid a ban”; “Focus:

voluntary non-renewal of registrations (e.g. MON 14420 and 2012)”, resulting in “No sales [in

Europe] of any POEA products after 2012” [Emphasis added] (MONGLY02721133).

       531.    The discovery record shows that Monsanto-Europe did phase out all POEA

surfactants in Roundup-brand herbicides sold on the continent -- both for non-agricultural and

agricultural uses -- between 2012 and 2014. As noted above,          characterized this shift as

from hazardous formulations to non-hazardous alternatives.




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       532.    A comparable shift away from high-risk POEA surfactants has not been

undertaken in the Roundup brand herbicides sold in the U.S.

       2. Evidence of Endocrine Disruption Adds New Pressure on Monsanto-Europe to
          Phase out High-Risk Surfactants

       533.    Around year 2000, the European Commission put in place a new set of testing

guidelines to assess the degree to which formulated pesticides have the potential to disrupt the

functioning of the endocrine system. Such chemicals are generally referred to as “endocrine

disruptors” and have been linked to a number of developmental problems, impaired immune

responses, and chronic diseases.

       534.    The U.S. Congress directed the EPA to assess the potential of pesticides to disrupt

the endocrine system in a provision included in the 1996 Food Quality Protection Act.

       535.    In April 2002 Monsanto employees in Europe reported to headquarters that

European regulators were working on development of a list of possible endocrine disrupting

pesticides, and that some new assays might be required on glyphosate and/or formulated

Roundup herbicides.

       536.    In response to this news, William Heydens sends an email at 7:20 a.m. on April

25, 2002 to Donna Farmer. In it, he suggests a call to “…to see if there is anything more we

should be doing besides the usual ‘pay no attention to the man behind the curtain’.” He ends this

email by saying “…this damn endocrine crap just doesn’t go away, does it.”

       537.    Farmer replies to Heydens at 8:19 a.m. and writes that the “interest[ing] point is

that published tests of glyphosate-endocrine disruption show that pure glyphosate has no effect,

but formulated product (i.e. Roundup) does” [Emphasis added] (MONGLY00885551).




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       538.    In response to Farmer, Heydens responds at 10:47 a.m. the same day, and reports

that after discussions with other Monsanto experts, they “…concluded, not surprisingly, that we

are in pretty good shape with glyphosate but vulnerable with surfactants.” (Emphasis added).

       539.    In my opinion, Monsanto should have conducted the new genotoxicity studies on

formulated GBHs that were recommended by Parry in 1999, and later sought by European

regulators in 2002. Monsanto’s failure to probe the differences in pure glyphosate versus

formulated Roundup genotoxicity perpetuated two myths: (1) Roundup and other glyphosate-

based herbicides are not genotoxic, and (2) there is no need for more accurate data on applicator

and worker exposure levels, nor are any additional worker-safety requirements warranted, like

wear gloves when applying Roundup. Moreover, this failure violated voluntary pesticide

industry standards requiring the testing of formulated products as articulated in the FAO

International Code of Conduct on Pesticide Management, (formerly the International Code of

Conduct on the Distribution and Use of Pesticides).

       540.    In Europe, Monsanto replaced its high-risk POEA surfactants predominately with

propoxylated quaternary ammonium surfactants (Dodigen 4022). Multiple genotoxicity studies

have been conducted and published in recent years comparing the genotoxicity of POEA-based

Roundup versus quaternary ammine-Roundup.

       541.    With co-authors Michael Antonio and Robin Mesnage, I published a paper

entitled “Insight into the confusion over surfactant co-formulants in glyphosate-based

herbicides” in the peer-reviewed journal Food and Chemical Toxicology (Vol 128, June 2019,

pages 137-145). The paper cites studies reporting that POEA-based Roundup is 10 to 1,000 times

more genotoxic than quaternary ammine-Roundup in a variety of human and animal cell assays

(e.g. “Tests on human cells found that MON 52276 [Roundup with a quaternary ammine




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surfactant] was 50-times less cytotoxic than the etheramine-based formulation Roundup GT

plus.”)

   542.        In my opinion, Monsanto’s decision to make its Roundup-brand herbicides so

much safer in Europe, but not in the U.S., is inconsistent with the company’s pledge to always

put product safety first, especially in the case of lawn and garden, and other non-agricultural

Roundup products applied with a hand wand, and violated voluntary pesticide industry standards

of care such as the FAO International Code of Conduct on Pesticide Management, (formerly the

International Code of Conduct on the Distribution and Use of Pesticides).




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   IX.     Monsanto Failures to Adequately Estimate Applicator Exposures
           and Risk and Refusal to Augment Worker-Protection Provisions as
           Called for in the 1986 EPA Registration Standard

       543.    In the 227 page final report issued on September 12, 2016 by EPA on glyphosate

carcinogenic potential, applicator and worker exposures receive scant attention and are not

addressed in the report in a meaningful way.

       544.    One-half of one paragraph appears on page 15 addressing, in general, applicator

and worker exposures. The EPA than states “The agency considers all of the anticipated

exposure pathways as part of their evaluation for human health.” Yet there are no sections in the

report devoted to worker and applicator exposures, nor analysis of the generally far-higher levels

of exposure experienced by applicators via dermal absorption, as compared to typical, everyday

exposures for most Americans via the food supply.

       545.    This is why the EPA clearly limits its final judgement regarding Roundup

carcinogenicity to the carcinogenicity of glyphosate only, and furthermore, only to the general

public based on typical levels of dietary exposure.

       546.    The EPA’s final conclusion relative to the genotoxicity of glyphosate is even

clearer in setting boundaries that exclude worker and applicator exposures to Roundup. The EPA

states: “The overall weight of evidence indicates there is no convincing evidence that glyphosate

induces mutations in vivo via the oral route.” Note the EPA’s focus on “glyphosate” and not

Roundup; and, exposures to glyphosate via the “oral route,” and NOT dermal exposures to

Roundup.

       547.    The failure of EPA to accurately estimate worker and applicator exposures to

Roundup arose, at least in part, because of the unwillingness of Monsanto to generate and submit

to EPA the data necessary to sharpen estimates of worker and applicator exposures.



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       548.     The typical, expected rate of dermal absorption of glyphosate through the skin of

workers and applicators exposed to Roundup is one of the most important examples of an old,

outdated, and almost certainly inaccurate risk-assessment parameter.

       549.    In a 2009 internal Powerpoint, David Saltmiras, a senior Monsanto toxicologist,

includes a slide entitled “Dermal Absorption -- Operator Systemic Exposure and Risk

Assessment.” In it, Saltmiras writes that:

           •   “Exposure assessment will impact politically (and scientifically) driven use
               restrictions in the EU”;
           •   “Operator Exposure is dependent on dermal absorption”;
           •   “Syngenta [registrant of a competing GBH called Touchdown]: 0.1 - 0.3% dermal
               absorption based on in vitro human skin study”; and
           •   “Monsanto: 3% dermal absorption based on older non-GLP data”.

       550.    Saltmiras then goes on to state that the multi-company glyphosate Toxicology

Working Group (Monsanto, Syngenta, Cheminova) will undertake the same dermal absorption

studies conducted by Syngenta, at the same lab (DTL) used by Syngenta.

       551.    The private contract lab DTL was started by a scientist who had previously

conducted dermal absorption studies in-house for Syngenta. The accuracy of the DTL in vitro

human skin dermal absorption methodology has been addressed in detail in the expert reports

and testimony of plaintiff’s toxicology expert Dr. William Sawyer.

       552.    In the course of the in-depth regulatory review of Roundup uses and risks

undertaken by European pesticide regulators in the 2000s, Monsanto was required to update and

refine the studies supporting the then current glyphosate dermal absorption rate of 3%. This

“default value” has been the basis of both U.S. EPA and European worker-exposure estimates for

over three decades.

       553.     Monsanto’s efforts to generate more accurate data on glyphosate and Roundup

dermal absorption rates are discussed below.


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       A. Monsanto Terminates TNO Study, Which Showed Elevated Rates of
          Dermal Absorption

       554.    Monsanto commissioned new studies on the rate of dermal penetration of

Roundup herbicides and technical glyphosate, in response to questions from EU regulators.

Studies responsive to this request were needed to sharpen estimates of worker-exposures and

risk, especially in the case of formulated Roundup products containing POEA.

       555.    Monsanto commissioned a dermal penetration study on rat and human skin in

which both glyphosate and formulated Roundup were tested. It was conducted by a Denmark

contract laboratory, TNO, in 2002.

       556.    The rate of dermal absorption when a person’s skin is exposed to a glyphosate-

based herbicide like Roundup is a key variable in estimating applicator exposure and risk. Low

dermal-absorption rates, other things being equal, will result in less worrisome warning symbols

on labels, less strict limits on use, and/or fewer and less onerous requirements for personal

protective clothing and equipment for those mixing, loading, or applying pesticides.

       557.    In EPA’s 1986 glyphosate Registration Standard and the 1993 EPA Re-

registration Eligibility Document (RED), the agency incorporated an estimated, default 3%

dermal penetration rate (also called an “absorption rate”) for glyphosate in its estimates of

applicator exposures and risk.

       558.    An email exchange in April 2002 between Monsanto employees in Europe

working on the new data required by German regulators, and senior Monsanto personnel in St.

Louis (Heydens, Healy, Farmer,            , Wratten, among others), reported that Monsanto-

Europe had agreed to conduct a new in vitro dermal penetration study with rat and human skin.

       559.    The results of the rat skin portion of TNO study were initially reported to a

Monsanto scientist stationed in Belgium (                     ) via a phone call from TNO and


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were later transmitted in a 22-page “unaudited draft report” dated June 14, 2002

(MONGLY00888353-0088388). The “Draft report” stated that the dermal absorption rate for

the glyphosate in the concentrate of the formulated Roundup herbicide (MON 35012) through rat

skin is 10.3%, plus or minus 4.2%, resulting in a range of 6.1% to 14.5% after 48 hours of

recovery.

       560.    TNO also tested the same MON 35012 formulation at a field-concentration rate

that delivered a glyphosate dose of 0.08 mg/cm2 during the experiment, as opposed to the 6.25

mg/cm2 in the case of the concentrate (i.e., a 78-fold dilution rate). In the case of the field-diluted

rate of MON 35012, the unaudited draft report reported that 2.6% +/- 1.4% of the glyphosate

applied to the rat skin penetrated through it (range 1.2% to 4%).

       561.    TNO also measured rat skin penetration of pure glyphosate in a MON 0139 70%

solution (70% glyphosate, 30% water), both as a concentrate and diluted 79-fold. For the pure

glyphosate concentrate, 1.3% +/- 1.9% penetrated the skin, and 1.4% +/- 2.2% in the case of the

diluted, pure glyphosate test substance.

       562.    Based on these initial TNO study results, the percent of glyphosate penetrating the

rat skin was 7.9-times higher in the case of the concentrate of the formulated product, compared

to the concentrate of pure active ingredient.

       563.    According to           , the large difference between the dermal absorption rate of

formulated Roundup (mid-range estimate, 10.3%) compared to pure glyphosate (mid-range

estimate, 1.3%), “confirm our expectation that surfactant concentration affects dermal

absorption.” (Emphasis added)

       564.    In an April 2, 2002 email from William Heydens to his colleague Charles Healy

about the “new issues and topics for the conf call of Tuesday, 2 April,” Heydens wrote:




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   “My primary concern is with glyphosate in terms of the potential for this [TNO]
   work to blow Roundup risk evaluations (getting a much higher dermal penetration
   than we’ve ever seen before.” (MONGLY03738295)


   565.    Heydens concern that the TNO study might “blow Roundup risk evaluations”

arose from the fact that an increase in the Roundup dermal absorption rate incorporated in

worker risk assessments from 3% to 10%, as seemingly called for in this TNO study with a

formulated Roundup herbicide, would dramatically increase estimated exposures and risks.

   566.    In an April 4, 2002, email,            reports to the group that, as a result of the

TNO results reported to Monsanto, “we came to the conclusion that the penetration of

glyphosate would have been [probably] greater than the 3% already imposed by the German

authorities. We decided thus to STOP the study (effective today).” (Emphasis in original;

MONGLY03737015)

   567.    Donna Farmer replied to this email later the same day, asking for clarification,

leading to an email the next day from                  , a Monsanto scientist directly involved

with the scope and focus of recent and ongoing work on dermal absorption.

   568.            wrote in his April 5, 2002 email response to Farmer, and all others on the

April 2 email chain, “We dropped the programme for glyphosate because a further study was

not likely to help us meet the project objective...”, which was to make the case for reducing

below 3% the glyphosate dermal absorption rate used by regulators.

   569.    Moreover, the clear difference in the skin penetration rate for pure glyphosate, as

opposed to the glyphosate in formulated Roundup, was not helpful because it highlighted a

critical risk assessment and regulatory issue Monsanto had been concerned about for years –

the increase in risks stemming from the use of, and exposure to formulated Roundup

products, in contrast to risk estimates based on data from studies using pure glyphosate.



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   570.         As with the earlier, Dr. Parry reports, Monsanto also violated FIFRA sec. 6(a)(2)

which requires it to submit factual information concerning possible unreasonable adverse effects

of a pesticide at any time that it becomes aware of such information…including interim or

preliminary results of studies, if those results suggest a possible adverse effect on man or the

environment. This obligation also includes discontinued studies under 40 CFR 159.167.

         B. Worker-Safety Provisions Required in the 1986 Glyphosate RS

         571.   In 1986, the EPA Glyphosate Registration Standard set forth the agency’s first,

updated and thorough review of the uses, toxicology data, data gaps, risks, benefits, and labeling

of Roundup-brand herbicides (the only glyphosate-based herbicide brand on the market at the

time).

         572.   The RS specified several new worker-safety provisions that must appear on all

Roundup product labels in channels of commerce as of June 30, 1988, except for dilute lawn and

garden products.

         573.   Section D, Part 4 of the glyphosate RS states that “Worker Safety Rules must

appear on end-use products containing glyphosate except for those labeled for homeowner use

only.” (page 28).

         574.   EPA required worker-safety provisions on glyphosate products include:

         “HANDLE THE CONCENTRATE ONLY WHEN WEARING THE
         FOLLOWING PROTECTIVE CLOTHING AND EQUIPMENT.”

         “Wear goggles or a face shield, chemical resistant gloves, chemical resistant
         apron, chemical resistant shoes, shoe coverings, or boots.”

         “WEAR THE FOLLOWING PROTECTIVE CLOTHING DURING
         APPLICATION, EQUIPMENT REPAIR, CLEANING, DISPOSAL OF THE
         SPRAY SOLUTION, AND DURING REENTRY TO TREATED AREAS
         BEFORE THE SPRAY HAS DRIED.”

         “Wear goggles or a face shield, chemical-resistant gloves and chemical-resistant


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       shoes, or boots. A helmet with visor may be worn during open cockpit aerial
       application.”

       “IMPORTANT! Before removing gloves, wash them with soap and water.
       Always wash hands, face and arms with soap and water before smoking, eating,
       drinking, or toileting.”

       “AFTER WORK, wash protective clothing and equipment with soap and water
       after each use. Personal clothing worn during use should be laundered separately
       from household articles. Clothing or protective equipment heavily contaminated
       or drenched with glyphosate must be disposed of in accordance with State and
       local regulations.”

       “HEAVILY CONTAMINATED OR DRENCHED CLOTHING CANNOT BE
       ADEQUATELY DECONTAMINATED.” (Page 29, glyphosate RS)

       1. Monsanto’s Response to the New RS Worker-Safety Provisions

       575.    A series of Monsanto objections to the worker-safety provisions in the RS on

glyphosate were first sent to EPA in a letter dated November 7, 1986.

       576.    In a February 9, 1987 letter to the Director of the OPP Registration Division,

Monsanto amplified the reasons why the company felt the new worker-protection provisions in

the 1986 RS were unjustified.

       577.    The February 9, 1987 letter also transmitted to OPP a new contact-dermatitis

study done by a University of California scientist.

       578.    OPP’s review of the February 1987 letter, the actions it requested, and the newly-

submitted dermatitis study was conducted by Curt Kunchick, a scientist in OPP’s Exposure

Assessment Branch. His June 18, 1987 review notes that the focus of Monsanto’s arguments is

contact dermatitis and the newly submitted dermatitis study, while OPP’s principal concerns

were eye and skin irritation (MONGLY00241308).

       579.    There are three attachments included with Kunchick’s June 18, 1987 review: (1)

a report on glyphosate poisoning episodes in California, (2) “Worker Safety Rules for




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Glyphosate Products Containing the Signal Word ‘Warning’ for Skin or Eye Irritation”; and, (3)

“Worker Safety Rules for All Glyphosate Products Intended for Agricultural Uses and

Containing the Signal Word ‘Caution’”.

        580.     The required worker-safety provisions in Attachment 2 to Kunchick’s memo were

taken verbatim from the 1986 RS section setting forth “Required Labelling” (page 28-29), and

are quoted above.

        2. The Blondell Study Raises Serious Concerns

        581.     Attachment 1 was the primary basis for OPP concern over eye and skin irritation.

It included data submitted to EPA by the California Department of Food and Agriculture in a

June 6, 1988 report entitled “Glyphosate Poisoning Statistics Summary.” The author was Jerome

Blondell.

        582.     Data were recorded by Blondell for three categories of glyphosate applicators:

ground application using a tractor or spray rig (42 out of 143 total cases); hand application with a

backpack sprayer or hand-pump device (100 out of 142 cases); and, other types of application (1

of 142 cases).

        583.     Blondell’s data covered 64 applicator and 24 mixer/loader cases of eye irritation

between 1981 and 1985, and 52 applicator and 7 mixer/loader skin injury cases. In addition,

there were a total of 24 “Systemic” illnesses reported, 6 cases among spray rig applicators and 18

among hand applicators. Hand applicators had suffered the majority of total-applicator injury

cases: for the eye, 44 out of 64, and for skin, 35 of 52 irritation cases.

        584.     A section of Blondell’s report addresses the relationship between the number of

physician-treated occupational illnesses in California and the total pounds of glyphosate applied.

The Blondell report contains the following statement :




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       “The number of California physician-treated occupational illnesses (average per
       year, 1981-1985) per million pounds of glyphosate reported sold in California in
       1984 was 17.0. On average, for all pesticides, we find 1.3 poisonings per million
       pounds sold, per year in California.”


       585.    In 1986-1987, OPP was working on a policy document setting forth new worker-

safety requirements for product labeling that would apply to all registered pesticides. OPP

planned on issuing the new worker-safety labeling requirements via what is called a Pesticide

Regulatory (“PR”) Notice.

       586.    The worker-safety protections for applicators called for in the 1986 RS were

supposed to appear on all Roundup-product labels in commerce as of June 30, 1988. However,

in a November 2, 1987 letter to Robert Taylor, OPP’s registration manager for glyphosate,

Monsanto requested a postponement of certain additional protective clothing requirements on

Roundup labels, pending finalization of the expected worker-safety PR Notice.

       3. EPA Responds “Yes and No” to Monsanto’s Request

       587.    EPA assigned the task of reviewing and responding to this Monsanto request for

deferral to Alan Nielsen in OPP’s Exposure Assessment Branch. He received the assignment on

November 11, 1987 and a memo setting forth his recommended action is dated January 28, 1988.

       588.    Nielsen agreed to Monsanto’s request to postpone additional requirements for

personal protective equipment (PPE) on Roundup labels subject to two conditions. The first was

that the new worker-protection PR notice would be issued “…in a reasonable time frame…”, and

lead to changes in Roundup worker-safety language comparable to those required in the RS.

And second, “…the submitter [Monsanto] begin investigating the high number of eye and/or skin

injuries associated with glyphosate use in California.”




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       589.    Reinforcing his concern, Nielsen added in his memo to the Registration Division

that: “Myself and other members of the Exposure Assessment Branch would like to meet with

appropriate representatives of the Monsanto Company to discuss their response to this concern

[the adverse impacts data from California] within six months. Please arrange with the submitter.”

       4. Monsanto Digs In, Refuses to Add New Worker-Safety Provisions

       590.    Monsanto continued to challenge EPA’s requirements for stricter worker-safety

provisions through multiple communications over several years. Some arguments were

procedural (e.g., defer changes in labeling until the new, generic worker-safety labeling PR

notice was issued), while others were based on Monsanto-commissioned exposure studies and

risk calculations.

       591.    Ultimately, Monsanto never added the new worker-safety provisions required by

EPA in the 1986 RS, including the common-sense requirements for use of basic PPE like gloves.

The labels for Roundup products with concentrations of glyphosate above 2% generally state:

“Personal Protective Equipment (PPE) Applicators and other handlers must wear: long-sleeved

shirt and long pants, shoes plus socks…[no other PPE is required].”

       592.    The phrase “other handlers” encompasses those mixing and loading, shipping,

storing, or handling the herbicide.

       5. PPE Requirements on Roundup Labels

       593.    The labels on most Roundup-brand herbicides over the last 30+ years state that an

applicator’s clothing, and any PPE, must be washed separately from other laundry, and then

provides this important instruction to applicators and other handlers (sometimes with minor word

changes):

       “Discard clothing and other absorbent materials that have been drenched or
       heavily contaminated with this product’s concentrate. Do not reuse them.”



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         (Emphasis added).

         594.   Accordingly, “clothing and other absorbent materials” drenched with ready-to-

apply, diluted Roundup spray solution need not be discarded, despite EPA stating in the 1986 RS

that heavily contaminated clothing cannot be fully decontaminated and should therefore be

discarded, whether the clothing was contaminated with concentrated Roundup out of the bottle,

or with diluted spray solution.

         595.   Thus individuals whose clothing was contaminated with Roundup spray solution

were never provided with this important safety measure. .

         596.   Under the heading “User Safety Recommendations,” most Roundup labels state

that users should:

         “Wash hands before eating, drinking, chewing gum, using tobacco or using the
         toilet. Remove clothing immediately if pesticide gets inside. Then wash
         thoroughly and put on clean clothing.”

         597.   There is also a “Non-Agricultural Use Requirement” on each label: “Keep people

and pets off treated areas until spray solution has dried.” There are no other sections or

provisions on Roundup labels that address the need, or ways to reduce worker exposures and

risks.

         598.   To this day, Monsanto has not added to Roundup product labels the worker-safety

precautions and requirements as set forth in the 1986 RS. In my opinion, a reasonable and

prudent pesticide manufacturer committed to the safety of its customers, as Monsanto professes

to be, and as required by voluntary pesticide industry standards, would have added the common

sense warning language called for by EPA in 1986 to all Roundup herbicide labels.




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       C. Concerns Grow Over Applicator Exposures When Using Handheld
          and Backpack Applicators

       599.    Throughout the 1990s and 2000s, there was a steady flow of new information

regarding worker risks from: (a) Monsanto’s ongoing research and testing around the world that

pointed to the need to address high-exposure scenarios and eliminate high-risk surfactants, and

(b) exposure and illness episodes reported to the 1-800 phone numbers on Roundup labels by

callers seeking guidance regarding the need for emergency medical assistance.

       600.    Regulators in the UK required Monsanto to add a requirement for respiratory

protection on certain Roundup labels, as a result of high-exposures around the face when

Roundup is applied to trees via a backpack sprayer (MONGLY06454420).

       601.    The EU had been pushing for years for the removal of POEA surfactants from

Roundup formulations, a task that Monsanto pledged to complete by 2012, and completed by or

about 2014.

       602.    But in the U.S., Monsanto blocked or curtailed more restrictive worker-safety

language on most formulated product labels, and has retained POEA surfactants in essentially all

products.

       1. European Regulators Raise Worker-Safety Concerns

       603.    A peer-reviewed genotoxicity paper published in 2007 was among the papers

triggering concerns in Europe over formulated Roundup products. It was entitled “Cytotoxicty

of the herbicide glyphosate in human peripheral blood mononuclear cells (Martinez A, Reyes I,

Reyes N. (2007), Biomedica 27(4):594-604). The results and conclusions sections from the

abstract of the paper follow:

       RESULTS:
       Both technical grade glyphosate and Roundup formulation were toxic to human
       peripheral blood mononuclear cells. Cytotoxicity of Roundup was higher than


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       cytotoxicity of glyphosate, since the LC50 (50% lethal concentration) determined
       by the trypan blue exclusion method at 24 h was the equivalent of 56.4 microg/ml
       of glyphosate in the form of Roundup and 1,640 microg/ml (1.64 mg/ml) for
       technical grade glyphosate.
       CONCLUSIONS:
       This in vitro study confirmed the toxic effects on human cells by glyphosate and
       its commercial preparations. Commercial formulations were more cytotoxic than
       the active component alone, supporting the concept that additives in commercial
       formulations play a role in the toxicity attributed to glyphosate-based herbicides.


       604.   The 2007 Martinez et al study quoted above reports that the formulated Roundup

product was 29-times more cytotoxic than pure glyphosate, a substantial difference.

       605.   Plans and initiatives inside Monsanto to deal with BfR and other European

regulatory concerns were a focus of a “Glyphosate Toxicology Peer Review” meeting held in

London on June 22, 2007. Three senior Monsanto scientists were present (Donna Farmer,

                ,               ), and a fourth participated via the phone (                 ). The

Third-Party Network experts in attendance were Professor                   , Dr.       , and Dr.

      (MONGLY0118777).

       606.   One section of the meeting overview document is entitled “NOTES TAKEN

DURING THE PRESENTATIONS.” It includes sections addressing the issues facing Monsanto

in preserving its glyphosate-related Freedom to Operate in Europe: carcinogenicity, endocrine

disruption, co-formulants, and operator exposure.

       607.   Under “4. Operator exposure,” there is a section setting forth “Proposals for

Action.” The first bulleted item reads: “Label recommendations for hand held spraying should

include recommendation for using [face] shields and not walking through the spray or sprayed

area. ACTION:       .” “     ” stands for                 , who was head of Regulatory Affairs for

Monsanto in Europe.             was the individual responsible for submitting new or revised




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glyphosate-based herbicide label directions, including worker-safety requirements, to regulatory

authorities (MONGLY0118777).

       608.     As discussed above, the 1986 EPA glyphosate RS included a requirement for

goggles or a face shield, a requirement ignored by Monsanto in the U.S.

       609.                      sent a November 10, 2008 email to his Monsanto colleagues

Saltmiras,        , Farmer, and Kronenberg. In it,          shares his view that Monsanto needed

to conduct additional studies to obtain better data to address worker-exposure concerns across

Europe (MONGLY02155826).

       610.    The new data and analyses that            was advocating would be included in an

Annex to the dossier Monsanto was developing for submission to the German regulatory

authority, as part of the re-registration of glyphosate in the EU.

       611.    In his email,         writes: “Dermal exposure is the greatest risk of exposure to

operators. Therefor we need to be secure on the ADME of such exposure.”

(MONGLY02155827) ADME stands for Absorption, Distribution, Metabolism, and Excretion.

       612.    This admission by a top Monsanto scientist underscores the importance of

accurately assessing and preventing such dermal exposures.

       613.    A few days earlier (November 7, 2008),                had sent an email to Monsanto

colleagues, including                 , a Monsanto employee based in Germany who was

interacting with the BfR on glyphosate re-registration issues.            ’s November 7, 2008 email

outlines the topics of discussion on a call addressing adverse worker-exposure episodes the BfR

was aware of. Four areas of “preparation” for future interactions with BfR were outlined,

including: “3. Toxicology: counter the allegation on synergistic effects of tallow amine [POEA

surfactants] with glyphosate” (MONGLY010122033).




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       614.    Regulators in Italy and Germany were, in particular, concerned over data

published in peer-reviewed journals showing that Roundup products formulated with POEA

surfactants pose greater risks than glyphosate alone. As discussed above, Monsanto had asked

Dr. Parry to review several of them and as Heydens’ acknowledged, “we are in pretty good

shape with glyphosate [re genotoxic risks] but vulnerable with surfactants.”

       615.    Regulators in Europe and the U.S. EPA have based their glyphosate worker-risk

assessments on data provided predominantly by Monsanto. If the data from Monsanto is not

current or is inaccurate, then applicator exposure risk assessments done by regulators will also be

inaccurate and/or out of date. Hence, such estimates may poorly reflect actual exposures in the

field, and hence subject applicators to excessive risks.

       616.    In my opinion, the generally old data submitted by Monsanto mostly in the 1980s

and 1990s on worker exposures levels, and the basis for such estimates, likely poorly reflect

actual exposures and under-estimate actual applicator exposures.

       617.    Glyphosate human exposure and illness incident reports collected by EPA, and

the testimony of plaintiffs in this litigation regarding when and how they used and were exposed

to Roundup, demonstrate that actual use of Roundup can lead to much higher exposures than

what a hypothetical, non-real world assumptions would predict.

       618.    In my 2019 paper in ESE (“How did the US EPA and IARC reach diametrically

opposed conclusions on the genotoxicity of glyphosate-based herbicides”), I write:

       “The EPA’s September 2016 evaluation of glyphosate carcinogenicity is largely focused
       on typical, expected dietary exposures facing the general public. The EPA’s analysis does
       not encompass occupational and unusual exposure scenarios, nor circumstances where
       some problem, error, mistake, land use factor, or quirk of nature leads to an unusually
       high GBH-exposure episode.

       Periodically, the EPA issues a report covering glyphosate exposure and health-impact
       incident reports. For example, between 2002 and 2008, a total of 271 incident reports



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       were compiled by EPA, 36% of which involved neurological symptoms, 29.5% dermal
       irritation, rash, or hives, and 14% respiratory duress [15]. Common causes of such
       incidents include a slow leak in a hose or fitting on a backpack sprayer, leading to the
       drenching over several hours of the applicator’s neck, back, and/or legs; repair of an
       equipment breakdown that inadvertently leads to significant exposure to spray solution;
       and, routine maintenance and service of spraying equipment and tank cleanup
       procedures. In the case of large-scale spray equipment used to apply a GBH in farm fields
       or large areas, a person repairing a leaky fitting or valve, or dealing with clogged nozzles
       or a blown hose, can be heavily exposed in a matter of seconds.

       There is a vast array of unusual circumstances leading to elevated- to very-high exposure
       episodes, compared to typical, ‘general population’ exposures, that do not involve
       equipment malfunction. Some examples include:

           •   A child playing with a dog that has recently spent time in an area sprayed with a
               GBH;
           •   Sugar cane harvesters in Central America working in a recently burnt field that
               had been sprayed 7-10 days earlier with a GBH, creating a possibly toxic mix of
               smoke and GBH residues;
           •   An applicator on an ATV or driving a truck-mounted sprayer that covers an area
               via a concentric-circle spray pattern on a windy day, and
           •   Workers in a rice field adjacent to an irrigation ditch recently treated with a GBH
               for weed control.”

       [Citation #15 is: Hawkins M, Cordova J. (2009). Updated Review of Glyphosate
       (103601) Incident Reports, Office of Pesticide Programs, Environmental Protection
       Agency. Access at: https://hygeia-analytics.com/wp-content/uploads/2019/01/RUP-EPA-
       archives-2009-2-26-review-of-incident-reports-lots-of-DERMAL.pdf]

       619.    I am further convinced that most applicators spraying Roundup multiple times per

week with handheld, backpack, ATV, or truck-mounted sprayers experience a few to several

high-exposure episodes every year as a result of foreseeable accidents, i.e. spills, unusually tall

or thick weeds, windy conditions, a leaky hose or fitting, a handwand that leaks, equipment

malfunctions, or when cleaning and repairing equipment.

       620.    Such episodes result in exposures vastly higher than the exposure scenarios in

Monsanto’s and EPA’s applicator and worker-exposure assessments. Cancer risks are greatest

for those applicators who spray Roundup multiple times in a year, especially those spraying for

several hours a day on multiple days in an average week.


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       621.    The failure of Monsanto to generate and submit to the EPA updated, more

accurate worker-exposure and worker-risk data perpetuated EPA reliance on out-of-date, worker-

risk assessments that almost certainly underestimated actual risks.

       622.    In my opinion, the failure of Monsanto to upgrade the basis of worker-exposure

estimates, and Monsanto’s refusal to add the new worker-safety provisions called for by EPA in

1986, has resulted in thousands, if not millions of people experiencing more, and much higher

Roundup exposures than otherwise would have occurred.




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    X.       Freedom to Operate and Monsanto Efforts to Convince the
             Scientific Community and Regulators that Roundup is Safe

          623.   The primary goal driving Monsanto’s herbicide business is opening up new

markets for Roundup-brand products (i.e., gaining new registrations), and minimizing any

possible restrictions on the potential sale of Monsanto products already on the market.

          624.   Actions aimed at achieving these goals are often referred to inside Monsanto as

preserving glyphosate’s “Freedom to Operate” (“FTO”). Monsanto’s FTO was consistently more

important to Monsanto than, and at times completely adverse to, customer safety.

          625.   Monsanto reached out to and systematically used a network of independent

scientists in conducting a variety of efforts to protect glyphosate’s FTO.

          626.   The goal of Monsanto’s engagement with independent scientists was succinctly

stated in an internal, May 26, 1999 email. The goal is to encourage “… people to get up and

shout Glyphosate is Non-toxic” (MONGLY00904009).

          627.   “Non-toxic” is not an accurate description of glyphosate or Roundup herbicides.

Yet through advertising, promotional material, and messaging advanced by sales staff, Monsanto

invested significant effort and resources in a sustained effort to convince the general public that

Roundup is “safe” because it is “non-toxic.”

          A. Monsanto’s Third Party Network of Experts

          628.   Monsanto made heavy use of supposedly independent scientists in its “Scientific

Outreach” (“SO”) and PR campaigns in support of the safety of glyphosate and Roundup-brand

herbicides. In some instances, such individuals were appointed to an ad hoc, or standing advisory

committee or panel. In other cases, they simply worked on a fee-for-service basis on a defined

task.



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       629.       Many of these glyphosate-friendly, consulting experts had once worked for

Monsanto. Many have authored or co-authored one to several papers commissioned and paid for

by Monsanto. Most of these papers contained passages ghost-written by Monsanto scientists, and

some were largely ghost-written by Monsanto.

       630.       “Ghost-writing” refers to contributions to a written document by a person not

listed as the author, or among the co-authors of the document.

       631.       In addition, Monsanto frequently asked and/or sponsored glyphosate-friendly

experts to:

              •   Present oral and/or written comments to regulatory agencies, or their advisory
                  groups;
              •   Make presentations to allied industry groups, academics, or professional society
                  meetings; and
              •   Assist in gaining positive media coverage of glyphosate health issues.

       632.       Several examples of the roles, activities, and contributions of glyphosate-friendly

scientists are described in the body of this report, but there are far too many instances and

individuals in the discovery record to provide a comprehensive accounting of Third Party

Network activities.

       633.       The scope of Monsanto’s efforts to utilize supposedly independent scientists to:

(1) restate company positions and scientific conclusions, (2) influence and contribute to the

literature in peer-reviewed, science journals, (3) shape the information accessible to regulators,

and (4) reinforce and/or amplify Scientific Outreach and PR messages targeting the farm

community, allied organizations, the general public, and political leaders regarding the safety of

glyphosate-based herbicides was vast




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       634.    Engaging independent scientists in research, outreach, and PR activities is routine

across the pesticide industry. But in my opinion, the degree to which Monsanto shaped and

controlled the activities and communications of “independent” scientists is unprecedented.

       635.    My review of the discovery record leads me to conclude that the actions and

activities of Monsanto’s Third Party Network of scientists were not focused on deepening

scientific understanding of Roundup risks, nor on finding the best ways to avoid possibly high-

risk applications. The Network was managed and deployed to reinforce Monsanto talking points

and science judgements, and challenge the relevance or reliability of papers reporting evidence

linking Roundup use and adverse human health outcomes.

       1. The “Glyphosate Scientific Outreach Plan”

       636.    A formal statement of the “Overall purpose” of Monsanto’s “Glyphosate

Scientific Outreach Plan” (“SO Plan”) appears at the beginning of a June 1999 document:

       “Ensure that Monsanto’s glyphosate-containing herbicides are widely viewed throughout
       the scientific community as posing no threat to human health or the environment. This
       support [from Third Party Network experts] will be used to favorably influence current
       and future possible challenges in the regulatory and public arena.” (MONGLY00904774)

       637.    Note in particular the unconditional statement in the above-quoted paragraph --

“…no threat to human health of the environment.” This statement stands in sharp contrast to

more nuanced statements by scientists commissioned by Monsanto to review the genotoxicity

and oncogenicity literature, or by the EPA. For example, the abstract of Kier and Kirkland’s

2013 review of glyphosate genotoxicity ends with this statement:

       “Glyphosate and typical GBFs [GBHs] do not appear to present significant genotoxic risk
       under normal conditions of human or environmental exposures.”

       638.    Based on the contents of this 2013 review, I conclude that Kier and Kirkland do

not rule out the possibility of some genotoxic risk from exposures to GBHs under normal




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conditions, nor the possibility of significant genotoxic risk in the event of unusually high GBH

exposure episodes. In my opinion, both such possibilities are generally consistent with the results

of the 2016 EPA review, as well as the IARC review of glyphosate oncogenicity.

       2. Cherry Picking Science

       639.    The record in this case shows, in my opinion, that Monsanto does not, in general,

use science in the organized pursuit of knowledge and deeper understanding of the potential

human and environmental risks stemming from applications of Roundup herbicides, but rather to

gain new product registrations, and defend existing registrations. In short, Monsanto uses biased

and selective scientific interpretations to defend Roundup’s FTO.

       640.    In many instances, Monsanto has selectively drawn upon the results of studies,

cherry-picking the findings most favorable to its position and desired outcome, while ignoring,

or criticizing those findings that caste a less favorable light on the safety of glyphosate and/or

Roundup herbicides.

       641.    Based on my review of the record, Monsanto’s biased and selective use of science

is systemic and recurrent, and is driven predominately by the corporate goal of protecting

glyphosate’s FTO.

       642.    In my opinion, in every aspect of its “Scientific Outreach” program, in

communications with regulators, public presentations and commentaries, and via ghost-written

materials, Monsanto utilizes its biased and selective view of the science to support its FTO and

attain the company’s regulatory objectives.

       643.    I further conclude that Monsanto rarely uses science as a structured path to deeper

insights on the properties and toxicity of its products, so that better ways can be identified to




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manufacture inherently safer Roundup-brand herbicides, and then also assure they are applied as

safely as possible.

       B. Monsanto’s Relationships with “Friendly” Scientists and Officials in
          EPA

       1. Jess Rowland

       644.    Jess Rowland was the Deputy Director of the OPP Health Effects Division. He

was directly involved in managing the EPA’s internal assessment of glyphosate’s oncogenicity,

as well as the EPA’s interactions with, and response to IARC’s review of glyphosate. He also

served as a point of contact between EPA and other federal agencies, and managed the Cancer

Assessment Review Committee (“CARC”), a key, internal OPP committee that rendered

judgement of whether a given pesticide poses cancer risk.

       645.    In a February 20, 20/15 email, as Monsanto was preparing for the release of the

IARC report on glyphosate, William Heydens wrote an email to Dan Jenkins, his Monsanto

colleague that worked most closely with EPA on registration issues at the time. The topic is

“EPA Folks going to IARC” (i.e., attending the final IARC Working Group meeting in Lyons,

France March 10-14, 2015).

       646.    Heydens reports on the two EPA scientists that “will actually participate in the

meeting,” and two other EPA representatives that will be attending as observers. He identifies

the two observers as “Catherine [Eiden] is a Special Assistant in the Pesticide Re-evaluation

Division, and we all know Jess” (MONGLY00986901).

       647.    In an April 27, 2015 email exchange between Dan Jenkins (registration, EPA

interface) and William Heydens (toxicology, safety), Heydens asks Jenkins about approaching

EPA and asking them directly “about what area they see as most problematic [in the IARC

monograph] or just ask if there is anything that would help them [EPA] defend the situation?”


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          648.   Jenkins responds: “I think you and I could get on the phone w Jess Rowland and

discuss this openly. He’ll give us straight talk” (MONGLY03929023).

          649.   The next day, April 28, 2015 , Jess Rowland called Dan Jenkins “out of the blue”

and told Jenkins:

          “We have enough to sustain our conclusions [that glyphosate is not oncogenic].
          Don’t need gene tox or epi. The only thing is the cheminova [another registrant of
          glyphosate herbicides] study with the sarcoma in mice – we have that study now
          and its conclusions are irrelevant…I am chair of the CARC and my folks are
          running this process for glyphosate in reg review.” (MONGLY00987756)

          650.   But Rowland had another message to pass on to Jenkins that day. The Agency for

Toxic Substances and Disease Registry (“ATSDR”), another U.S. government agency

responsible for assessing the toxicity of chemicals, was planning to undertake a review of

glyphosate. According to one Monsanto scientist, ATSDR historically reached conclusions

similar to IARC.

          651.   In this email, Rowland then asks Jenkins for a contact name at ATSDR, and

reports that there is no coordination underway between EPA and ATSDR in terms of ATSDR’s

pending assessment of glyphosate. Then, according to Jenkins’s email, Rowland said: “If I can

kill this [the ATSDR review] I should get a medal.”

          652.   In a September 3, 2015 email to a large group of colleagues, Dan Jenkins wrote

that:

”No questions but Jess Rowland at EPA is quite proud of their recent endocrine conclusions and

is also on point regarding their IARC response. Jess will be retiring from EPA in ~5-6 mos and

could be useful as we move forward with ongoing glyphosate defense” (MONGLY03351980).

          653.   Rowland was responsible for an October 2015 evaluation of glyphosate as head of

the CARC. In conducting this review Rowland apparently violated EPA’s own cancer




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assessment guidelines in concluding that glyphosate was “Not Likely to be Carcinogenic to

Humans.” In a May 2, 2016 email, Jim Jones, an Assistant Administrator at the EPA, informed

Gina McCarthy, the Administrator of the EPA that the CARC “assessment was not consistent

with Agency’s guidelines” (EELI_0000037).

       654.    The CARC Assessment was “inadvertently” released to the public, and

“Monsanto saw it and put out a release saying EPA had confirmed glyphosate is not

carcinogenic” (EELI_0000037).

       655.    The CARC assessment formed the basis of the OPP’s September 2016 report on

glyphosate oncogenicity. Considering Rowland’s relationship with Monsanto, it raises, in my

opinion, questions about the objectivity of that report and the scientific basis of EPA’s

determination that glyphosate is “not likely” to pose cancer risk.

       2. EPA’s Office of Research and Development Asked to Review -- and Undermines
          -- OPP’s Glyphosate Oncogenicity Report

       656.    Other EPA offices have expressed skepticism about the conclusion reached by the

OPP and CARC on the question of glyphosate’s oncogenic potential. The Office of the

Administrator in EPA was aware of the conflicting EPA and IARC assessments, and asked the

agency’s Office of Research and Development to share its views on OPP’s glyphosate cancer

risk assessment.

       657.    ORD prepared summary comments on OPP’s classification in light of IARC’s

“probably carcinogenic to humans” determination (EPA-HQ-2016-0140431_00000037-39). In

point number 5, ORD addresses the importance of studies on the mutagenic (i.e., genotoxic)

potential of glyphosate and GBHs. It notes that the EPA review of studies on glyphosate’s

mutagenic potential was not thorough. ORD then writes:

       “…if there is evidence of mutagenic potential or if a mutagenic potential has not



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       been adequately ruled out, then the characterization of glyphosate as ‘not likely to
       be carcinogenic’ could be problematic for this reason alone, given the lack of a
       high-quality negative epidemiological study.”

       658.   The IARC conclusion that there is “strong evidence” of GBH genotoxicity

through at least two mechanisms known to be associated with human cancers more than satisfies

the “evidence of mutagenic potential” referred to in the ORD memo.

       3. Jack Housenger
       659.   As events unfolded in 2015 after the release of the IARC classification, the OPP

still classified glyphosate as not likely to pose a human cancer risk. Moreover, EPA had been

working for years on its own re-registration review of glyphosate. A key question was whether

the IARC classification would alter EPA’s judgement regarding glyphosate herbicide cancer risk.

       660.   At the time, Jack Housenger was the Director of OPP and had been a senior OPP

manager for many years.

       661.   The record (including text message exchanges) shows a close, deferential, and

supportive relationship in communications from Housenger to Monsanto officials.

       662.   One example of Housenger taking the initiative to help Monsanto occurred in

May, 2015, about two months after the release of the IARC report. Monsanto, Jess Rowland of

EPA, and apparently Housenger raised concerns that a review of glyphosate toxicity by ATSDR

might align with IARC’s, and undermine EPA’s view.

       663.   After asking Monsanto for help identifying contacts at ATSDR, and calling the

ATSDR staff member assigned to carry out the review, Housenger sent a May 20, 2015 email to

Patrick Breysse, head of the ATSDR program. Housenger introduced himself as the Director of

the OPP, and updated him on the near-complete, comprehensive OPP review. Then he wrote:

       “However, given that our reviews [OPP’s and ATSDR’s] would be basically done
       very close in time to one another, there is a question of whether this is a good use
       of government resources. I’d like to talk to you about this and can be reached at


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       the number below.” (Public document).

       664.    Breysse responds nine minutes later: “Can we discuss today or tomorrow”.

Housenger’s email and call with Breysse, the ATSDR Director, was not the only contact he

made with ATSDR. In an email sent June 24, 2015 to Dan Jenkins, Monsanto’s senior D.C.-

based registration official, Housenger writes:

       “Dan, here is everyone I talked to Henry [Abadin] was the one who ended up saying that
       they [ATSDR] would put glyphosate on hold holding the OPP risk assessment release [he
       actually meant “pending” rather than “holding” the OPP risk assessment release] Hope
       this helps Breysse, Patrick N…he’s the Director of HCEH/ATSDR. Stephan, James W
       (aka Jimmy) he’s the acting director of the Division of Community Health Investigation
       Henry Abadin…..he’s the branch chief Hannah Pohl…..is the person doing the work on
       glyphosate.” (MONGLY04028722)

       665.    On October 13, 2016, Jay Vroom of CropLife America (pesticide industry

lobbying organization) called and emailed Jack Housenger to discuss removing epidemiologist

Peter Infante from the glyphosate SAP panel, and to invite Housenger to a retreat with Monsanto

and other industry executives at a West Virginia casino and resort (EPA-HQ-2017-000442-

0000205).

       666.    On October 14, 2016, the OPP announced that it was postponing the SAP hearing

on glyphosate scheduled for October 18, 2016. On October 19, 2016, the OPP announced that

Peter Infante would no longer be on the SAP panel evaluating glyphosate.

       667.    Jack Housenger attended a CropLife retreat at the Greenbrier Casino and Resort

with executives of Monsanto and other pesticide companies in November of 2016, one month

before a key SAP Panel hearing on glyphosate. These executives noted that, “[w]e had some

quality time with EPA OPP Office Director Jack Housenger to dig into key issues and

operational matters at that vital department of EPA” (MONGLY07063555).




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       668.    Like Rowland, Housenger’s relationship with Monsanto and chemical industry

raises questions about the objectivity and reliability of the OPP’s recent assessment of

glyphosate. Indeed, the SAP meeting convened to review the OPP’s report agreed unanimously

that the OPP did not follow EPA guidelines in its review of the carcinogenicity of glyphosate. In

my decades of experience reviewing OPP practices and EPA re-reregistration reviews, I have not

become aware of a clearer example of regulatory capture.


       C. Corporate Ghost-Authorship/Writing

       669.    As used in this report, the term “ghost-authorship” and “ghost-writing” refer to

three types of contributions to a written document by a person not listed as the author, or among

the co-authors of a document: (1) producing the first and original draft of a document, or

section(s) of a document; (2) revising a document, or its section(s), in a way that adds to or alters

the substantive content of the document; and (3) providing information and text that is used by a

listed author or co-author, or document editor, to alter the content of a document and/or respond

to comments made during peer review.

       670.    Each of the above three types of ghost-writing are unethical and unacceptable in

the scientific and regulatory communities.

       671.    As part of Monsanto’s campaign to discredit the Seralini paper on the

oncogenicity of genetically engineered corn and Roundup (described below) and force its

retraction, Monsanto and its network of third-party experts, referenced the Committee on

Publication Ethics (“COPE”) “Ethical Guidelines for Peer Reviewers (Irene Hames on behalf of

COPE Council, March 2013, v.1, www.publicationethics.org), and shared it with Wally Hayes,

editor of Food and Chemical Toxicology, the journal that published the Seralini study.




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       672.    The COPE guidelines include that authors and/or reviewers must “declare all

potential conflicts of interest” and “recognize that impersonation of another individual during the

review process is considered serious misconduct.”

       673.    In multiple instances, Monsanto authors and reviewers failed to disclose obvious

conflicts of interest in their interactions with journal editors. Multiple reviews of papers were

submitted by one Monsanto scientist that were ghost-written, in whole or part, by others

“impersonating” the reviewer-of-record.

       674.    A 2005 editorial entitled “Ghost Writing Initiated by Commercial Interests”

appeared in the Journal of General Internal Medicine (Vol. 20:549). It begins by saying:

       “The integrity of the published record of scientific research depends not only on
       the validity of the science but also on honesty in authorship…The scientific
       record is distorted if the primary purpose of an article is to persuade readers in
       favor a special interest, rather than to inform and educate, and this purpose is
       concealed.”

       1. Gary Williams et al 2000 Paper

       675.    In 2000, the peer-reviewed journal Regulatory Toxicology and Pharmacology

published a paper entitled “Safety Evaluation and Risk Assessment of the Herbicide Roundup

and Its Active Ingredient Glyphosate, for Humans” (Williams, GM, Kroes, R, Munroe, AC,

Volume 3, pages 117-165).

       676.    In a Powerpoint presentation dated December 10, 2010 by David Saltmiras, a

Monsanto toxicologist, this Williams et al (2000) paper was called “an invaluable asset” for

“Monsanto responses to agencies…Scientific affairs rebuttals…Regulatory reviews.” Later in the

same slide, Saltmiras states that “More current external expert publications are now needed to

support our FTO and Registration Reviews,” and poses a question that had come up before in

Gingerich’s speculation about an EPA Scientific Advisory Panel meeting: “Will weight of




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evidence be measured by number of publications or quality of the science??”

(MONGLY02067858)

       677.    The Williams et al (2000) paper emerged from a Monsanto commissioned and

paid for project undertaken by the consulting firm then known as Intertek Cantox

(http://www.intertek.com/scientific-regulatory-consultancy/).

       678.    With funding from Monsanto, Cantox commissioned and paid for Dr. Williams

and Dr. Kroes to write a review of the human safety of glyphosate and Roundup herbicides, and

a Cantox employee Dr. Ian Monroe was a third, listed co-author.

       679.    Dr. Gary Williams was a professor in the Department of Pathology, New York

Medical Center, Valhalla, New York. He had been a consultant to Monsanto in the past.

       680.    Dr. Robert Kroes worked for ROTOX, University of Utrecht, The Netherlands,

and had worked with several Monsanto scientists stationed in Europe.

       681.    Dr. Ian Munro was an employee of Cantox Health Sciences International, the

consulting firm hired by Monsanto to produce several peer-reviewed journal articles on

glyphosate-based herbicides, in addition to Williams et al. (2000).

       682.    The Williams et al. (2000) paper is unusual in its scope and detail. It covers 48

pages in the journal and strives to accomplish two goals. First, it provides a summary of a

significant portion of the toxicology test results from Monsanto-commissioned studies done to

fulfill regulatory data requirements. In short, it restates Monsanto’s findings and conclusions

from company-commissioned regulatory studies.

       683.    Second, the paper discusses scientific findings relevant to the risk characterization

and risk assessment of exposures to glyphosate and glyphosate-based herbicides. It directs

special focus on papers in the peer-reviewed literature that the company regarded as inconsistent




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with its conclusions with respect to glyphosate oncogenicity and/or the genotoxicity of

formulated glyphosate-based herbicides.

       684.    The paper’s “Purpose and Scope” section states:

       “Certain sectors of the scientific and nonscientific communities have commented on the
       safety and benefits of pesticide use. With this in mind, parts of this assessment address
       specific concerns that have been raised by special interest groups. This review will focus
       on technical glyphosate acid; its major breakdown product aminomethylphisphonic acid
       (AMPA); its Roundup formulations; and the polyethoxylated tallow amine surfactant
       (POEA).”

       685.    There is no financial disclosure statement in the paper.

       686.    To determine if a financial disclosure statement had been added, the journal’s

website was visited November 25, 2017, and a search was conducted for the Williams et al

paper. The search results were to this link:

http://www.sciencedirect.com/science/article/pii/S0273230099913715

       687.    The paper is now available for online purchase. The abstract is available for no

charge, and lists the three authors and their affiliations, but no information is offered on who paid

for the study, or the substantial role of Monsanto in writing the paper.

       688.    The paper’s Acknowledgement statement reads in full:

       “The authors acknowledge the assistance of individuals who participated in the
       preparation of this document. First, we are grateful to those who gathered and made
       available the large amount of information used to write the manuscript for this document.
       Second, we thank the toxicologists and other scientists at Monsanto who made significant
       contributions to the development of exposure assessments and through many other
       discussions. The authors were given complete access to toxicological information
       contained in the great number of laboratory studies and archival material at Monsanto in
       St. Louis, Missouri, and elsewhere. Key personnel at Monsanto who provided scientific
       support were William F. Heydens, Donna R. Farmer, Marian S. Bleeke, Stephen J.
       Wratten, and Katherine H. Carr. We also acknowledge the participation and assistance of
       Douglass W. Bryant and Cantox Health Sciences International for scientific and logistical
       support in the preparation of the final manuscript.”




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       689.      The second point in the Acknowledgment statement credits “toxicologists and

other scientists at Monsanto who made significant contributions to the development of exposure

assessments and through many other discussions.”

       690.      “Significant contributions to the development of exposure assessments” refers to

methodological and/or data and statistical work done by Monsanto on exposure assessment, but

does not encompass ghost-writing of the sections of the paper on exposure assessment.

       691.      The acknowledgement that Monsanto toxicologists and other scientists “made

significant contributions through…many other discussions” does not disclose, nor even hint at

ghost-writing.

       692.      On the role of five “key personnel” at Monsanto, the authors state that their

participation and assistance entailed “scientific support,” a phrase that means Monsanto provided

access to data, analytical tools or models, or other scientific information generated by Monsanto.

       693.      In my opinion, this Acknowledgement statement is false, incomplete, and

misleading.

       694.      William Heydens states in a 2015 email that “we”, i.e., Monsanto, ghostwrote

Williams (2000), in the context of discussing plans to ghostwrite an updated publication in 2015.

Heydens proposes that, for the new paper, “...we ghost-write the Exposure Tox & Genetox

sections...we would be keeping the cost down by us doing the writing and they would just edit &

sign their names so to speak. Recall that is how we handled Williams Kroes & Munro, 2000”

(MONGLY00977264).

       695.      In addition to Dr. Heydens admitting that he and other Monsanto scientists

ghostwrote the paper, a Monsanto document-tracking system includes a statement asserting that




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Heydens was largely responsible for drafting the Williams et al manuscript

(MONGLY02598454).

       696.    Heydens’ efforts were extensive, as he noted “I have sprouted several new gray

hairs during the writing of this thing...” (MONGLY0186926).

       697.    On June 18, 1999, Douglas Bryant, a Cantox employee, sent a “progress report”

on “Roundup documents [papers in preparation by Cantox]” in an email to his principle

Monsanto contact, Lisa Drake. He copied two people: (1) William Heydens, the senior Monsanto

corporate official overseeing the Cantox project and similar “science outreach” efforts, and (2)

Cantox colleague and paper co-author Ian Munro.

       698.    On the subject of the Williams et al. (2000) paper on glyphosate health effects,

Bryant reports on the status of various reviews, including one by co-authors Kroes and Dick

Peterson. He writes: “Bill Heydens, Donna Farmer, Kathy Carr and all those at Monsanto have

been helping get the document through QA.”

       699.    If doing so simply entailed catching and fixing errors, such input would be

consistent with the acknowledged role played by Monsanto scientists and toxicologists.

       700.    Bryant then outlines the final steps in the process prior to submission of the paper

to the journal: Bill Heydens completes the QA changes; sends edited and corrected version back

to Cantox to incorporate final comments by the internal-to-Monsanto and Cantox reviewers (e.g.

Peterson), and then the paper will be sent to the journal.

       701.    Twenty-seven minutes after the Bryant email was sent, Heydens sent this reply to

Bryant and the other recipients of the original email. It was addressed to “All,” and states:

       “A clarification – there is one step missing – I will review the final manuscript
       with the reviewers comments incorporated (in revision mode so I can find them
       easily) before it is sent to the publisher. I will commit to conducting this review
       very quickly. Assuming the reviewers don’t throw any surprises (I’m especially



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       thinking of Peterson), I can turn this back around with a very minimal investment
       of time.”

       702.    Three days later, on June 21, 1999, Heydens sends a two-line email to his

colleague Donna Farmer, where he states “And Dougie [referring to Bryant] thinks I would

actually leave the final editing to him unsupervised…” This degree of control over the final

submission of the publication to the journal was not disclosed in the acknowledgment statement

accompanying the manuscript submitted to the journal.

       703.    By September 15th, nearly-three months after the June 18, 1999 Bryant email

exchange, there had been multiple calls, exchanges of written material, and meetings between

Bryant and Cantox, and Monsanto regarding the content and finalization of the Williams et al

(2000) paper (MONGLY00905085).

       704.    The September 15th email from Bryant to Heydens copies Lisa Drake and

Katherine Carr of Monsanto, but not any of the co-authors. It states that: (1) Bryant is sending a

revised draft of the paper to the three co-authors Williams, Kroes, and Munro today; (2) the draft

manuscript includes “all the changes that were discussed today and during calls last week. Please

check it over to be sure that I have been thorough”; each co-author is asked “to complete his

review and respond so journal submission (Food and Chemical Toxicology) can be finalized for

September 30, 1999”; and, thanks everyone “for all your effort (undoubtedly there will be

more)…”

       705.    Later that same day, September 15, 1999, Heydens sends another short, cryptic

email to Donna Farmer and Stephen Wratten. This time he writes (exactly as in email): “FYI – in

case you want to see how it ended up (hopefully, that is! – I’ll strangle Kroes or Williams if they

ask for any re-writes!!) Bill.” By “it,” Heydens is referring to the pre-submission draft of the

Williams et al paper.



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       706.    A submission of this paper to a peer-reviewed journal consistent with COPE

guidelines would have listed some additional, senior Monsanto scientists as the co-authors,

including Heydens and Farmer.

       707.    It is not clear in the record whether Munro made any substantive contributions to

the paper. In a July 30, 1999 email from Heydens to Munro, Heydens writes: “Everyone at

Monsanto has agreed with adding you as an author – please do so” (MONGLY01869261).

       2. Williams et al 2012

       708.    In 2012, Monsanto commissioned another team to produce an updated review of

recent studies assessing the differential cellular toxicity of glyphosate and formulated Roundup

herbicides. This paper appeared in the Journal of Toxicology and Environmental Health, Part B

Critical Reviews (15(1): pages 39-96). The lead author was AL Williams (not Gary Williams),

RE Watson, and JM DeSesso were listed as co-authors.

       709.    Monsanto employee Donna Farmer made significant contributions to the

manuscript, but was not listed as a co-author. In an email sending one round of her work on the

manuscript to DeSesso, Farmer states, “[a]ttached is the first 46 pages. I added a section in

genotox from the Gasnier study ...see attached a critique we did that I took that from. Am

working on a section for Gasnier in the mechanistic section. Also we cut and pasted in

summaries of the POEA surfactant studies. Attached are more detailed summaries - see Knapp”

(MONGLY00919381).

       710.    In the draft manuscript attached to the email Donna Farmer’s name is edited out

as a co-author (MONGLY00919400).




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711.     The co-authors conducted a detailed review of dozens of studies, and concluded:

         “An evaluation of this database found no consistent effects of glyphosate
         exposure on reproductive health or the developing offspring. Furthermore, no
         plausible mechanisms of action for such effects were elucidated. Although
         toxicity was observed in studies that used glyphosate-based formulations, the data
         strongly suggest that such effects were due to surfactants present in the
         formulations and not the direct result of glyphosate exposure.”

         712.   The 2012 review was critical of a set of five genotoxicity studies carried out by a

team of French scientist led by Dr. R. Belle.

         713.   In an effort to explain the substantial difference in the conclusions expressed by

Williams et al. (2012), in contrast to several published studies, a Letter to the Editor by Belle et

al. (2012), “Toxicity of Roundup and Glyphosate,” Vol 15: pages 233-237) states:

         “The authors [of Williams et al (2012)] do not take into account in their
         interpretation of our results the very poor cell membrane permeability of pure
         glyphosate.” (Emphasis added).

         714.   In concluding their letter, Belle et al. write:

         “Although we notice that Monsanto, the manufacturer of Roundup, financed their
         work, we would have expected strong scientific arguments against our results or
         alternative findings that would evidence the contrary. This is not the case, and, to
         our knowledge, our experiments, first published in 2002 and brought to
         Monsanto’s knowledge as early as 1999, have not been demonstrated to be
         incorrect or biased.”

         715.   In my opinion, because Dr. Farmer played a substantial role in preparing the final

publication she should have been listed as an author and Monsanto’s role in preparing the paper

should have been disclosed. .



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        3. Kier and Kirkland 2013 Paper

        716.     In 2013, the journal Critical Reviews in Toxicology published a peer-reviewed

paper entitled “Review of genotoxicity studies of glyphosate and glyphosate-based formulations”

(Vol 43(4)). Two authors were listed -- Monsanto consultant and former employee, Larry Kier,

and Dr. David Kirkland, a professor and Monsanto consultant.

        717.     The abstract of the 2013 paper reports that it updates an earlier review of studies

on the genotoxicity of glyphosate and formulated glyphosate-based herbicides. This earlier

review was the previously discussed, Monsanto commissioned and ghost-written paper Williams

et al. (2000).

        718.     The “Monsanto Manuscript Clearance Form” for the 2013 Kier-Kirkland

publication is dated February 29, 2012, and lists two authors: “David Saltmiras, Larry Kier

(consultant).” Under “Lead Author’s Comments,” Saltmiras (presumably) writes: “This work

falls under the scope of the EU Glyphosate Task Force and will be a valuable resource in future

product defense against claims that glyphosate is mutagenic or genotoxic.”

(MONGLY02117600)

        719.     When published, the authors are listed as Kier and Kirkland. Saltmiras’ name is

deleted. Accordingly, the 2013 genotoxicity review paper is a ghost-written update of a ghost-

written 2000 review.

        720.     In the published version of the Kier-Kirkland 2013 paper, the “Declaration of

Interest” states:

        “Larry Kier and David Kirkland were paid consultants of the Glyphosate Task
        Force for the preparation of this review. The Glyphosate Task Force is a
        consortium of 25 European glyphosate registrants, listed on
        http://www.glyphosatetask-force.org/. Larry Kier is also a past employee of
        Monsanto Company. Monsanto Company was the original producer and marketer
        of glyphosate formulations. The authors had sole responsibility for the writing and



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       content of the paper and the interpretations and opinions expressed in the paper
       are those of the authors and may not necessarily be those of the member
       companies of the Glyphosate Task Force.”

       721.    This “Declaration of Interest” is only partially truthful. Kier and Kirkland did not

write the paper alone; a third author, David Saltmiras, had contributed substantially to the paper,

but is not listed as a co-author (his help is noted in the Acknowledgements).

       722.    In internal emails, dated January 2013, Saltmiras specifically requests his

inclusion as a named author, but Kirkland rejects this request, explaining “As much as I agree

with recognizing the effort David S has put in, I do not think you can start adding an author at

this stage. Apart from anything else, it means the authors would no longer be ‘independent’”

(MONGLY04086537). Thus, despite Saltmiras’ contributions to the paper, his name was not list

an author. Indeed, as Kier acknowledges, “David S. was a co-author on the unpublished

literature review manuscript which was the first phase of this project which I think qualifies him

as a valid contributor to the manuscript.”

       723.    In my opinion, the authors did not have sole responsibility for the content, and

Monsanto, through its consultants Kier and Kirkland, and employee Saltmiras, was largely

responsible for the content, not the Glyphosate Task Force (MONGLY02145924-30). In my

opinion, Saltmiras’ contributions qualified for authorship and the failure to disclose his

involvement is contrary to academic and scientific standards.

       D. Critical Reviews of Toxicology Special Issue on Glyphosate Risks
       724.    One of the clearest examples of ghost-writing in this case is the special, IARC-

focused issue put out by Critical Reviews of Toxicology (CRT). This special issue was conceived

and commissioned by Monsanto when the company learned that IARC would soon issue a

monograph discussing the potential of glyphosate-based herbicides to cause cancer.




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        725.    In an email with the subject “IARC [Response] Planning,” Heydens discusses

options for producing the papers that will make up the content of the special issue of CRT:

        “If we went full-•bore, involving experts from all the major areas (Epi, Tox,
        Genetox, MOA, Exposure - not sure who we'd get), we could be pushing $250K
        or maybe even more. A less expensive/more palatable approach might be to
        involve experts only for the areas of contention, epidemiology and possibly MOA
        (depending on what comes out of the IARC meeting), and we ghost-write the
        Exposure Tox & Genetox sections. An option would be to add Greim and Kier or
        Kirkland to have their names on the publication, but we would be keeping the cost
        down by us doing the writing and they would just edit & sign their names so to
        speak.” (Emphasis added, MONGLY02078590)

        726.    In another planning document titled “Proposal for Post-IARC Meeting Scientific

Projects,” the creation of a “Publication on Animal Carcinogenicity Data” is discussed. The

document states, “Majority of writing can be done by Monsanto, keeping OS$ down.”

(MONGLY01228576)

        727.    In another email, dated May 11, 2015, Michael Koch (Dr. Farmer’s boss and head

of product safety within Monsanto), notes that Monsanto will attempt to get a “Publication on

Animal Data Cited by IARC,” and that the “Manuscript to be initiated by MON as ghost writers”

(MONGLY01023968).

        728.    The contents of the special issue of CRT was a Monsanto-controlled, and largely

Monsanto-written rebuttal of the evidence cited by IARC in support of its “probably

carcinogenic to humans” classification. Each paper had a mix of consultants and “independent”

scientists listed as co-authors, but failed to disclose various Monsanto scientists who had made

substantive contributions to the papers, including drafting full sections, if not full first drafts.

        729.    There are dozens of emails and other documents in the record memorializing the

role Monsanto played in the conceptualization, writing, revisions, and publication of the papers

in the special issue of CRT. For example: MONGLY00978170, MONGLY00992949,




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MONGLY00994301, MONGLY00998682, MONGLY00999487, MONGLY01000676,

MONGLY01023968, MONGLY011300799, MONGLY01183933, MONGLY01228589,

MONGLY02085862, MONGLY02133654, MONGLY00998684 and MONGLY02359008.

Many of the communications are between Monsanto scientists and individuals working for the

Canadian consulting firm Intertek. This firm was hired by Monsanto to manage the process of

producing the papers that would appear in the special issue of CRT.

       730.    The consulting firm Intertek is basically the same company that Monsanto hired

in 1998 to manage the process of putting together the also-ghost-written Williams et al (2000)

review of glyphosate toxicity. Back then, the consulting firm’s name was CanTox Intertek.

       731.    Intertek served as the primary mechanism through which ghost-written material

from Monsanto was incorporated in the drafts of the papers that were subsequently reviewed,

revised, edited, and approved for submission by Monsanto.

       732.     In addition, Intertek also served as the primary point of contact with the editor of

the journal CRT. This arrangement shielded the journal’s editor from evidence of Monsanto’s

direct role, not just as a ghost-writer of parts of some of the papers, but as the primary author of

several of them, and an important contributor to all of them.

       733.    In MONGLY00998682, William Heydens’ edits on the “Summary Report” paper

for the CRT special issue are transmitted back to Ashley Roberts, Senior VP of the Food and

Nutrition Group at Intertek. Roberts served as the principle point of contact between Monsanto

and Intertek, and between Intertek and paper co-authors.

       734.    William Heydens organized a group of Monsanto third-part experts and

consultants for an “Expert Panel Review of the Carcinogenic Potential of the Herbicide




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Glyphosate,” to be held at the 2015 Society for Risk Assessment (SRA) Annual Meeting.

(MONGLY01030787)

       735.    Via a November 3, 2015 email, Heydens circulated the panel makeup to John

Acquavella and Larry Kier, individuals who had been involved in writing, and/or ghost-writing

the papers published in the special glyphosate issue of CRT published in 2016.

       736.    John Acquavella replied about an hour later that his name should be in the co-

author list, to which Heydens replies: “I thought we discussed previously that…we would not be

able to use you or Larry as Panelists/authors because of your prior employment at Monsanto.”

       737.    Just over an hour later, Acquavella responds to Heydens: “I didn’t realize that

Bill. Also, I don’t think that will be okay with my panelists. We call that ghost writing and it is

unethical” (MONGLY01030787).

       738.    Heydens replied to Acquavella, writing: “We will have to pick this up tomorrow.”

The next day at 9:25 a.m., Heydens emails Acquavella, copying Donna Farmer, the Monsanto

scientist managing Acquavella’s consulting work. Heydens proposed a call later in the day.

Acquavella responds and sets the time for the call. And then he adds:

       “You guys know me. I can’t be a part of deceptive authorship on a presentation or
       publication. Please note the ICME guidelines below [which he attached to his
       email] that everyone goes by to determine what is honest/ethical regarding
       authorship.” (MONGLY01030787)

       739.    On September 26, 2018, the CRT issued an Expression of Concern regarding the

papers in the special issue critical of IARC. In it, the publisher expressed “concerns over

thecompleteness of acknowledged contributions to the above supplement” and explained “[w]e

have not received an adequate explanation as to why the necessary level of transparency was not

met on first submission. We thank those who brought this matter to our attention. When reading




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the articles, we recommend that readers take this context into account. We will continue to work

to update these articles and ensure full disclosure of all contributions to them.”

       740.    Similarly, on the same day, three of the named authors on the manuscripts issued

Corrigendums, correcting their disclosures and revealing Monsanto’s involvement more clearly.

Each of these Corrigendums specifically apologizes for their “errors.”

       741.    In my opinion, the Monsanto-driven CRT papers did not properly disclose

Monsanto’s involvement in their publication and were not “independent” reviews.

       1. Other Forms of Ghost-Writing

       742.    The above cited examples of ghost-writing involve unattributed contributions to

papers in peer-reviewed scientific journals that have explicit conflict of interest and disclosure

rules that prohibit ghost-writing.

       743.    There are other examples of ghost-writing as well.

       744.    On August 19, 2008, Dr. Charles Healy, a senior Monsanto scientist, received an

email request from the Editor of the journal Cell Biology and Toxicology to review a glyphosate

genotoxicity paper entitled “Cytotoxicity of herbicide Roundup and its active ingredient,

glyphosate in rats” (MONGLY02286842).

       745.    He accepted the assignment and contacted his Monsanto colleagues David

Saltmiras and Donna Farmer later in the same day. He asked them to conduct the review,

explaining:

       “You two would be the reviewers in fact and I would then collate your comments
       and be the reviewer of record.”

       746.    In this circumstance, it would have been entirely routine for Healy to write back

to the Editor and ask for permission to conduct the review with assistance from two Monsanto

colleagues. The editor would have then had the opportunity to decide whether such participation



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by Monsanto was proper or not, and what public disclosure of such review was appropriate..

Having failed to so, Monsanto’s participation was unknown by the editor and thus not revealed

to the readers.

       747.       The ghost-written Healy et al. review of the paper is nearly five pages, single-

spaced, and is about the same length as the paper, when it was published about a year later. The

Healy et al. review is brutal, rating the paper a 5 on a scale of 1 to 100 (100 top rating) and

“unacceptable” for publication.

       748.       On September 9, 2008, an email from the journal is sent to Healy stating: “I have

had completely opposite reviews on this paper. I would be very grateful for your comments

before giving the authors a decision.” Later the same day, Healy forwarded this message to

Saltmiras and Farmer, and adds: “Looks like ours will be the deciding vote as to whether the

glyphosate paper is published.”

       749.       A little over a year later, a revised version of the paper reviewed by Healy et al.

appeared in the journal Environmental Toxicology and Pharmacology (Vol 28:379-385). The

author is Nahla S. El-Shenawy with no disclosure of Monsanto’s review prior to publication.

       750.       Rising concerns over Roundup’s human health effects in Latin America led to a

Monsanto-organized Toxicology Expert Panel meeting in October 2012. David Saltmiras was

charged with putting together an invited, expert panel for the meeting. A seminar on the history

and activities of the EU Glyphosate Expert Advisory Panel was among the presentations

Saltmiras was organizing.

       751.       In an August 13, 2012 email, Saltmiras shares with colleagues that he will invite

Sir Colin Berry or Jack Mandel to present talks during the seminar and adds that “I will likely

prepare the presentation and send to him to change/adapt as he sees fit.”




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       752.    David Saltmiras engaged in an email discussion on January 26, 2013 with

Monsanto-consultant and former employee Larry Kier over whether Saltmiras should be added

as a co-author of Kier and Kirkland (2013), since Saltmiras wrote a significant portion of the

paper. Saltmiras tells Kier that he had been strongly encouraged by “Senior Monsanto

management” to author peer-reviewed publications, and that this Kier and Kirkland paper “is the

fifth such Glyphosate related manuscript I have been involved with over the past few years

without co-authorship.” (Emphasis added, MONGLY04086532).

       753.    In his 2012 performance evaluation, Saltmiras wrote “Successfully facilitated

numerous third party expert letters to the editor which were subsequently published...” on the

Seralini study. He also “accepted an invitation to be a peer-reviewer for a ‘high profile’

toxicology journal…peer reviewed several manuscript submissions, wherein my

recommendations to reject those manuscripts were accepted/adopted by the Editor.”

(MONGLY101045300)

       754.    As part of his 2015 performance evaluation, Saltmiras summarized his

glyphosate-related activities, which included “ghost wrote cancer review paper Greim et al.

(2015), coord Kier (2015) update to K&K, pushed for Sorahan (2015)” (MONGLY017223742).

       755.    These numerous examples, in my opinion, reflect instances of conduct which run

counter to the basic precepts of scientific integrity and transparency and demonstrate the lengths

to which Monsanto would go to protect Roundup’s FTO.


       E. Responses to Scientists Raising Concerns over Glyphosate Safety

       756.    The discovery record contains many examples of Monsanto efforts to: (a)

discredit the research findings of scientists whose work is not aligned with Monsanto’s




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judgements regarding glyphosate and Roundup risks, (b) block studies from being published that

raise new, or reinforce old concerns over Roundup risks by submitting lengthy, highly critical

reviews to journal editors (and then taking credit for “blocking publication of …” in performance

evaluations), (c) look for ways to cut or divert the funding available to scientists not included in

Monsanto’s glyphosate-friendly Third Party Network of scientists, and (d) provide

encouragement and financial support to glyphosate-friendly scientists, often through circuitous

mechanisms designed to hide Monsanto’s fiscal sponsorship.

        1. Monsanto Response to the IARC Working Group Report

        757.   Dr. Consolato Maria Segi, a professor at the University of Alberta, Canada, was a

member of the IARC Working Group that carried out the assessment of the oncogenicity of

glyphosate.

        758.   After the release of IARC Monograph 112 and announcement of the 2A

“probably carcinogenic to humans” classification, Dr. Sergi received a letter dated October 31,

2016 from a U.S. based law firm, Hollingsworth LLP. The firm had been hired by Monsanto to

carry out various activities in response to the IARC decision. Apparently, several other IARC

Working Group members received a similar letter.

        759.   According to Dr. Sergi’s response dated November 4, 2016, the law firm’s letter

requested “disclosure of files used in connection with the preparation of the IARC Monograph

Volume 112.” Prior to responding, she consulted with colleagues on the Working Group and at

IARC.

        760.   She replied that the files belonged to IARC, and the result of their deliberations

were explained in detail in the monograph. She then wrote:

        “I found your letter intimidating and noxious even though transparency is
        important…It is impolitic to mention possible consequences without identifying



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       the correct background. I find your approach reprehensive and lacking of common
       courtesy even by today’s standards. As a graduate of a British educational system,
       I consider your letter pernicious, because it maliciously seeks to instill some
       anxiety and apprehension in an independent group of experts…Please avoid
       contacting me or any of my colleagues in the future regarding this issue.”

       (Emphasis in original; Heydens Exhibit 3-54)

       2. Seralini Team

       761.      On September 19, 2012, a team of French scientists led by Gilles-Eric Seralini

published a paper entitled “Long term toxicity of a Roundup herbicide and a Roundup-tolerant

genetically modified maize” in the journal Food and Chemical Toxicology (Vol 50: 4221-4231).

       762.      The paper reported the results of a two-year rat study. Both formulated Roundup

herbicide and genetically engineered-corn, fed separately and together, were found to trigger a

variety of pathologies including cancer, damage to the pituitary gland, liver, and kidneys, and

premature death.

       763.      The kidney emerged as a particularly vulnerable organ, given that 76% of the

impacted parameters were associated with kidney deficiencies.

       764.      The abstract ends with this statement:

       “These results can be explained by the non-linear endocrine-disrupting effects of
       Roundup, but also by the overexpression of the transgene in the GMO and its
       metabolic consequences.”

       765.      The Seralini study was the first, independent two-year rat feeding study designed

to sort out the individual and combined impacts of long-term exposure to a GE corn (NK603)

and formulated Roundup herbicide. Previously, Seralini and colleagues had conducted several

genotoxicity experiments comparing the toxicity of glyphosate and formulated Roundup in cell

assay systems.




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       766.    The paper’s findings received extensive media coverage in the U.S. and Europe,

and posed a threat to Monsanto’s commercial interests, as well as a challenge for regulators who

had previously approved both Roundup and GE, “Roundup Ready” corn.

       767.    The next day, September 20, 2012 , David Saltmiras sent an email to Sir Colin

Barry and Andrew Cockburn, a consultant working for Monsanto. It marks the beginning of a

campaign that would last years, with the goal of discrediting the Seralini paper and his team.

       768.    In the email, Saltmiras calls the paper “junk science.” He questions what

happened with the journal’s peer review process, and states: “I also suspect this paper may be in

our own best interests – the last rites for Seralini’s few remaining shreds of scientific credibility.”

(MONGLY01096620)

       769.    In my opinion, the rapidity and scope of negative commentary, beginning on the

day the paper was released, was unprecedented and again demonstrates Monsanto’s focus on

protecting Roundup’s FTO.

       770.    A week after the paper’s release, a Monsanto-funded, retired academic in the

U.S., Dr. Bruce Chassy, emailed the journal editor Wallace Hayes calling for the paper to be

retracted, in order to save the reputation of the journal (MONGLY00900629).

       771.    After Hayes responds and says he will process Chassy’s email as a letter to the

editor, and give the Seralini team an opportunity to reply in accord with standard journal policy,

Chassy quickly replies and writes that his initial email “was a heartfelt expression by a caring

colleague who is deeply concerned…My intent was to urge you to roll back the clock, retract the

paper, and restart the review process.” Then, Chassy alleges that “The paper in question has not

been peer reviewed,” a claim which he no doubt knew was false.




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       772.    In the coming weeks and months, Monsanto encouraged and orchestrated a series

of critical commentaries that included allegations of scientific fraud by the Seralini team.

       773.    An exchange of emails between senior Monsanto officials and scientists occurs on

September 26, 2012. Saltmiras starts the email chain at 11:50 a.m., which is sent to seven

colleagues, including Eric Sachs, Bill Heydens, Bruce Hammond, and Daniel Goldstein.

       774.    In the email, he reports on a call he had earlier that morning with the journal

editor, Wallace (Wally) Hayes. Saltmiras writes:

       “He [Hayes] expressed concern that to date he has only received links to blogs,
       web postings, media releases, etc. and no formal letters to the Editor…Therefore,
       he urgently needs rational, objective and authoritative formal letters to the
       Editor….I believe he would like such letters TODAY!”

       (Emphasis in original, MONGLY02063095-96)

       775.    Among “Actions” Saltmiras lists in his email, he reports that he has emailed the

EU Glyphosate Task Force (GTF) Toxicology Working Group, suggesting that the GTF submit a

letter; that Eric Sachs (Monsanto’s head of Regulatory Policy & Scientific Affairs) will follow-

up with “his third party scientific experts…and request they consider formal letters to the

Editor.” Last, Saltmiras asks for his colleague’s “thoughts on promptly moving forward.”

       776.    Eric Sachs responds 13 minutes later, reporting that Bruce Chassy will soon

submit his letter to the journal, and “notify other scientists that have sent letters [to media outlets

or Monsanto] to do the same. He understands the urgency.”

       777.    Fifteen minutes later, Heydens replies to the group: “And I very strongly believe

we must go ahead and put together a Monsanto letter to the editor…”

       778.    Four minutes after receipt of Heydens’ email, Eric Sachs writes to the group: “I

remain adamant that Monsanto must not be put in the position of providing the critical analysis

that leads the editors to retract the paper” (MONGLY02063096).



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         779.    Heydens replies privately to just Sachs a few minutes later:

         “This [Sachs’ recommended role for Monsanto] makes no sense to me at all. We
         have defended our science every step of the way since our 1st encounter with him
         [Seralini]. That fact remains that the external sector has not given us what we
         need, and the editor is telling us it is the 11th hour…”

780.     Sachs then replies just to Heydens:

         “I am not challenging that Monsanto should defend our science – we absolutely
         should and have. There is a difference between defending science and
         participating in a formal process to retract a publication that challenges the safety
         of our products. We should not provide ammunition for Seralini, GM critics and
         the media to charge that Monsanto used its might to get this paper retracted. The
         information we provided clearly establishes the deficiencies in the study as
         reported and makes a strong case that the paper should not have passed peer
         review. We have done our part. It is time now for the public sector and especially
         our network of experts to do theirs.” (MONGLY02063095-96)

         781.    In this exchange, Sachs argues that Monsanto must not be perceived as

orchestrating and supporting a campaign that is designed to force the journal to retract the

Seralini paper, but that is essentially what they did, beginning with the sharing of Monsanto-

written criticisms of the Seralini study, before its public release, to a number of its third-party

experts, who were quoted in various media stories, and/or wrote blogs, commentaries, and letters

to the editor.

         782.    Two days later, in an email from Daniel Goldstein to Sachs on the effort to

encourage letters to the editor, Goldstein writes to Sachs: “We are being asked to keep internal

correspondence down on this subject” (MONGLY00936725).

         783.    In early October 2012, Goldstein shared notes from conference calls with

Monsanto scientists and registration specialists in multiple countries regarding the fallout from

the Seralini study. It includes “A list of pending actions in St. Louis is provided below.”

(MONGLY00978885-90)




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           784.   These actions and “Key Points” cover Monsanto efforts to support the retraction

campaign; studies that Monsanto should consider undertaking to have a basis to challenge the

findings in the Seralini paper; and, rebuttal arguments and related talking points to share with

regulators trying to encourage retraction of the Seralini paper.

           785.   Then Goldstein writes: “c. And finally – the one [new study that Monsanto should

consider doing] you have all been waiting for: 2 year rat/chronic studies of pesticide

formulations on crop.” (Emphasis added).

           786.   The Monsanto letter to the Editor of Food and Chemical Toxicology appeared in

March 2013 (Hammond et al Vol 53: 459-464). It spanned six pages of text in the journal; the

original Seralini paper was 11 pages, of which about 4.5 pages were tables, figures, and photos.

The Monsanto letter was signed by three Monsanto scientists: Bruce Hammond, Daniel

Goldstein, and David Saltmiras.

           787.   Remarkably, the authors of the letter write “The authors declare that there are no

conflicts of interest” in the section of the letter labeled “Conflict of Interest,” when in fact it is

hard to imagine how three co-authors could be more directly, or fully conflicted.

           788.   On November 19, 2013, Food and Chemical Toxicology Editor Wallace Hayes

wrote Seralini a letter informing him that his paper would be retracted. The letter included the

retraction statement that Hayes was going to publish. It recounts the controversy, the letters to

the editor, “and even allegations of fraud.”

           789.   At the time that Wallace Hayes decided to retract the paper, he had been hired to

be a paid consultant for Monsanto at $400 per hour (MONGLY02185742). This information

was never disclosed during the time period in which Seralini’s credibility as a scientist was under

assault.




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       790.    Then, Hayes writes: “Unequivocally, the Editor-in-Chief found no evidence of

fraud or intentional misrepresentation of the data…Ultimately, the results presented (while not

incorrect) are inconclusive, and therefore do not reach the threshold of publication in Food and

Chemical Toxicology.”

       791.    In my opinion, the retraction of a scientific paper for reporting inconclusive

results is extremely rare. If such a test for conclusiveness of results were adhered to consistently

by journal editors, the number of published papers would be dramatically reduced. It is also my

opinion that Monsanto’s financial relationship with Hayes created a serious conflict of interest,

and at a minimum, should have been disclosed.




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   XI. The IARC Classification
       792.   The International Agency for Research on Cancer released a summary of its

Working Group report on glyphosate and glyphosate-based herbicides via a short report

published in the May 2015 issue of The Lancet Oncology, a highly regarded medical journal. The

full Working Group monograph was initially published on July 29, 2015, and a slightly revised

version was released January 26, 2017 in which some references and typos were corrected

(http://monographs.iarc.fr/ENG/Monographs/vol112/mono112.pdf).

       A. IARC’s Justification for Its “Probable Human Carcinogen”
          Classification

       793.   The concluding section of the full monograph discussing the basis for the

Working Group’s classification decision states:


       “6.3 Overall evaluation

       Glyphosate is probably carcinogenic to humans (Group 2A).

       6.4 Rationale

       In making this overall evaluation, the Working Group noted that the mechanistic and
       other relevant data support the classification of glyphosate in Group 2A.

       In addition to limited evidence for the carcinogenicity of glyphosate in humans and
       sufficient evidence for the carcinogenicity of glyphosate in experimental animals, there is
       strong evidence that glyphosate can operate through two key characteristics of known
       human carcinogens, and that these can be operative in humans. Specifically:

       • There is strong evidence that exposure to glyphosate or glyphosate-based formulations
       is genotoxic based on studies in humans in vitro and studies in experimental animals.

       One study in several communities in individuals exposed to glyphosate-based
       formulations also found chromosomal damage in blood cells; in this study, markers of
       chromosomal damage (micronucleus formation) were significantly greater after exposure



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       than before exposure in the same individuals.

       • There is strong evidence that glyphosate, glyphosate-based formulations, and
       aminomethylphosphonic acid can act to induce oxidative stress based on studies in
       experimental animals, and in studies in humans in vitro. This mechanism has been
       challenged experimentally by administering antioxidants, which abrogated the effects of
       glyphosate on oxidative stress. Studies in aquatic species provide additional evidence for
       glyphosate-induced oxidative stress.”

       794.    Because a member of Monsanto’s Third Party Network of scientists, Dr. Tom

Sorahan, had been designated as an invited, industry observer at the public meetings of the

Working Group, Monsanto was aware of the Working Group’s likely judgements in the key

areas that drive IARC determinations – animal testing, human epidemiology, and

genotoxicity/possible mechanism(s) of action.

       795.    The IARC classification system is clearly explained and driven by the strength of

published evidence in the above three areas. An internal Monsanto memo states “[w]e should

assume and prepare for the outcome of a 2B rating (possible human carcinogen); a 2A rating

(probable human carcinogen) is possible but less likely” (MONGLY02913526). .

       796.    To better understand the thinking of the Working Group, I called Dr. Blair, who I

have known since the early 1980s, and had a phone conversation with him on or about March 22,

2015. He outlined the factors leading to the Working Group’s decision.

       797.    Dr. Blair told me that as the Working Group approached a final decision, the

most extended debate was not between a 2A (“probably carcinogenic”) or 2B (“possibly

carcinogenic”) classification, but actually between Group 1 (“The agent is carcinogenic to

humans”) and Group 2A (“The agent is probably carcinogenic to humans”).

       798.    The fact that the Working Group almost classified glyphosate as a Group 1

carcinogen became public knowledge as a result of an Andrew Cockburn story in the September



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2015 issue of Harpers Magazine. The story was entitled “Weed Whackers – Monsanto,

glyphosate, and the war on invasive species” (https://harpers.org/archive/2015/09/weed-

whackers/).

       799.    Cockburn’s story describes the IARC classification as “a massive speed bump”

undercutting Monsanto’s ‘mantra…all labeled uses of glyphosate are safe for human health’…”

       800.    To gain perspective on the IARC Working Group’s assessment of the science,

Cockburn interviewed Aaron Blair. The germane passage in Cockburn’s story reads:

       “According to Blair, there were good grounds to declare that glyphosate definitely
       causes cancer [i.e., to classify it as a Group 1, proven human carcinogen]. This
       did not happen, he said, because ‘the epidemiologic data was a little noisy.’ In
       other words, while several studies suggested a link, another study of farmers in
       Iowa and North Carolina, did not. Blair pointed out that there had been a similar
       inconsistency in human studies of benzene, now universally acknowledged as a
       carcinogen. In any case, this solitary glitch in the data caused the group to list
       glyphosate as a probable (instead of a definite) cause of cancer.”

       B. Monsanto Braces for Unwelcomed News from IARC

       801.    In mid-September 2014, Donna Farmer, a senior Monsanto toxicologist, learned

of the forthcoming IARC review of the oncogenicity of glyphosate and glyphosate-based

herbicides, and began developing a plan to respond to the forthcoming report.

(MONGLY01207339)

       802.    A month later, William Heydens sent an email to Monsanto colleagues including

       , Farmer,        , Koch, and Saltmiras, in which he asked: “…wouldn’t an adverse IARC

evaluation have the real potential to impact the results of the Annex 1 renewal [re-registration of

glyphosate in the EU].” Then, he also notes:

       “And while we have vulnerability in the area of epidemiology, we also have potential
       vulnerabilities in the other areas that IARC will consider, namely, exposure, genotox, and
       mode of action.” (MONGLY00989918)




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        803.      In November 2014, a consulting agreement was completed between former

Monsanto epidemiologist John Acquavella and Monsanto at $400 per hour, with Donna Farmer

as the principle point of contact (MONGLY01224009).

        804.      A December 17, 2014 email from Kimberley Link in Monsanto’s

communications division to Daniel Goldstein discusses the need to identify third-party voices to

tap when the IARC decision is made public. It reports that Monsanto has hired Potomac

Communications to place favorable op-eds, targeting the Washington Post and USA Today, and

a potential plan to approach officials in the American Academy of Pediatrics to find someone to

serve as “high profile author” (MONGLY01021656).

        805.      A document dated February 15, 2015 describes “Glyphosate Key Points

Following IARC Decision,” and was developed by a Heydens-Farmer-Saltmiras led team

preparing for release of the IARC decision. In the event that IARC assigns glyphosate-based

herbicides “an unfavorable 2B classification,” the company set forth a plan that would hopefully

generate an “orchestrated outcry” after the March 3-10, 2015 IARC Working Group meeting

when, presumably, the final classification decision would be made and announced soon

thereafter.

        1. Monsanto’s IARC “Talking Points” Drafted Before the IARC Decision is
           Released

        806.      The plan set forth seven “Key Industry Points” critical of the feared, 2B

classification (MONGLY01021709-11). Seven more talking points for “Academics” are

outlined, and include:

              •   “IARC has done a disservice by creating baseless fears with a cancer
                  rating for glyphosate, and the confusing classification is certainly open to
                  distortion by alarmists”;
              •   The IARC decision “was predictable and political”; and
              •   “Government regulators remain reassuring about the potential risks.”


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       807.       On February 19, 2015 William Heydens sent an email to Donna Farmer, copied to

Koch, Saltmiras, and Hodge-Bell, on the subject “RE: IARC Planning.” The email describes “the

next two most important things that we need to do…” These were a meta-analysis of

epidemiology studies, and a re-assessment of Agricultural Health Study data that established a

weak link between use of a glyphosate-based herbicide and multiple myeloma.

(MONGLY00977267)

       808.       Heydens goes on to describe possible approaches to generate peer-reviewed

journal articles counteracting the IARC classification (described previously in the discussison of

ghost-writing).

       809.       In a detailed, internal document dated February 23, 2015, Monsanto describes its

multi-faceted plan for responding to the IARC decision due to be announced in about two weeks.

It provides background on IARC, and states, for example:

       “IARC has a history of questionable and politically charged rulings on the
       carcinogenic properties of products such as cell phones, coffee and caffeine. We
       should assume and prepare for the outcome of a 2B rating (possible human
       carcinogen); a 2A rating (probable human carcinogen) is possible but less likely.”
       (MONGLY02913526)

       810.       Attachment A to the February 23, 2015 document sets forth the “Objectives for

Preparedness & Engagement” in Monsanto’s response to the IARC decision. The two-bulleted

items read:

              •   “Protect the reputation and FTO of Roundup by communicating the safety
                  of glyphosate”; and
              •   “Provide cover for regulatory agencies to continue making re-registration
                  decisions based on science.”

       811.       Under “Strategies/Tactics” to achieve the above stated objectives, Attachment A

states “Orchestrate Outcry with IARC Decision ~ March 10, 2015” (MONGLY02913530).




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       812.    The introductory section of the full document states that: “Regulatory is not aware

of a situation where a regulatory body took a different position than IARC.”

(MONGLY02913526)

       813.    The “Key Deliverables” section outlines 24 items and actions, organized by

milestone date (pre-IARC decision; week of Feb. 23-27; Post-Decision/Posting, etc). These

include:

           •   Engage Henry Miller, “Inoculate/establish public perspective on IARC
               reviews” (Miller produced a hard-hitting Forbes piece the day of the
               release of the IARC decision);
           •   Blog posts;
           •   Outreach to EPA/IARC participants;
           •   Contact journals to inquire about press releases, for “amplification of
               scientific studies (a Saltmiras task, which went badly awry);
           •   “Inform/Engage Industry Associations”, with the objective “Lead voice in
               ‘who is IARC’ plus 2B outrage”; and
           •   Post-release of decision, “Outreach to key stakeholders,” including grower
               groups, in order to “Neutralize impact of decision/gain support.

       2. Monsanto Enlists Its Third Party Network to Criticize the Basis of the IARC
          Classification

       814.    A March 17, 2015 email is sent from Eric Sachs, head of Monsanto’s public

affairs and outreach efforts, to Henry Miller, a long-term, glyphosate-friendly member of

Monsanto’s Third Party Network. In it, Sachs forwards to Miller a ghost-written draft of Miller’s

op-ed for Forbes written by Monsanto and Potomac Communications.

       815.    Five days earlier, Sachs had emailed Miller to ask him if he would be willing to

write more on the IARC decision, to which Miller replied: “I would be if I could start from a

high-quality draft” (MONGLY02063615).

       816.    On February 25, 2015, Donna Farmer received an email from Kimberley Link

informing her that “you have been selected as one of the primary spokespersons for the company

to defend glyphosate” (MONGLY01210309).


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        817.    Michael Koch, a senior official and part of Monsanto’s communications team,

emails Farmer seven minutes later to “discuss” this new role for Farmer in the IARC response,

and writes that “In the short term I think you are the right ‘fix’.”

        818.    A flurry of emails then addresses how to rapidly gear up the Third Party Network

response, in support of Monsanto’s critical reaction to the expected IARC 2B classification of

glyphosate (MONGLY01021648).

        819.    The communications team asks Dan Goldstein several times to identify experts

that are vetted and prepared to say and write messages aligned with Monsanto’s position. Such

third-party experts would work with Farmer, and are needed so that the Monsanto

communications team and Potomac Communications can move ahead with writing and

placement of favorably, largely ghost-written op-eds.

        820.    Goldstein replies in a remarkable email dated September 23, 2015 :

        “I realize that a non-paid individual would be preferred – but I do not know
        anyone who has kept up with this in their ‘spare time’ as a toxicologist and one
        needs to be mighty prepared if one wishes to feel comfortable arguing with
        IARC.” (Emphasis added)

        821.    Goldstein estimates that a new expert would need “a good 10 hours of work in

this, at $200 per hour” to accomplish the task.

        822.    On February 23, 2015, Kelly Clauss, another person working on Monsanto’s

IARC outreach and media response, emails Goldstein with a list of experts to engage in the

response effort, and for work with Potomac Communications. Five epidemiologists are identified

and were listed in the email in order of “most to least familiar with published studies and data.”

The scientists identified in her list are:

            •   Tom Sorahan, University of Birmingham (was an invited observer at the
                IARC meeting);
            •   Pam Mink, Emory University (did one review on glyphosate-cancer


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               studies, one on non-cancer issues, both paid for by Monsanto);
           •   John Acquavella, former Monsanto employee, now retired and consulting
               with Monsanto;
           •   Elizabeth Delzell, University of Alabama-Birmingham; and
           •   Nalini Sathiakumar, University of Alabama-Birmingham (works with
               Delzell).

       823.                    replies to the list and writes that “             knows

glyphosate but his contract, FCPA etc have expired so that would take 6 weeks to sort out.”

       824.    A few days later, on February 26, 2015, Donna Farmer responds to a now lengthy

email chain on the subject “RE: URGENT: Draft email for experts to help with IARC.” She

begins her response to Goldstein and the communications team (Carla Lord, Kelly Clauss and

Kimberley Link) with this sentence: “Help me understand why these folks were selected and

who is Potomac?”

       825.    On February 27, 2015, about two weeks before the release of the IARC decision,

Carla Lord responds to Farmer and others on the email chain, with an explanation of the plan

outlined earlier in the IARC response document:

       “Donna,

       Thanks and I’m sorry. I didn’t realize until now that you were not on the original
       email string (included below). Potomac is a media house that is writing op-eds
       and letters to editors in response to negative press surrounding glyphosate. These
       would be ‘authored’ by those on the list then placed by Potomac in media where
       needed. Potomac writers would do the heavy lift with the expert authors as final
       editor. We know these items in the media need to be from those outside the
       industry.” (MONGLY01021648)

       3. Monsanto Receives Advance Warning of the IARC Classification

       826.    On March 14, 2015, four says after the end of the Working Group meeting and six

days before the March 20, 2015 release of the embargo on the decision and publication of the

results of the IARC review in The Lancet Oncology, Donna Farmer reported that a Monsanto

colleague was on a CropLife Americas (CLA) call (pesticide industry trade association), and that


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an EPA representative, Jess Rowlands, announced the IARC decision to classify glyphosate as a

Group 2A carcinogen. (MONGLY00977253)

       827.    Farmer’s March 14, 2015 email was sent to                 , Monsanto’s invited

observer at the meeting, and other Monsanto colleagues including                   ,

     , and William Heydens. These individuals were most directly involved with the IARC

meeting. In the email, Farmer restates several of the plans and talking points in the IARC

response plan document. She closes it by writing: “We know it must have been a challenging

week for all of you to try to keep the assessments based on sound science…”

       828.            , the invited observer at the IARC Working Group meeting that, in effect,

represented Monsanto, replies to Farmer and others on the email chain:

       “I do know of instances where observers at IARC felt they had been treated
       rudely or brusquely at Monograph meetings. That was not the case for me at Vol.
       122 [the one containing the glyphosate review and classification]. I found the
       Chair, sub-chairs and invited experts to be very friendly and prepared to respond
       to all comments I made…In my opinion the meeting followed the IARC
       guidelines. Dr.           , the Director of the Monographs programme, has an
       intimate knowledge of the IARC rules and insists they were followed.”

       829.    In the weeks and months after the release of the IARC decision, the nature and

scope of Monsanto’s “response” activities expanded.

       830.    Another Monsanto internal document circulated in April 2015 with the title

“IARC Follow Up.” Unlike all pre-decision planning documents, Monsanto is now dealing with

the serious Group 2A “probably carcinogenic to humans” classification. The goals, activities,

and work products in this document include:

           • “Invalidate relevance of IARC”;
           • “Protect regulatory FTO [Freedom to Operate]”;
           • “Litigation prevention/defense”;
           • “Protect Sales Globally”; and
           • “Compilation of 3rd Party Statements in defense of glyphosate.”
           (MONGLY03316369-71)


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       831.    About the same time, John Acquavella sends an email to Donna Farmer. In it, he

discusses IARC’s assessment and final judgements on the epidemiology data. He writes:

       “IARC’s classification of the epidemiology evidence follows directly from their
       definition of ‘limited’ [evidence]. There is not really much to quarrel about with
       respect to the epidemiology classification.”
       (AcquavellaPROD00010215)

       832.    A draft Powerpoint entitled “Proposal for Post-IARC Meeting Scientific Projects”

dated May 11, 2015, is circulated internally in preparation for a meeting. It begins by asking

“Why do more?” in large letters, and then lists these reasons:

           •   “Severe stigma attached to Group 2A Classification”;
           •   Aaron Blair continues to defend work & exaggerate number of studies
               w/association while ignoring AHS”;
           •   “In response to our critique, can expect IARC to beef-up monograph as
               much as possible”;
           •   ATSDR;
           •   Prop 65 [California State law requiring labeling of oncogenic products];
               and
           •   Litigation support. (MONGLY01228577)

       833.    Several new projects and scientific papers are outlined, nearly all to be authored

by third-party experts. But in order to increase credibility and lower costs, “Majority of writing

can be done by Monsanto” (i.e. ghost-written).

       834.    Most of the internal documents and emails setting forth possible post-IARC

actions include discussion of the need for new, Monsanto-commissioned and controlled peer-

reviewed papers providing Monsanto’s critique of the basis of IARC’s decision, and/or critical

reviews of the findings and conclusions advanced by other scientists not adequately aligned with

Monsanto’s positions and messaging.




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       4. Post-IARC Plans Put Into Motion

       835.    From the fall of 2014, about six-months before the release of the IARC decision,

to mid-2015 (about 4 months after the release of the decision), these discussions led to a plan to

convene a “Glyphosate Expert Panel Review” of the scientific basis for IARC’s classification of

glyphosate as a “probably carcinogenic to humans.”

       836.    The “Expert Panel” idea was eventually adopted, funds were committed, and the

plan implemented, starting in late-June 2015. The panel would meet, discuss the issues, and

produce a set of papers suitable for publication.

       837.    A detailed proposal describing several options for moving forward was presented

to the “Glyphosate Strategy Team Meeting” on June 18, 2015. (Acquavella Exhibit 10-27;

MONGLY03500777)

       838.    “Approach A” would entail an Expert Panel that “consists primarily of people we

have worked with already…they have some/much knowledge…[and this approach would have]

Lowest cost (est. $200-250k), but also lowest credibility/impact.”

       839.    “Approach B” would be to add “a few ‘big name’ scientists & possibly some who

have not worked for Monsanto before (more credibility)… hire a firm (Intertek, formerly

CanTox) to manage the meeting…Cost estimate - $350-400k.”

       840.    “Approach C” takes another step toward “credibility/impact” and would include

hiring a well-respected risk assessment firm (presumably Intertek did not fall in this category

based on Monsanto’s assessment), in order to:

        “set up a totally independent review: they choose scientists, conduct meeting,
       write the report…Most credibility/impact but we have virtually no control…Cost
       estimate - $375-450k.”




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       841.    Approach B was the recommended path forward advanced during the meeting,

and the one adopted. In fleshing out the plan, the document states: “Monsanto provides draft

report which Experts edit & then publish…Use journal with quick review time…Negotiate for

expedited review with journal editor.”

       842.    A “Backup Slide” provides an even more detailed “Summary of Overall Process”

and individual actions/steps include:

           •   “Review IARC Monograph to identify all areas that need to be
               addressed”;
           •   “Prepare initial draft document”;
           •   “Edit draft manuscript to capture meeting discussion/conclusions”;
           •   “Send draft manuscript to Experts for their review”;
           •   “Send manuscript to journal for review”;
           •   “Revise manuscript per comments from journal”; and
           •   “Re-submit [papers] & get final approval from journal.”

       843.    In other words, in Approach B, Monsanto would control the process, from

producing an initial draft of the report/papers, to managing the revision of the draft in response to

the meeting of the experts, making and/or approving final edits prior to submission to a journal,

and managing/approving any changes made in response to peer-review comments.

       844.    This “Backup” slide failed to include two other key responsibilities Monsanto

clearly reserved to itself – (1) deciding which names would appear on each published paper, and

(2) deciding on what information would be provided to the expert panel and teams of co-authors.

       845.    A February 8, 2016 exchange between Monsanto consultant and CRT paper co-

author John Acquavella and Intertek’s Ashley Roberts focuses on the difficulty Intertek,

Monsanto, and the third-party expert co-authors were having in reaching a consensus on who

would be the listed as the author or co-authors of the summary paper in the CRT special issue.

       846.    Both Acquavella and Roberts wanted the entire expert panel to sign the summary.

But Acquavella tells Roberts that:


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       “I’ve had some initial correspondence from the panelists about the summary
       article and the consensus is that they will not be authors on an article that has
       inflammatory comments about IARC. Assuming those inflammatory comments
       were carried over from the animal carcinogenicity and genotoxicity articles, I’m
       sure the epi panelists would not want to be associated with those articles either.
       To achieve the complete authorship goal, an extensive revision of the summary
       article is necessary.”

       847.    Roberts forwards Acquavella’s email to Heydens, and writes: “Hi Bill, Please

take a look at the latest from the epi group!!!! Can you call me once you have digested this.”

       848.    Heydens replies the next day:

       “Ashley,

       OK, I have gone through the entire document and indicated what I think should
       stay, what can go, and in a couple of spots did a little editing.”
       (Heydens Exhibit 3-20)

       849.    The second responsibility generally reserved to Monsanto, and specifically

claimed in the case of the Intertek/CRT paper-preparation process, was deciding what scientific

materials to provide to the experts and co-authors. While Monsanto could not control access to

published studies by its expert panel members, it had total control over the parts of its proprietary

testing results that would be supplied to expert panel members.

       850.    This is evident in an August 6, 2015 email from Ashley Roberts to Donna Farmer

in which she asks: “Please could you let me know in a sentence what we will be providing to the

Animal Bioassay Expert group” (MONGLY01183933).

       851.    By the “we” in the phrase above, “what we will be providing,” she really means

what information Donna Farmer/Monsanto will provide to her/Intertek, so she/Intertek can then

provide the information to the expert panel.

       852.    The 2015-2016 Intertek expert panel review of the IARC decision and monograph

resulted in the publication of five papers, and a Foreword by the journal editor, Roger McClellan




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(all open access at http://www.tandfonline.com/toc/itxc20/46/sup1?nav=tocList). The papers

included:

              •   Gary Williams et al., overview paper on the carcinogenic potential of
                  glyphosate and the IARC assessment;
              •   Keith Solomon, assessment of exposure studies;
              •   Acquavella et al. on epidemiological studies;
              •   Gary Williams et al. on rodent bioassays; and
              •   Brusick et al. on weight of evidence evaluation of glyphosate, formulated
                  glyphosate herbicides, and AMPA (major glyphosate metabolite).

       853.       Roger McClellan was aware of the scrutiny his journal’s special issue on

glyphosate safety would receive. On multiple occasions, he stressed in exchanges with Ashley

Roberts, the employee of Intertek that managed the process of developing the papers, the

importance of clarity and full transparency in the Acknowledgements and Declaration of Interest

sections of the papers.

       854.       In a June 19, 2016 email to Roberts, McClellan writes:

       “I am still concerned about the tone in some places. Why antagonize the reader? I
       am still not clear as to the process used by all of the Panels. These reports are
       essentially a rebuttal of the IARC process and conclusions. There appears to be a
       reluctance to be absolutely clear in presenting exactly what IARC concluded, the
       panels conclusions and how they differ. Am I missing something?”
       (MONGLY02360733-34)

       855.       Six days later, Roberts replies from vacation. She states that “I am getting a lot of

pressure to publish the papers for a lot of reasons as you can imagine.” She then asks for the

specific changes McClellan wants in the Acknowledgements and Declaration of Interest (“DOI”)

statements.

       856.       Just 90 minutes later, McClellan responds to Roberts. He spells out the changes

he wants in the Acknowledgements (thank the reviewers for extensive comments received). He

also says that “The Acknowledgements section should also identify any other reviewers of the

paper and any editorial assistance” (MONGLY02360732).


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       857.    In reference to the DOI statements, McClellan writes that it should:

        “…make clear how individuals were engaged, i.e. by Intertek. If you can say
       without consultation with Monsanto that would be great. If there was any review
       of the reports by Monsanto or their legal representatives that needs to be
       disclosed.”

       858.    Each of the papers has a similar “Declaration of Interest” statement. The DOI

statement in the Brusick et al paper is quoted below:

       “The employment affiliation of the authors is as shown on the cover page.
       However, it should be recognized that each individual participated in the review
       process and preparation of this paper as an independent professional and not as a
       representative of their employer….[Past and current relationship of each co-
       author to Monsanto is then listed]”

       “The Expert Panel Members recruitment and evaluation of the data were
       organized and conducted by Intertek Scientific & Regulatory Consultancy…”

       “Funding for this evaluation was provided by Monsanto Company which is a
       primary producer of glyphosate and products containing this active ingredient.
       Neither any Monsanto Company employees nor any attorney reviewed any of the
       Expert Panel’s manuscripts prior to submission to the journal.”

       859.    Based on my review of the detailed correspondence between Intertek and

Monsanto and co-author, I conclude that the first paragraph in the above quoted DOI is

presumably truthful, the second paragraph is not truthful, and the second sentence in the third

paragraph is not truthful.

       860.    Via direct interactions with Roberts of Intertek, it is clear that Monsanto reviewed

and approved of the content of the papers prior to submission, and again after the papers were

revised in response to peer review comments.

       861.    The expert panel evaluation, and the composition of the panel itself, was

controlled by Monsanto. Indeed, a July 1, 2015 email from William Heydens to Ashley Roberts,

the individual running the Monsanto project for Intertek, Heydens tells Roberts “we”

(Monsanto) are adding two additional scientists, and that: “We just learned this morning that we



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can’t have you send out ‘invitations’ until the names have been approved by our legal group.”

(MONGLY00992949-51)

       5. Heydens Drives the Intertek Project

       862.    Monsanto was heavily involved in all stages of paper preparation, from deciding

on the information that would be provided to the co-author teams by Intertek; producing drafts of

the papers, or sections of papers provided to the teams; deciding on whose name(s) would appear

on the papers; interacting with the teams on how to address key issues; responding to review

comments; and, the final stages of editing.

       863.    Heydens, in particular, played a direct, hands-on role.

       864.    An August 28, 2015 email to Donna Famer and other Monsanto colleagues,

Heydens circulates for comment his first draft of the Intertek Expert Panel report on the

carcinogenic potential of glyphosate (Acquavella Exhibit 10-30; MONGLY02844211).

       865.    In the draft Heydens circulated, “William Heydens” does not appear as a co-

author, nor does his name appear on any of the papers as published. In failing to truthfully

acknowledge authorship, and declaring in the conflict of interest disclosures that Monsanto

employees played no role in the review of the papers, Monsanto violated ethical norms

governing scientific publishing, including the policies of the journal Critical Reviews in

Toxicology.

       866.    Heydens was influential, if not responsible for many critical decisions about how

strongly to make positive statements regarding the safety of glyphosate and Roundup herbicides,

and how sharply to criticize the IARC report and the studies in the peer-reviewed scientific

literature that the IARC working group relied upon in reaching its “probably carcinogenic to

humans” classification.




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       867.    For example, Heydens sharply disagreed with some panel-members, and ex-

employee Acquavella over how strongly to state criticisms of the IARC classification decision.

Examples of such disagreements are evident throughout Heydens’ track-changes comments and

editing of Acquavella’s edits to the draft of the summary panel report. (MONGLY01000680-

01000709)

       868.    Aquavella’s paper on the epidemiological data is an outlier in two ways. The list

of co-authors appears to accurately represent the contributions of different people to the paper.

The Acquavella et al. paper also contains a different version of the statement regarding

Monsanto’s role in the review of the papers; the Acquavella et al. DOI states “The authors had

sole responsibility for the content of the paper, and the interpretations and opinions expressed in

the paper are those of the authors.”

       6. Ethical Lapses Catch Up with Monsanto and Intertek

       869.    On September 28, 2018, the Editor of Critical Reviews in Toxicology (“CRT”)

and the publisher of the journal (Taylor and Francis) issued an “Expression of Concern” via its

website that was also subsequently published in the journal

(https://doi.org/10.1080/10408444.208.1522786).

       870.    The “Expression of Concern” states in large part:

       “We…have been informed of concerns over the completeness of acknowledged
       contributions [to the special glyphosate issue]…and in declarations of interest provided
       by the named contributors, for the following articles: [the five core papers in the issue are
       then listed].”

       “We have requested corrigenda from the authors to provide additional disclosure as to the
       contributions to the articles. To date, we have only received corrigenda for three of the
       five articles that have been agreed to by all the authors. We have not received an
       adequate explanation as to why the necessary level of transparency was not met on first
       submission. We thank those who brought this to our attention.”




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         871.    In my opinion, the Declaration of Interest statements accompanying the papers in

the CRT special issue on glyphosate were not just incomplete, they were blatantly untruthful, as

evident in the email traffic discussed above.

         872.   It is also my opinion that if the Editor of CRT and Taylor and Francis understood

the full degree to which Monsanto controlled the production of these five papers, as documented

in this report, they would retract most of the papers and issue an apology to its readers.

         C. Political and Other Activities Post-IARC

873.     In my opinion, the breadth of Monsanto’s activities in response to the IARC classification

   of glyphosate herbicide as a probable human carcinogen is striking and inconsistent with

   both its stated concerns for the health and safety of its customers and its obligations under

   voluntary pesticide industry standards of care, such as the FAO International Code of

   Conduct on Pesticide Management, (formerly the International Code of Conduct on the

   Distribution and Use of Pesticides), to minimize risks. A June 5, 2015 update on “US

   Government Outreach – WHO IARC Classification on Glyphosate” outlines dozens of

   ongoing and proposed actions and goals. Under “THE STRATEGY”, the document states:

         “One strategy for addressing widespread confusion in the wake of the IARC
         classification has been to seek clarification from the World Health Organization
         (WHO) which would provide the proper context of the classification for
         governments and regulators around the world to have greater confidence
         defending their science based regulatory decisions.”
         (MONGLY02953363)

         874.   The document reports on multiple briefings given to U.S. government agencies,

including a Donna Farmer briefing of Dr. Mitchell Wolfe, the Deputy Assistant Secretary for

Global Heath, in the of Department of Health and Human Services (“HHS”), to which “we came

prepared with a robust set of technical materials for the Secretary’s background…”.




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       875.    In the briefing for HHS Deputy Secretary Dr. Wolfe, he was told about ATSDR ,

an agency under HHS of which he was reportedly unaware. Monsanto then told Wolfe about the

ongoing ATSDR review of glyphosate, and made the case that such a review was unnecessary,

and that the EPA bears the primary responsibility for “determination of pesticide safety.”

       876.    Then Monsanto briefed Wolfe on “A common element between IARC and

ATSDR…Christopher Portier Ph.D…[who] was Director of ATSDR and co-chair of the IARC

Advisory Group.”

       877.    Dr. Portier’s views on glyphosate oncogenicity were discussed, as was the fact

that Dr. Portier “was an invited specialist representing the Environmental Defense Fund.”

       878.    According to Monsanto’s recounting of the meeting “Dr. Wolfe said he would

follow up on what was going on with ATSDR and he was encouraged to have discussions with

the EPA staff, as well.”

       879.    Last, Monsanto asked for Wolfe’s and HHS’s “assistance in securing a WHO

clarification. We emphasized that we were not seeking changes to IARC, the classification or the

IARC process.”

       880.    In fact, Monsanto had already initiated, and is still carrying out campaigns to

punish IARC for its classification through, among other things (details below):

           •   Lobbying members of Congress to challenge U.S. government funding for
               IARC, via U.S. government support for the WHO;
           •   Calling for Congress to hold hearings;
           •   Mounting a campaign to force IARC to release drafts of its glyphosate
               review document and notes from Working Group deliberations;
           •   Working with a Washington Post reporter purportedly doing a hit piece;
               and
           •   Mounting multi-faceted outreach and third-party expert criticisms of the
               IARC process, the people who participated in it, the conclusion it reached,
               and its accountability.




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       881.    Accordingly, in my opinion, the statement in Monsanto’s account of the Wolfe-

HHS briefing that “…we were not seeking changes to IARC, the classification or the IARC

process” was not truthful.

       1. Blocking the ATSDR Review of Glyphosate

       882.    Another important Monsanto action-item, post-IARC, was its efforts to stop an

ongoing ATSRD review of glyphosate safety.

       883.    An ATSDR review that supported IARC’s conclusions and classifications was to

be avoided. (MONGLY03342947).

       884.    In response to the ATSDR review, Monsanto:

           •   Sought and carried out meetings, briefings, and webinars with ATSDR to
               communicate its assessment of the issues, explain why it felt the ATSDR
               review was unneeded, and the scientific flaws in the IARC review;
           •   Received significant help from two senior OPP/EPA officials – Jess
               Rowland and the OPP Director, Jack Housenger;
           •   Sought assistance and support from the Deputy Assistant Secretary for
               Global Health in HHS (the agency home of ATSDR);
           •   Asked Monsanto’s home-state Senators to contact HHS and reinforce the
               urgency of quick HHS action to intercede with ATSDR, given information
               Monsanto had obtained suggesting the ATSDR report might be released in
               only a few weeks;
           •   Lobbied Congresswoman Lynn Jenkins to submit questions regarding the
               ATSDR glyphosate review to the Secretary of HHS at the conclusion of a
               hearing before the House Ways and Means Committee on health care
               reform (MONGLY03064699); and
           •   Recruited individuals to write letters to Congressmen complaining that the
               ATSDR review was duplicative and a waste of taxpayer money, so that
               the letter(s) could be used to trigger media coverage of the campaign to
               stop the ATSDR study. (MONGLY03342947)

       885.    In my opinion, a reasonable and prudent pesticide manufacturer would not

attempt to prevent a federal agency from conducting a safety review, especially when there is

concern that review may result in an adverse safety finding.




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   XII. Downplaying Glyphosate Risks
   886.        Pesticide companies bear an obligation vested in various laws and regulations,

and incorporated in voluntary pesticide industry standards of care such as the FAO International

Code of Conduct on Pesticide Management (formerly the International Code of Conduct on the

Distribution and Use of Pesticides), to assure that the products they bring to market are safe and

will reliably produce the benefits for which they are registered, i.e., control of weeds in the case

of glyphosate-based herbicides.

       887.    The term “product stewardship” is used within the industry and regulatory

agencies to describe and encompass the actions pesticide manufacturers should take on an

ongoing basis in the interest of product stewardship, before and after a new use of a pesticide is

approved.

       888.    In the pesticide arena, the sciences supporting both human-health risk assessments

and environmental-impact assessments are dynamic and imperfect, and heavily dependent on

location- and even application-specific data, which are almost never available on a large scale.

So, in companies and regulatory agencies alike, many assumptions and a considerable degree of

judgement is essential in deciding upon the science that must be conducted prior to seeking and

approving a new use of a pesticide.

       889.    Where to draw the line between presumably safe and possibly risky pesticide uses

is also fraught with scientific, social, and political challenges, uncertainty and tension.

       890.    The same is true after approval, as companies and regulators strive to refine and

agree on the nature and magnitude of risks after a pesticide is approved and has been applied for

a period of time.




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       891.    Monsanto claims that the company bases its product development, testing,

commercialization, and regulatory actions on the best available science.

       892.    The crux of most protracted and contested regulatory confrontations over the last

half-century has been debate over what the “best” or “soundest” science shows relative to the

balance of pesticide risks and benefits.

       893.    This is the case with glyphosate and Roundup herbicides.

       A. Freedom to Operate (FTO)
       894.    Tensions often arise between the commercial interests of a pesticide manufacturer

and what the latest and best science suggests is the most responsible way to manufacture, label,

communicate with the public, and sell a given pesticide.

       895.    In Monsanto, protecting its FTO in the manufacture and sale of glyphosate-brand

herbicide was a clearly expressed objective across the company.

       896.    Monsanto’s John Acquavella made the case for one such investment in science as

part of a proposal for a new, industry-funded, multi-pesticide non-Hodgkin lymphoma study.

       897.    The goal of the study, among other things, would be to respond to the positive

glyphosate-NHL results in the Hardell-Eriksson, and the forthcoming epidemiological study

results from the National Cancer Institute’s “Agricultural Health Study”:

       “There are a number of reasons why industry should consider this proposal
       seriously. First, allegations that pesticides cause cancer are important to the
       business and regulatory climate for pesticide manufacturers and, indeed,
       companies have a product stewardship obligation to ensure that their products
       can be used safely.”

       (Emphasis added, MONGLY00894005)

       898.    Monsanto did not follow Acquavella’s advice and has never conducted an

epidemiological study to evaluate the relationship between NHL and Roundup formulations, nor




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has Monsanto conducted an epidemiological study on its own employees involved in the

manufacture of glyphosate and Roundup.

       1. Section 6(a)(2) of FIFRA

       899.    Section 6(a) (2) of FIFRA, discussed earlier, is a provision in federal law intended

to vest responsibility on pesticide registrants to report to EPA any new information, data, or

insights regarding pesticide risks that are gained by the registrant, regardless of the source of the

information.

       900.    The June 1986 Registration Standard for glyphosate contains this passage:

“Registrants [at this time for glyphosate, only Monsanto] are reminded that FIFRA sec. 6(a)(2)

requires them to submit factual information concerning possible unreasonable adverse effects of

a pesticide at any time that they become aware of such information…including interim or

preliminary results of studies, if those results suggest a possible adverse effect on man or the

environment. This requirement continues as long as your products are registered by the Agency.”

(page 3) (Emphasis added).

       901.    In my opinion, there are multiple instances in the record of where Monsanto did

not disclose information that might suggest a new or heightened risk from use of glyphosate-

based herbicide. Some information not properly disclosed under Section 6(a)(2) arose from the

company’s inhouse research or commissioned studies (e.g,. the TNO rat skin penetration study or

the Parry reports), while other information was learned from the experience of users of the

company’s products.




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       2. Responding to FQPA Challenges

       902.    Passage of the Food Quality Protection Act (“FQPA”) in 1996 changed the basic

standard and rules governing the setting of food-additive tolerances for pesticide known to be

oncogenic, including glyphosate beginning in 1983. Implementation of the FQPA required EPA

to deal with dozens of science and risk assessment policy issues over several years, some of

which had potential impacts on a number of Monsanto products, including glyphosate.

       903.    Monsanto established an “FQPA Core Team to engage with EPA as it developed

FQPA policies and procedures, and to alert colleagues of possible implications for the labels and

tolerances sanctioning use of specific Monsanto pesticide products” (MONGLY03750989).

       904.    Abby Li [FND/1735] was a member of this FQPA Core Team. She sent a

November 20, 1999 email to several Monsanto management team and senior officials regarding

the activities of the FQPA Core Team. After listing the six members of the FQPA Core Team,

the email stated:

       “This [membership] is a good mix of people that allows us to have external
       influence as well as ensure that we have practical understanding of the full impact
       to our products. I’d like to make sure we push hardest on those issues that are
       threatening our business.”
       (MONGLY03750989)

       905.    Two days earlier, on November 18, 1999, Abby Li sent an email to 10 Monsanto

colleagues regarding a scoping session on the evolving OPP policies governing aggregate risk

assessment under the FQPA. (The FQPA directed the EPA to take account of exposures to a

given pesticide from water, food, occupational, atmospheric, and any other routes of exposure;

such total estimates of exposure from all routes are called “aggregate exposure” in the context of

FQPA implementation).




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       906.     The email begins: “Dear people who might be interested in the FQPA…” The last

paragraph addresses the membership of the FQPA Core Team and key areas of expertise that

need to be represented. Then, Abby Li writes: “A key goal is to understand how our products are

impacted so we know what issues Monsanto should fight the hardest on” (MONGLY03750990).

       3. Misleading Statements Regarding Relative Risks

       907.     In multiple Monsanto public presentations, Powerpoints, media interviews, and

promotional material used since the 1980s, Monsanto claims that glyphosate and some

formulated Roundup products are less acutely toxic than nicotine, caffeine, aspirin, and salt (e.g.

see slide #8 in an internal February 16, 2009 Powerpoint by David Saltmiras, a senior Monsanto

toxicologist.

       908.     Slide #8 in this Saltmiras presentation includes the following admonition to his

colleagues below the graphic showing glyphosate and Roundup-brand acute toxicity compared to

other pesticides and common food ingredients and drugs: “FAO Code of Conduct -- we would

not publicly compare these products.”

       909.     Saltmiras’s warning, however, has not prevented such comparisons to be a

common feature in glyphosate and Roundup FTO PR campaigns, talking points, and media

coverage.

       910.     This stated goal of FTO runs counter to Monsanto’s stewardship responsibilities

as a registrant for GBHs and, in my opinion, a reasonable and prudent pesticide manufacturer

would not align its stewardship around FTO objectives.

       B. Understating Risks
       911.     In the discovery records I have reviewed, there are dozens of examples where

Monsanto employees, consultants, Third Party Network scientists, and PR firms prepare and




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share written materials that overstate the certainty of some things (e.g., “get up and shout

glyphosate is non-toxic”), and downplay the significance of other known facts (e.g., glyphosate-

based herbicides are genotoxic in some tests).

       912.    In an episode described in detail earlier, Monsanto officials substantially

mischaracterized statements made by third-party experts that Monsanto had brought to an EPA

Scientific Advisory Panel meeting.

       913.    The inaccurate statements were contained in a letter from Monsanto’s senior U.S.

registration specialist to EPA after the SAP meeting. The letter asserted that Monsanto’s invited

guests testified at the SAP meeting that a repeat of the controversial Bio/dynamics mouse study

was not warranted, when none of the invited experts made such a statement.

       914.    Other examples of overstating benefits or understating risks are discussed below.

       1. The IARC Review Process

       915.    In 2014, Monsanto initiated a number of activities to potentially influence the

decision reached by the IARC Working Group assessing glyphosate carcinogenicity.

       916.    IARC procedures and policies are clearly stated and well known. For example,

see the 2015 published paper “IARC Monographs: 40 Years of Evaluating Carcinogenic Hazards

to Humans” (Donna Farmer Exhibit I-44; or access online https://ehp.niehs.nih.gov/wp-

content/uploads/123/6/ehp.1409149.alt.pdf).

       917.    IARC Working Groups review and rely only on the results, insights, and

information in scientific papers published in peer-reviewed journals. Unpublished studies

conducted by companies, or papers in the publication process, but not accepted, are not

considered.




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       918.    Thus, Monsanto worked to get two papers published before the end of the IARC

review process, so that both would be among those in the peer-reviewed literature, and hence

eligible for consideration by the IARC Working Group.

       919.    Both papers had been in preparation for some time and included a paper by Kier

on genotoxicity and one by Greim et al. on the results of rodent bioassays.

       920.    Regarding the Kier publication, Monsanto commissioned and paid for a review

article focused on genotoxicity biomonitoring studies.

       921.    Larry Kier, then a consultant to Monsanto and a former, long-term employee, was

listed as an author of the paper, which was submitted to Roger McClellan, Editor of the journal

CRT. This journal had been used several times by Monsanto to recycle in a peer-reviewed

journal the company’s proprietary, internal studies, findings, criticisms of the work of other

scientists, and assessments of glyphosate risk-assessment issues.

       922.    The 2015 CRT paper by Kier was entitled “Review of genotoxicity biomonitoring

studies of glyphosate-based formulations” (Vol 45(3): pages 209-218; accessed 12/10/17 at

http://www.tandfonline.com/doi/pdf/10.3109/10408444.2015.1010194?needAccess=true).

       923.    The paper’s “History” declaration states that the initial paper was submitted to

CRT on January 7, 2015 and was revised by the author and submitted back to CRT on January

17, 2015. It was accepted for publication by the journal the next day, January 18th, and published

online February 16, 2015, or about one month before the March 3-10, 2015 final meeting of the

IARC Working Group conducting the glyphosate assessment.

       924.    Accordingly, 11 days transpired from the date of the original submission to the

acceptance of the Kier paper. This meant that the peer review process, the editor’s assessment of

the reviewer comments, the author’s revisions in response to peer-review comments, submission




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back to the journal, the editor’s consideration of the author’s response to reviewer comments,

and decision to accept and publish all occurred in 11 days—a staggering pace.

       925.    I have published about three-dozen peer-reviewed papers. Between several

months to about one year transpired between initial submission and acceptance of each of them,

a time-frame that is typical of most papers, and most peer-reviewed science journals.

       926.    Over the last 30+ years, I have served many times as a peer-reviewer of papers

submitted for possible publication. It generally takes a few weeks to two months for me to

complete and submit such reviews. Another 1-2 months typically transpires before I hear back

from the journal, with an invitation to read and react to the changes in the paper done in response

to my, and other review comments. Then, another 1-2 months is required prior to final

acceptance and the paper being published online or in a journal.

       927.    In my opinion, in the history of scientific publishing in widely read journals, very

few, if any, papers have matched the speedy process of the Kier (2015) CRT paper through peer-

review to publication. There had to have been an extraordinary set of circumstances driving the

pace of the publication process for this paper.

       928.    On February 19, 2015, , a few days after the Kier (2015) CRT paper was

published online, an email exchange occurred between the paper author, Larry Kier, the journal

editor Roger McClellan, and Monsanto’s David Saltmiras.

       929.    The email chain starts on February 19, 2017 with an email from David Saltmiras

to CRT editor McClellan that begins “Roger – FYI on press releases.” This email was not cc’d to

the lead authors of the papers: Kier and Greim.

       930.    The email focused on the content of promotion material that Saltmiras had drafted

and sent to the journal editor, for use by the journal and its publisher in promoting the papers.




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The material drafted by Saltmiras covered both the Kier (2015) and Greim et al (2015) papers.

Saltmiras included a request that McClellan and the publisher take steps to raise the visibility of

the papers. (MONGLY01087311-17)

       931.    The Saltmiras email to McClellan advances “Sound bytes for social media.”

       932.    A few hours later in response to the suggestion from Saltmiras, McClellan sent an

email to Charles Whalley, a senior manager at the publishing company Taylor and Francis (T

and F) that puts out CRT. The email begins:

       “I spoke with David Saltmiras today concerning the two Glyphosate papers that
       will be the lead papers in the next issue of Critical Reviews in Toxicology with
       regard to F and F [referring to T and F, the first “F” in the original text is a typo]
       putting out any publicity on these two papers. The email below includes complete
       citations for the papers, abstracts and some information developed by Monsanto
       Company on the papers.”

       933.    The McClellan email to Whalley goes on to state the relevance of the Kier (2015)

paper to the ongoing IARC glyphosate review, and then writes:

       “As a bottom line the two papers [Greim et al. and Kier] published on line in CRT
       are likely to attract some attention in the scientific and regulatory community and,
       possibly, by lay media.”

       934.    McClellan then asks about Taylor and Francis policies regarding the publisher’s

promotion of just-released papers and asserts that the two papers “would be excellent

candidates” for such a promotional effort by the publisher.

       935.    As a courtesy, McClellan also sent a copy of his February 19, 2017 email to

David Saltmiras and Larry Kier. Just under a half-hour later, Kier responded by email to CRT

Editor McClellan. He begins: “I’m a little cautious about high levels of publicity for the

biomonitoring review and have concerns about some of the suggested publicity material.”

(MONGLY01087312)




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       936.    Kier then writes: “I don’t know who wrote the ‘Summary’ for my paper and

certainly don’t want to offend them but it is not the way I would have worded it and I would

personally not want this used to characterize my paper.”

       937.    The differences between the “Summary” of Kier’s paper sent to McClellan by

Saltmiras, and presumably written by him, and the revised “Summary” Kier wrote and included

in his email to McClellan are significant.

       938.    The key passages from the Saltmiras-submitted “Summary” of Kier’s paper read:

“The author concluded that there are no direct risks to human DNA under normal exposure

conditions” and “these results confirm previous conclusions that glyphosate-based herbicides do

not damage DNA in humans following real world exposures.”

       939.    The comparable passages that Kier wrote for a revised “Summary” of his paper

read: (1) “The author concluded that these studies [on genotoxicity] do not indicate significant

genotoxic risks to humans from glyphosate-based herbicides under normal exposure conditions”;

and (2) “These findings are consistent with an earlier review of an extensive number of

laboratory studies that indicated little likelihood of significant genotoxic risk or reaction with

DNA under normal exposure conditions.”

       940.    The Saltmiras version of sentence is unequivocal – “there are no direct risks to

human DNA.” Kier’s rewrite of (1) includes an important change. Instead of “no risk,” Kier

writes that there is an absence of “significant genotoxic risks.”

       941.    In key passage (2) quoted above, the Saltmiras version states that glyphosate-

based herbicides “do not damage DNA in humans.” Kier’s rewrite says that there is “little

likelihood of significant genotoxic risk or reaction with DNA under normal exposure

conditions.”




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       942.      This version contains three caveats. First, there is “little likelihood,” but hence

some chance of “significant genotoxic risk or reaction” under normal conditions. Second, Kier

leaves the door open for less than “significant” genotoxic risk or reaction under normal

conditions. Third, under not “normal,” and presumably high-exposure scenarios, there would be

heightened likelihood of modest to significant genotoxic risk.

       943.      In the same email to McClellan, Kier then turns his attention to the “Sound bytes

for social media” in the Saltmiras email from earlier the same day. The sound bites state that

glyphosate-based herbicides “do not damage cellular DNA…” and are “not associated with DNA

damage in human cells.” About these statements, Kier writes:

       “I also don’t think the ‘Sound bytes for social media’ are accurately worded. They
       are way too absolute for my taste and place undue emphasis on the strength of the
       biomonitoring data. Unfortunately, I can’t readily suggest alternatives that fit
       nicely into the ‘sound byte’ format.”

       944.      Nine minutes later at 5:12 p.m., after receiving the above described email from

Kier, CRT Editor McClellan responds to Kier, sending a copy to Saltmiras. He writes:

       “Larry:

       What I forwarded to T and F (Charles Whalley) is what I received from David
       Saltmiras. I assumed you were in the loop on what had been developed at
       Monsanto. I suggest you get in touch ASAP with David.”

       945.      Around noon the next day, Larry Kier does email David Saltmiras. His message is

terse and to the point, and quoted in full below:

       “David,

       I think I might have misunderstood something in our earlier conversation today
       but apparently the Summary and Sound bytes were from Monsanto.

       Please consider the bcc: comments I sent earlier to Roger. While I definitely
       support glyphosate and GBF’s [glyphosate-based formulations] I really don’t
       want to have inappropriate absolutes representing this [Kier, 2015] review.”




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       (Emphasis added; MONGLY01087311).

       2. Advertising

       946.    In June 1988, a member of the medical school faculty at the University of Iowa

saw an advertisement for Roundup herbicide on TV, depicting an application of the herbicide.

The person in the advertisement was wearing gym shoes, a short sleeve shirt, and long pants. He

called the EPA to raise concern over the safety of such a method of application under the

conditions depicted in the advertisement.

       947.    Edwin Tinsworth, then Director of the OPP Registration Division, wrote a July

26, 1988 letter to Dr. Timothy Long, then Roundup’s Registration Manager, stating that: “We are

concerned that advertisements for Roundup (running through July in Iowa and perhaps other

soybean growing areas) show the product being applied in a manner inconsistent with protective

clothing requirements…and we request that you cease running these spots.”

       948.    In a certified letter dated April 7, 1992 to Monsanto, Leo Alderman of the Toxics

and Pesticides Branch in EPA Region VII challenges misleading claims made in Monsanto

advertising literature promoting Roundup sales. These statements included “Roundup doesn’t

stay in the soil, won’t leach to nearby plants and breaks down into natural substances…Nothing

kills weeds better, or easier, than Roundup…Biodegradable.”

       949.    He instructs Monsanto that “such statements should be removed from all literature

advertising the product…” Alderman directs Monsanto to cease distributing all advertising

material with such claims and that Monsanto send him/EPA copies of the revised advertising

material within 30 days.




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        950.      In 1996, the Consumer Frauds and Protection Bureau of Attorney General of the

State of New York brought an action against Monsanto over assertions and safety claims in

multiple print ads appearing in publications distributed in the State (MONGLY02510516-544).

        951.      The Attorney General found that Monsanto advertising claims that Roundup

herbicides:

              •   “…are safe and will not cause harmful effects to people…”;
              •   Are safe “because they quickly break down into natural substances”; and
              •   Are “good for the environment”.

        952.      In addition, the AG states that Monsanto advertising asserts or implies that “The

characteristics of Monsanto’s glyphosate-containing pesticide products can be adequately

described by the characteristics of glyphosate alone” (MONGLY 02510519).

        953.      The AG found “that the representations set forth in paragraphs E and F above

[encompassing the above quoted claims] constitute false and misleading advertising.” After

presenting why Monsanto’s advertising claims were false and misleading, the AG reports

agreement from Monsanto to cease and desist making all such claims in advertising associated

with the marketing of Roundup in New York.

        954.      In my opinion, the New York AG was correct to challenge the basis of multiple

claims in Roundup advertising.

        955.      In my opinion, Monsanto failed to dissuade false and dangerous assertions and

statements regarding the risks associated with exposures to Roundup. One of the common, and

most dangerous assertions often encountered is that “Roundup is safe enough to drink.” This is

not true.


        These are my opinions, and bases therein, to a reasonable degree of scientific certainty.




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                                  Charles M. Benbrook, PhD.
                                  August 20, 2019




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